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                         SALT LAKE CITY, UT 84110
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                              In the Matter
                                     Matter of:
                                            of:

                             GRANT, et
                             GRANT, et al.

                                     vs
                              LONG, et
                                    et al.


                             MARY STREET
                             MARY
                        November 27, 2024



                        November 27, 2024

                             MARY STREET


                              LONG, et al.
                                     vs
                             GRANT, et al.
                              In the Matter of:



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· · · · · · ·IN THE UNITED STATES DISTRICT COURT               ·1· ·For the Defendant COLLIERS INTERNATIONAL:
· · · · · · · · · · · ·DISTRICT OF UTAH                        ·2· · · Andy Wright
· · ·___________________________________________________       · · · · Vanessa Peery
· · ·KATE GRANT and KARMANN· · )                               ·3· · · DENTONS DURHAM JONES PINEGAR
· · ·KASTEN, LLC,· · · · · · · )                               · · · · 111 South Main Street
· · · · · · · · · · · · · · · ·)                               ·4· · · Suite 2400
· · · · · · · Plaintiffs,· · · )                               · · · · Salt Lake City, UT 84111
· · · · · · · · · · · · · · · ·) Case No.                      ·5· · · Andy.wright@dentons.com
· · · vs.· · · · · · · · · · · ) 2:23-cv-00936-AMA-CMR         · · · · Vanessa.peery@dentons.com
· · · · · · · · · · · · · · · ·)
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· · ·KEVIN LONG; MILLCREEK· · ·) Judge:· Ann Marie
                                                               ·7· ·For the Defendant SPENCER TAYLOR:
· · ·COMMERCIAL PROPERTIES,· · ) McIff Allen
· · ·LLC; COLLIERS· · · · · · ·)                               ·8· · · Maria E. Windham
· · ·INTERNATIONAL; BRENT· · · )                               · · · · RAY QUINNEY & NEBEKER P.C.
· · ·SMITH; SPENCER TAYLOR;· · )                               ·9· · · 36 South State Street
· · ·BLAKE MCDOUGAL; and· · · ·)                               · · · · Suite 1400
· · ·MARY STREET,· · · · · · · )                               10· · · Salt Lake City, UT 84111
· · · · · · · · · · · · · · · ·)                               · · · · Mwindham@rqn.com
· · · · · · · Defendants.· · · )                               11
· · ·___________________________________________________       12· ·For the Defendant BLAKE MCDOUGAL:
·                                                              13· · · Colby Tinney
· · · · · · · · · DEPOSITION OF:· MARY STREET                  · · · · MITCHELL BARLOW & MANSFIELD, P.C.
·                                                              14· · · 9 Exchange Place
· · · · · · · · · · · ·NOVEMBER 27, 2024                       · · · · Suite 600
·                                                              15· · · Salt Lake City, UT 84111
· · · · · · · · · · 9:33 A.M. TO 2:17 P.M.                     · · · · Ctinney@mbmlawyers.com
·                                                              16
· · · · · ·Location:· Law Offices of Strong & Hanni            17
· · · · · · · · ·102 South 200 East, Suite 800
                                                               · · ·Also Present:· · · · · ·Wes Felix
· · · · · · · · · · · Salt Lake City, UT
                                                               18· · · · · · · · · · · · · ·Pia Hoyt
· · · ·Reporter:· Phoebe S. Moorhead, RDR, CRR, UT CCR
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· · · · Certified Court Reporter for the State of Utah
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·7· ·For the Defendant BRENT SMITH:                            ·7
·8· · · John Keiter                                            ·8
· · · · KEITER LAW, PC                                         ·9
·9· · · 1064 South North Country Boulevard                     · · · · · · · · · · · · E X H I B I T S
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· · · · Stuart H. Schultz                                      18
19· · · STRONG & HANNI                                         · · · · · · · · · · · · · · · None
· · · · 102 South 200 East                                     19
20· · · Suite 800                                              · · · · · · · · · · · · · · -ooOoo-
· · · · Salt Lake City, UT 84111                               20
21· · · Sschultz@strongandhanni.com                            21
22                                                             22
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·1· · · · · · · · · P R O C E E D I N G S                   ·1· · · ·Q.· · Okay.· And do you understand that you
·2· · · · · · · · · · · ·MARY STREET                        ·2· ·have been placed under oath to tell the truth as if
·3· ·called as a witness herein, having been first duly     ·3· ·you were in a court?
·4· · sworn by the Certified Court Reporter to tell the     ·4· · · ·A.· · Yes.
·5· · · truth, was examined and testified as follows:       ·5· · · ·Q.· · Okay.· Perfect.· All right.· I want to
·6· · · · · · · · · · · ·EXAMINATION                        ·6· ·start off with a few background questions to
·7· ·BY MR. EVERETT:                                        ·7· ·understand who you are.
·8· · · ·Q.· · Great.· So to start off, can you state       ·8· · · · · · ·Did you attend college?
·9· ·your full name for the record?                         ·9· · · ·A.· · Yes.
10· · · ·A.· · Yes.· Mary Wesley Street.                    10· · · ·Q.· · Where did you attend?
11· · · ·Q.· · And have you ever had your deposition        11· · · ·A.· · Georgia State University in Atlanta,
12· ·taken before?                                          12· ·Georgia.
13· · · ·A.· · I had a very quick one on the phone about    13· · · ·Q.· · And what did you study there?
14· ·a year ago.                                            14· · · ·A.· · My undergraduate degree is economics.
15· · · ·Q.· · Okay.· And what was that related to?         15· ·And then my master's work is in history.
16· · · ·A.· · It was clients of ours that were suing       16· · · ·Q.· · And then do you have any professional
17· ·one another, and so they asked me questions about      17· ·licenses?
18· ·the transaction.                                       18· · · ·A.· · Yes.· Okay.· So I hold an associate
19· · · ·Q.· · Okay.· And when you say "ours," who --       19· ·broker's license, real estate license, in Utah. I
20· ·who is clients of ours?· Just you personally?          20· ·first got a sales agent license and then a broker's
21· · · ·A.· · Yes.                                         21· ·license.
22· · · ·Q.· · Okay.· Great.· So a few ground rules to      22· · · ·Q.· · Okay.· And do you hold any other
23· ·lay out here.· Answers must be audible, no head        23· ·professional licenses?
24· ·nods, "huh-uhs," "uh-huhs," yes-or-no answers so       24· · · ·A.· · Not licenses.· Designations, yes.
25· ·the recorder can take it down.· Please don't talk      25· · · ·Q.· · Okay.· Can you explain those for me?

                                                   Page 6                                                      Page 8
·1· ·over each other.· It's human nature to jump in and     ·1· · · ·A.· · Sure.· So I hold the CCIM Designation,
·2· ·answer a question.· I'll try and wait for you to       ·2· ·which stands for certified commercial investment
·3· ·finish your answer before I jump in if you can wait    ·3· ·member.· And in order to have that designation,
·4· ·for me to finish mine.                                 ·4· ·you're also a member of the association of -- the
·5· · · · · · ·If you don't understand a question,          ·5· ·National Association of Realtors.
·6· ·please let me know.· I'm happy to rephrase.· I'm       ·6· · · ·Q.· · Great.· And how did you get into real
·7· ·not trying to have a gotcha moment or anything.        ·7· ·estate from what sounds like a nonrelated
·8· ·Just trying to get information.· If you need a         ·8· ·education?
·9· ·break --                                               ·9· · · ·A.· · Well, it seemed like a good idea at the
10· · · · · · ·MR. SCHULTZ:· Excuse me.· I got two          10· ·time, I would say.· I was actually a national sales
11· ·e-mails from you.· Are they different?                 11· ·manager for WordPerfect Corporation, which was then
12· · · · · · ·MR. EVERETT:· They're the same folder.       12· ·acquired by Novell.· I was working there when --
13· ·Just -- one is just a direct to the folder; one is     13· ·when that division was sold.· And so I decided to
14· ·a link to the folder in case it got caught in spam.    14· ·leave -- leave the industry because I was expecting
15· · · · · · ·MR. SCHULTZ:· Thanks.                        15· ·our second child.· And after taking three or four
16· · · ·Q.· · (BY MR. EVERETT)· If you need a break,       16· ·months off, I thought, "I need something to do.
17· ·let us know.· We're happy to -- we don't want to       17· ·I'll get my real estate license."
18· ·hold you hostage here if you need to go to the         18· · · ·Q.· · And when did you first obtain your real
19· ·bathroom or anything.                                  19· ·estate license?
20· · · · · · ·Are you currently under the influence of     20· · · ·A.· · It was March of 1996.
21· ·any drugs or alcohol?                                  21· · · ·Q.· · Okay.· So you've been doing this 28 years
22· · · ·A.· · No.                                          22· ·now?
23· · · ·Q.· · Okay.· Is there any reason you cannot        23· · · ·A.· · Yes.
24· ·testify truthfully today?                              24· · · ·Q.· · Okay.· And where do you currently work?
25· · · ·A.· · No.                                          25· · · ·A.· · My office location is in Pleasant Grove,



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·1· ·and my license is at Mountain West Commercial Real     ·1· · · ·A.· · So I'm representing the owner of the
·2· ·Estate.                                                ·2· ·property who wants to sell.
·3· · · ·Q.· · How long have you worked with them?          ·3· · · ·Q.· · Mm-hmm.
·4· · · ·A.· · Since May of 2020.                           ·4· · · ·A.· · Well, first of all, you have to
·5· · · ·Q.· · And who were you with before them?           ·5· ·understand what the goals of the owner are and what
·6· · · ·A.· · I was with Colliers International.           ·6· ·they're looking for.· Sometimes what they're
·7· · · ·Q.· · And what was your role with Colliers?        ·7· ·looking for has no relation to what the value is.
·8· · · ·A.· · I was an associate broker.                   ·8· ·So when you say "how do you determine price," we
·9· · · ·Q.· · Okay.· And can you help me understand        ·9· ·make recommendations.· We don't set prices for our
10· ·what an associate broker is versus a principal         10· ·clients.· So if it were, as you said, a building on
11· ·broker?                                                11· ·a piece of land, I would consider, you know, all
12· · · ·A.· · Yes.· So when you -- so to get a broker's    12· ·the characteristics of the building, square
13· ·license, you have to undergo additional education      13· ·footage, age, type of construction, permitted uses
14· ·on top of your sales agent license.                    14· ·in the zone, which are often really important to
15· · · · · · ·You have to have been a sales agent for a    15· ·determining what the value would be, then location.
16· ·number of years, have a portfolio of experience,       16· ·You know, there's a lot that goes into looking at a
17· ·have letters of recommendation, and complete an        17· ·property when you're making pricing
18· ·additional 180 hours of professional education.        18· ·recommendations.
19· ·Then sit for the exam, pass the exam.· And then you    19· · · · · · ·We generally look at -- and I use "we"
20· ·get a broker's license.· And at that point, you can    20· ·because I'm part of a team.
21· ·go open your own brokerage, and you would be the       21· · · ·Q.· · Okay.
22· ·principal broker.· Or you can affiliate your           22· · · ·A.· · So I -- I don't think of it as just me.
23· ·license with another real estate brokerage.· And if    23· ·Right?· But what we do is we look at properties
24· ·they don't bring you in as the principal broker,       24· ·that are as similar as possible and determine what
25· ·then everyone in that organization that holds a        25· ·they sold for and what the conditions of the sale

                                                  Page 10                                                     Page 12
·1· ·broker's license would be called an associate          ·1· ·were.· And look at the comparables and then also
·2· ·broker.                                                ·2· ·look at an income approach, what would this
·3· · · · · · ·I've also been a branch broker, so           ·3· ·property rent for?· A replacement cost approach.
·4· ·there's -- you know, there's different designations    ·4· ·And we, you know, come up with a full picture to
·5· ·for broker types.                                      ·5· ·see, you know, what our recommendation would be
·6· · · ·Q.· · Okay.· Perfect.· Thank you.                  ·6· ·based on what the client's trying to accomplish.
·7· · · · · · ·And when you were --                         ·7· · · ·Q.· · Okay.· And in what circumstances would
·8· · · ·A.· · Excuse me.                                   ·8· ·the value differ from the actual value of the land?
·9· · · ·Q.· · You're fine.                                 ·9· · · · · · ·MR. SCHULTZ:· Overly broad.
10· · · · · · ·When you represent somebody in the           10· · · · · · ·You may answer.
11· ·purchase or sale of a home, do you primarily           11· · · · · · ·THE WITNESS:· Okay.· Say that again for
12· ·represent buyers or sellers?                           12· ·me.
13· · · ·A.· · I don't sell houses.                         13· · · ·Q.· · (BY MR. EVERETT)· So you mentioned that
14· · · ·Q.· · Okay.· What do you sell then?                14· ·sometimes the value that you're trying to sell it
15· · · ·A.· · Commercial real estate.                      15· ·for is not necessarily the value of the -- the
16· · · ·Q.· · Okay.                                        16· ·actual appraisal value of the property.· Are there
17· · · ·A.· · My specialty is actually land.               17· ·circumstances where those two would be the same?
18· · · ·Q.· · Okay.· So when you're -- this may be         18· ·And why wouldn't they be the same?· I guess I'm
19· ·outside of your expertise if you primarily do land,    19· ·trying to -- that's a compound question.· I'm
20· ·but if you -- if you don't understand or it's          20· ·trying -- what I'm trying to get at is when would
21· ·outside of your expertise, just let me know.· But      21· ·they be different?· Why would they be different?
22· ·when listing a property for sale, let's say there's    22· · · · · · ·MR. SCHULTZ:· Same objection.
23· ·a building on that property, what considerations do    23· · · · · · ·You may answer.
24· ·you take into deciding the price before you sell       24· · · · · · ·THE WITNESS:· They could be different --
25· ·it?                                                    25· ·and it's not unusual for us to work also with



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·1· ·appraisers.· Sorry.· I keep getting a frog in my       ·1· ·that you believe is relevant to the case at hand
·2· ·throat.                                                ·2· ·essentially.
·3· · · ·Q.· · (BY MR. EVERETT)· Do you need a water or     ·3· · · ·A.· · Okay.
·4· ·anything?                                              ·4· · · ·Q.· · You can take a second to read over this.
·5· · · ·A.· · I have some.· It's just trying not to        ·5· ·Does this adequately represent your knowledge of
·6· ·drink too much.                                        ·6· ·this dispute?
·7· · · · · · ·So there are times when we -- when we do     ·7· · · · · · ·MR. SCHULTZ:· Overly broad.· Vague.
·8· ·work with appraisers.· Right?· An appraiser may        ·8· · · · · · ·THE WITNESS:· I'll need a moment to look
·9· ·take into consideration, you know, the same things     ·9· ·through it because I just don't remember.
10· ·that we are taking into consideration, but the         10· · · ·Q.· · (BY MR. EVERETT)· No problem.
11· ·appraised value may be -- more often than not, the     11· · · ·A.· · Okay.
12· ·appraised value would -- you know, if it does          12· · · · · · ·MR. SCHULTZ:· Just for the record,
13· ·differ, it's going to be because of something that     13· ·there's probably been eight supplements to this
14· ·we believe has value that perhaps the appraiser        14· ·document with thousands of documents produced.
15· ·isn't well enough versed in the market to see the      15· · · · · · ·MR. EVERETT:· Yes.· And I have sifted
16· ·value that we recognize.                               16· ·through all thousands of those documents.
17· · · · · · ·So, for example, he may look at a            17· · · · · · ·MR. SCHULTZ:· It's overly broad to ask
18· ·building on a piece of land and say, "Well, you        18· ·her if this represents all or not.
19· ·know, the building is worth 500,000 and the land       19· · · · · · ·MR. EVERETT:· That's fair.
20· ·you could probably get for 500,000 so it's worth a     20· · · · · · ·THE WITNESS:· I would say this is a good
21· ·million."                                              21· ·summary.
22· · · · · · ·And we would look at it and we may say,      22· · · ·Q.· · (BY MR. EVERETT)· Great.· So let's start
23· ·"Yes, but the zoning has just changed for the          23· ·here.· In the first sentence where it says that you
24· ·adjacent properties.· This property can now be torn    24· ·have information regarding your -- "Street's
25· ·down and you can put, you know, a high-rise with a     25· ·formation in 2020 of CAMS to serve as a management

                                                  Page 14                                                     Page 16
·1· ·bunch of apartments on it."· It has more value         ·1· ·service."
·2· ·because of what it can be used for.· That's one        ·2· · · ·A.· · Yes.
·3· ·example.                                               ·3· · · ·Q.· · What is CAMS Realty?· Or "CAMS," as it
·4· · · ·Q.· · Okay.· Thank you.· That's good to know.      ·4· ·states here.
·5· · · · · · ·All right.· Let's jump into the exhibits     ·5· · · ·A.· · So CAMS Realty is a company that I formed
·6· ·here, in your binder there.· Let's jump to -- let's    ·6· ·in order to be able to do lease administration,
·7· ·jump to number 59 first, which is a new one, which     ·7· ·tenant-in-common administration, various services
·8· ·I will give to you right here.                         ·8· ·related to enforcing leases, always representing
·9· · · ·A.· · Okay.· So it's not here?                     ·9· ·landlords, never representing tenants.· And, I
10· · · ·Q.· · Yeah.· It's not in that binder.              10· ·mean, I could go into the list of the services we
11· · · · · · ·(Exhibit-59 marked.)                         11· ·provide if you want me to.
12· · · · · · ·(Discussion off the record.)                 12· · · ·Q.· · Sure.
13· · · · · · ·(Off the record from 9:45 a.m. to            13· · · ·A.· · So when we have a client that has
14· ·9:46 a.m.)                                             14· ·purchased a property and they hire CAMS to help
15· · · ·Q.· · (BY MR. EVERETT)· Mary, do you recognize     15· ·them with it, we review the lease, become
16· ·this document?· Have you seen it before?               16· ·comfortable with the lease, establish a segregated
17· · · ·A.· · I don't recall seeing it in this format.     17· ·bank account in order to be able to hold funds in
18· ·I may have, but...                                     18· ·trust.
19· · · ·Q.· · Okay.· Do you understand what this           19· · · · · · ·We collect rent from the tenants.· We
20· ·document is?                                           20· ·then disburse rent to the owners.· We monitor the
21· · · ·A.· · I think so.                                  21· ·tenants' performance of their obligations under the
22· · · ·Q.· · Okay.· I will represent to you that it is    22· ·lease, making sure that they pay their property
23· ·your initial disclosures that are required under       23· ·taxes, requiring them to provide us with evidence
24· ·Rule 26 of the rules of civil procedure.· And this     24· ·of adequate insurance as required by the lease.
25· ·is where you have provided us initial information      25· ·Basically, you know, enforcing the terms of the



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·1· ·lease, whatever those -- those terms are.              ·1· · · ·Q.· · Do you know who was?
·2· · · ·Q.· · And without disclosing any privileged        ·2· · · ·A.· · No.· I couldn't say that I know that this
·3· ·information -- you can answer "yes" or "no" to         ·3· ·person did it.· No.· I couldn't say who did that.
·4· ·this -- did you rely on any legal opinion when         ·4· · · ·Q.· · Okay.· Was CAMS involved in assisting to
·5· ·forming CAMS?                                          ·5· ·obtain Neuragenex as a tenant?
·6· · · ·A.· · Yes.                                         ·6· · · ·A.· · No.
·7· · · ·Q.· · Okay.· Does CAMS serve more than just the    ·7· · · ·Q.· · Do you know who was?
·8· ·Naperville property?                                   ·8· · · ·A.· · I believe that Kevin Long and his
·9· · · ·A.· · Yes.                                         ·9· ·associates at Millcreek Commercial had a
10· · · ·Q.· · What properties does it serve?               10· ·relationship that somehow brought forth Neuragenex.
11· · · ·A.· · I'm not going to remember all of them,       11· · · ·Q.· · Okay.· And you don't recall who that
12· ·but I have about 28 properties that I work with        12· ·relationship was with?
13· ·right now.· Do you want me to try to make a list       13· · · ·A.· · I'm not 100 percent sure, no.
14· ·off memory?                                            14· · · ·Q.· · Okay.· All right.· Next let's jump to
15· · · ·Q.· · No.· That's okay.· I think we have that      15· ·Exhibit-60.
16· ·information from you -- or at least the other          16· · · · · · ·MR. SCHULTZ:· Randy, when you ask -- I'm
17· ·relevant properties from you.                          17· ·sorry to interrupt.· But when you ask if CAMS was
18· · · · · · ·And so when CAMS was formed, was it          18· ·involved, are you including Mary in that question?
19· ·formed with the intent to serve Millcreek              19· · · · · · ·MR. EVERETT:· I am, yes.
20· ·Commercial specifically?                               20· · · · · · ·MR. SCHULTZ:· Okay.· Do you understand
21· · · ·A.· · No.                                          21· ·that?
22· · · ·Q.· · Was it formed just as a general service      22· · · · · · ·THE WITNESS:· Yes.
23· ·company?                                               23· · · · · · ·MR. SCHULTZ:· Okay.
24· · · ·A.· · Yes.                                         24· · · ·Q.· · (BY MR. EVERETT)· Let's jump to
25· · · ·Q.· · Okay.· Where did you get the idea to form    25· ·Exhibit-60.· We can mark this one here.

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·1· ·CAMS as a service company?                             ·1· · · · · · ·(Exhibit-60 marked.)
·2· · · ·A.· · So I wouldn't say that there was a           ·2· · · ·Q.· · (BY MR. EVERETT)· I tried to make extra
·3· ·particular moment when, you know, the grand "aha"      ·3· ·copies because I knew Jim Gilson wasn't going to
·4· ·happens, but when would have been in 20 -- late        ·4· ·have a computer with him, but he's not here.
·5· ·2019 and early 2020.                                   ·5· · · · · · ·MR. SCHULTZ:· But then you didn't send it
·6· · · ·Q.· · Okay.· And when you formed CAMS -- how do    ·6· ·to their computer.
·7· ·I ask this?· When you formed CAMS, how long after      ·7· · · · · · ·MR. EVERETT:· I sent it.· It says "sent"
·8· ·you formed CAMS did you begin working with             ·8· ·on my computer.
·9· ·Millcreek Commercial?                                  ·9· · · · · · ·(Discussion off the record.)
10· · · ·A.· · So --                                        10· · · ·Q.· · (BY MR. EVERETT)· All right.· Do you
11· · · · · · ·MR. SCHULTZ:· Vague.· Excuse me.· Vague.     11· ·recognize this document, Mary?
12· · · · · · ·Go ahead.                                    12· · · ·A.· · Yes, I do.
13· · · · · · ·THE WITNESS:· So I'm a service provider,     13· · · ·Q.· · Okay.· And at the time you responded to
14· ·right?                                                 14· ·this -- to these interrogatories and discovery
15· · · ·Q.· · (BY MR. EVERETT)· Mm-hmm.                    15· ·requests, did this -- can you affirm that this is
16· · · ·A.· · And so Millcreek Commercial asked me if I    16· ·true to the best of your knowledge?
17· ·would take in some properties into a portfolio to      17· · · ·A.· · Yes.
18· ·manage.· I don't remember exactly when that            18· · · ·Q.· · Let's start with response to number --
19· ·happened, but in 2020.                                 19· ·response to Interrogatory No. 2, Interrogatory No.
20· · · ·Q.· · So as we jump ahead a little bit with the    20· ·2 says "Describe all bonds issued for the
21· ·timeline of how things have transpired with the        21· ·Naperville property and whether a claim was ever
22· ·Naperville property specifically, was CAMS involved    22· ·made against such bond."· And your response, you
23· ·in finding and obtaining Advance Care Medical as a     23· ·state that there was a performance bond to
24· ·tenant?                                                24· ·guarantee that the tenant, Advanced Care Medical,
25· · · ·A.· · No.                                          25· ·would pay rent for the first two years of the



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·1· ·lease.· My first question here is:· What did you       ·1· ·saw that was from Lloyd's of London?
·2· ·mean by a performance bond?                            ·2· · · ·A.· · No.· Nothing that had the name Lloyd's of
·3· · · · · · ·MR. SCHULTZ:· Just to be clear, it says      ·3· ·London on it.
·4· ·"She was told there would be a performance bond."      ·4· · · ·Q.· · Okay.· Let's go to response to
·5· ·So object to the form.                                 ·5· ·Interrogatory No. 3.· This question asks to
·6· · · · · · ·Go ahead.                                    ·6· ·"Describe the relationship between Colliers
·7· · · · · · ·THE WITNESS:· So this was my first time      ·7· ·International and Millcreek Commercial."· You
·8· ·encountering a performance bond, actually.· So I       ·8· ·stated that you believed "Millcreek Commercial
·9· ·didn't know that one existed.· And when the tenant     ·9· ·sales agents operated from the Colliers office in
10· ·defaulted, you know, owners said to me, "There's       10· ·Pleasant Grove."· What was the basis for this
11· ·supposed to be a bond that guarantees, you know,       11· ·belief?
12· ·that the rent is going to be paid."                    12· · · ·A.· · I saw them in the hallway.
13· · · · · · ·And so, you know, I ask about it.· I ask     13· · · ·Q.· · Oh, so you worked in the same building as
14· ·Millcreek, "Do you have a bond?"· And they provided    14· ·them?
15· ·me with a copy of the surety bond.· And so I called    15· · · ·A.· · Yes.
16· ·it a performance bond because that seems to make       16· · · ·Q.· · Okay.· And is that when you came to know
17· ·the most sense to me, that it's kind of a guarantee    17· ·Kevin Long and his team?
18· ·of performance on the part of the tenant.              18· · · ·A.· · No.· I've known Kevin Long longer than
19· · · ·Q.· · (BY MR. EVERETT)· Okay.· Great.· And then    19· ·that, because the commercial real estate community
20· ·it says "When the tenant defaulted, Ms. Street         20· ·in Utah County is really not that big.· Right? I
21· ·requested a copy of the bond document from             21· ·could tell you how I know Kevin Long if you want.
22· ·Millcreek Commercial and what she received -- and      22· ·I don't --
23· ·sent what she received to the attorney in              23· · · ·Q.· · That would be great, yeah.· I have a
24· ·Illinois."                                             24· ·question about that later, but we can jump to that
25· · · · · · ·Do you recall what happened when you         25· ·right now if you're willing.

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·1· ·submitted that bond to the attorney?· What happened    ·1· · · ·A.· · Sure.· So before joining Colliers, I was
·2· ·after you submitted that?                              ·2· ·the branch broker for an office underneath Cushman
·3· · · ·A.· · Well, a lot happened.· Can you tell me       ·3· ·& Wakefield.· And in 2014, I think it was January
·4· ·what you're going for?                                 ·4· ·of 2014, I was contacted by Kevin Long, who was
·5· · · ·Q.· · Yeah.· Well, if you -- just give me --       ·5· ·then the principal broker for a company called
·6· ·could you give me just a timeline of what happened?    ·6· ·Coldwell Banker Commercial.· And he asked if I
·7· ·So once you gave a bond to the attorney --             ·7· ·would be interested in coming over and joining
·8· · · ·A.· · Yes.                                         ·8· ·Coldwell Banker Commercial.· That was the first
·9· · · ·Q.· · What was the next thing that happened?       ·9· ·time I had any interaction with Kevin.· I mean, I
10· · · ·A.· · So I made the attorney aware of the bond     10· ·knew of him because we all kind of know one
11· ·and e-mailed her a copy of it and asked her to         11· ·another, but it was my first interaction with him.
12· ·follow the steps that were outlined in the document    12· · · · · · ·As it turns out, everyone in my office
13· ·to file a claim on the bond.· And then I continued     13· ·decided to leave Cushman & Wakefield and move over
14· ·to follow up with the attorney and asked her to        14· ·to be part of Coldwell Banker Commercial, which was
15· ·send me copies of the documents that she was           15· ·then rebranded as CBC Advisors.· And Kevin Long was
16· ·sending and followed up with her.· And my              16· ·the principal broker.· And then CBC advisors was
17· ·understanding from our attorney working for us in      17· ·acquired by Colliers International.· And at some
18· ·Illinois was that she was not getting responses        18· ·point during that transition, I believe, Kevin Long
19· ·from the bond company.· And so, I mean, you know,      19· ·was no longer the principal broker.· And I'm
20· ·there's a lot of e-mail that went back and forth       20· ·struggling to remember who took that position.
21· ·about it.                                              21· ·Steve Bogden became the principal broker.
22· · · ·Q.· · And do you remember who the bond company     22· · · · · · ·So that's how -- that's how I know Kevin.
23· ·was?                                                   23· · · ·Q.· · Okay.· Great.· And when -- so you just
24· · · ·A.· · I think they are called Talisman.            24· ·testified that there was a time where you and many
25· · · ·Q.· · Okay.· And was there ever a bond that you    25· ·of Kevin's team went over -- were acquired by



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·1· ·Colliers?· Is that correct?· Did I state that          ·1· · · ·Q.· · What was your primary responsibility
·2· ·correctly?                                             ·2· ·there?· Just as a broker?· Or were there other
·3· · · ·A.· · It's kind of an over -- it's kind of not     ·3· ·responsibilities you took on?
·4· ·correct --                                             ·4· · · ·A.· · So nothing changed in terms of what I did
·5· · · ·Q.· · Okay.                                        ·5· ·for a living.· The only thing that changed were the
·6· · · ·A.· · -- to say --                                 ·6· ·logos on our signs and business cards and
·7· · · ·Q.· · Please help me understand the nature of      ·7· ·marketing, because -- and I don't know if I'm using
·8· ·that transition.                                       ·8· ·the right phrase when I say "Colliers acquired."
·9· · · ·A.· · Do you understand the -- how -- we've        ·9· ·There was some -- that is above my pay grade.· So
10· ·already gone over how brokers can --                   10· ·there was -- there was some agreement that CBC
11· · · ·Q.· · Right.· Yes.                                 11· ·Advisors and Colliers would come together and that
12· · · ·A.· · And sales agents.· And so in 2014,           12· ·the Colliers logo would, then, be used.
13· ·January 2014, the entire group of sales agents and     13· · · ·Q.· · And were you a W-2 employee under
14· ·associate brokers that I worked with in -- at          14· ·Colliers?
15· ·Cushman & Wakefield Commerce, they were approached     15· · · ·A.· · No.
16· ·by Coldwell Banker Commercial and, you know,           16· · · ·Q.· · You were an independent contractor?
17· ·offered an opportunity to move over with all the       17· · · ·A.· · Independent contractor.
18· ·great benefits that come along with being in this      18· · · ·Q.· · And when did you terminate your
19· ·new brokerage, right?· And so everyone moved their     19· ·relationship with Colliers?
20· ·license, and then Cushman & Wakefield closed, that     20· · · ·A.· · In May of 2020.
21· ·Provo office.· Did I --                                21· · · ·Q.· · Okay.· And was that because you started
22· · · ·Q.· · Yeah.· That makes sense.                     22· ·CAMS Realty?· Or was there another reason?
23· · · ·A.· · Okay.· And so it wasn't -- when you say      23· · · ·A.· · No.· It is because in May of 2020, my
24· ·"joining a team," "team" has kind of a different       24· ·team, me and my team and some other sales agents
25· ·meaning in real estate.· Well, here anyway. I          25· ·and associate brokers that we worked with at

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·1· ·don't know how they do it everywhere.· But here, a     ·1· ·Colliers were approached by Mountain West
·2· ·team might be -- might be me and my licensed           ·2· ·Commercial Real Estate, which is a local -- a local
·3· ·assistant and a couple of junior agents that I work    ·3· ·real estate brokerage, not -- you know, not an
·4· ·with.· And we focus on projects together.· We may      ·4· ·international brokerage.· They at the time had an
·5· ·be in the same brokerage as 200 other people, but      ·5· ·office in Salt Lake but were doing significant work
·6· ·we're not on the same team.                            ·6· ·in Utah County.· And they approached us and asked
·7· · · ·Q.· · Okay.                                        ·7· ·us if we would like to become partners in their
·8· · · ·A.· · So I've never actually been on the Kevin     ·8· ·company and open a new branch office for them in
·9· ·Long Team, if that's what you're trying to get to.     ·9· ·Pleasant Grove.· And so we made the decision, then,
10· · · ·Q.· · That makes sense.· Yes.· That's helpful.     10· ·to change brokerages.
11· ·Thank you.                                             11· · · ·Q.· · Great.· Let's jump to Interrogatory
12· · · ·A.· · Okay.                                        12· ·No. -- let's go to number 5 and your response
13· · · ·Q.· · And when -- when you transitioned to be      13· ·there.· This question asks about Millrock Fund 1 or
14· ·under Colliers' brokerage license -- did I say that    14· ·Millrock Investment Fund 1.· Do you know who
15· ·correctly?                                             15· ·Millrock Investment Fund 1 is?
16· · · ·A.· · I transitioned to be under Coldwell          16· · · ·A.· · You mean who the people are?
17· ·Banker Commercial.                                     17· · · ·Q.· · Who the company is, who the entity is.
18· · · ·Q.· · Okay.· And then --                           18· ·Like, what is Millrock Investment Fund 1?· Do you
19· · · ·A.· · And then it rebranded as CBC Advisors.       19· ·know?
20· · · ·Q.· · Right.                                       20· · · ·A.· · I can tell you what my understanding of
21· · · ·A.· · And then that entity was acquired by         21· ·it is.
22· ·Colliers.                                              22· · · ·Q.· · Perfect.
23· · · ·Q.· · Okay.· So when you transitioned from CBC     23· · · ·A.· · Okay.· My understanding is that Millrock
24· ·Advisors over under Colliers umbrella --               24· ·Investment Fund 1 is a group of investors -- I
25· · · ·A.· · Mm-hmm.                                      25· ·don't know how many they are -- that put money


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·1· ·together to make investments in real estate.           ·1· · · ·Q.· · Okay.· All right.· Let's jump to Response
·2· · · ·Q.· · Okay.· And do you have any relationship      ·2· ·No. 6.· This is, again, related to the capital
·3· ·with Millrock Investment Fund 1 either personally      ·3· ·call.· But it says you have no knowledge regarding
·4· ·or professionally with your CAMS Realty?               ·4· ·this.· It was my understanding that you had --
·5· · · ·A.· · So professionally with Brent Smith, and I    ·5· ·let's see.· Let me rephrase that.
·6· ·don't remember what his title is.· But he is -- he     ·6· · · · · · ·How had you assisted the Naperville --
·7· ·is part of Millrock Investment Fund 1.                 ·7· ·had you assisted the Naperville property in
·8· · · ·Q.· · And what's the nature of that                ·8· ·executing that capital call?
·9· ·relationship, you said, professionally?                ·9· · · ·A.· · No.· I mean, people -- I had to circulate
10· · · ·A.· · Well, he is an owner in different            10· ·e-mails saying "This is the request."· So I'm a
11· ·properties.· He worked closely with Kevin Long. I      11· ·facilitator.· Right?· I get information and I pass
12· ·believe they -- you know, they were in the same        12· ·it on to the owners.
13· ·shared office spaces.· So over -- you know, over       13· · · ·Q.· · Okay.
14· ·the past four year, we've talked a lot about the       14· · · ·A.· · And so when you say "participate in it,"
15· ·different properties that they have sold and that I    15· ·only to the extent that I was sending information
16· ·then managed.                                          16· ·back and forth.· Owners very often ask me questions
17· · · ·Q.· · Okay.· And do you know who the owners of     17· ·about things that I don't know anything about.
18· ·Millrock Investment Fund 1 are?                        18· ·And, you know, in trying to make sure that they're
19· · · ·A.· · I don't.                                     19· ·well served, I try to track down answers for them
20· · · ·Q.· · Okay.· That's okay.· And in the response,    20· ·and then convey the information back.
21· ·it talks about after a capital call was provided       21· · · ·Q.· · Okay.· And so you -- my understanding,
22· ·to -- for tenant improvements in the Neuragenex        22· ·then, is effectively you're a middleman between the
23· ·lease, you said that it was your understanding that    23· ·owners and Millcreek or Millrock?
24· ·as of July 5th, 2024, Millrock's fund ownership        24· · · ·A.· · In a perfect world, I'm the intermediary
25· ·percentage was 15.8977 percent.                        25· ·between the owners and the tenant.

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·1· · · · · · ·Is that still an accurate number?            ·1· · · ·Q.· · Okay.
·2· · · ·A.· · Yes.· I believe it is.                       ·2· · · ·A.· · Right?· And when -- when there are
·3· · · ·Q.· · And with that capital call -- never mind.    ·3· ·issues, then I become an intermediary between the
·4· ·Strike that.· We'll come back to that later.           ·4· ·owners and lots of other entities, maybe an
·5· · · · · · ·Do you know how much Millrock paid for       ·5· ·attorney that I have to hire or Millcreek to ask a
·6· ·that 15.8977 percent?                                  ·6· ·question about like, you know, a performance bond,
·7· · · ·A.· · No.· I have no idea.                         ·7· ·for example.
·8· · · ·Q.· · Okay.· Do you know if the full amount was    ·8· · · ·Q.· · Okay.· Great.· Let's look at number 7.
·9· ·paid for that pursuant -- per the value of the         ·9· ·This question asks you to describe the Millcreek
10· ·property?                                              10· ·tenancy-in-common program and how it works.· You
11· · · ·A.· · No, I don't.                                 11· ·indicated that you were not involved with the
12· · · · · · ·MR. BURGE:· Objection.· Vague.               12· ·acquisition and disposition of property by
13· · · · · · ·THE WITNESS:· I'm sorry.· Did I speak        13· ·Millcreek.· Have you ever helped Millcreek in a
14· ·over you?                                              14· ·real estate transaction as a broker or a sales
15· · · · · · ·MR. BURGE:· No.· I just tried to really      15· ·agent?
16· ·sneak it in really fast.                               16· · · ·A.· · No.
17· · · ·Q.· · (BY MR. EVERETT)· Yeah.· He just said an     17· · · ·Q.· · Have you ever assisted Millrock in the
18· ·objection.                                             18· ·purchase or sale of property as a broker or a sales
19· · · · · · ·MR. BURGE:· Objection.· Vague.               19· ·agent?
20· · · ·Q.· · (BY MR. EVERETT)· That I had given a         20· · · ·A.· · No, I haven't.
21· ·vague question.                                        21· · · ·Q.· · And to your understanding, what are
22· · · ·A.· · Oh, okay.                                    22· ·tenant-in-common properties?
23· · · ·Q.· · But you're free to answer unless your        23· · · ·A.· · The tenancy in common is a type of
24· ·attorney tells you not to.                             24· ·ownership.· And so when you say "what are
25· · · ·A.· · Okay.                                        25· ·tenancy-in-common properties," they are properties



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·1· ·that are owned, and the owners are owners as           ·1· ·of getting the calls about, you know, having
·2· ·tenants in common.                                     ·2· ·maintenance issues.· Maybe they're, you know,
·3· · · ·Q.· · And how does that relate to this             ·3· ·getting older and don't want to have as many things
·4· ·investment opportunity that was presented by           ·4· ·to take care of.· And when they sell their duplex,
·5· ·Millcreek?                                             ·5· ·maybe they only get $300,000.· They would like to
·6· · · · · · ·MR. SCHULTZ:· Lacks foundation.              ·6· ·buy something that -- to avoid paying capital gains
·7· · · · · · ·THE WITNESS:· I was going to say that's a    ·7· ·tax, they would like to do a 1031 exchange.
·8· ·pretty broad question.                                 ·8· · · · · · ·So they can do a 1031 exchange into any
·9· · · ·Q.· · (BY MR. EVERETT)· Let me rephrase.· So1      ·9· ·type of real estate, you know, like-kind exchange.
10· ·the TIC program that we've referred to here in this    10· ·If they buy raw land, they will not have a revenue
11· ·interrogatory, is that different than simply a         11· ·stream.· And so if they want to replace the revenue
12· ·bunch of owners owning property together?              12· ·stream that they had from the duplex, they may
13· · · ·A.· · It can be.· Or it cannot be.· I mean, it     13· ·consider buying, you know, an office building or
14· ·is possible, right?· So as an example, I myself,       14· ·they may consider a retail center.· The problem is,
15· ·with two business partners, own a building as          15· ·especially in our market now, $300,000 doesn't buy
16· ·tenants in common.· So would you call it a program?    16· ·you a -- you know, a large building with a large
17· ·No.· Because, you know, we put it together, we         17· ·tenant with a triple net lease.
18· ·said, "Oh, this would be a good way to do it."         18· · · · · · ·And so the purpose, as I understand it,
19· ·Right?· So what are you referring to when you say      19· ·of marketing the tenant-in-common properties is to
20· ·the "tenancy-in-common program"?                       20· ·give investors who have smaller amounts of money
21· · · ·Q.· · Well, when Millcreek offers a -- if          21· ·the opportunity to invest in a bigger property with
22· ·Millcreek offers a -- on their website, they've        22· ·a -- you know, maybe a Walgreens or maybe a Dollar
23· ·offered these tenancy-in-common investments.· We       23· ·Tree store or maybe a medical clinic.· Right?· And
24· ·consider that offering generally as their              24· ·the idea is that you're combining your money in
25· ·tenancy-in-common program.                             25· ·with other owners to own an asset that has a triple

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·1· · · ·A.· · Okay.                                        ·1· ·net lease so that you don't get the phone calls in
·2· · · ·Q.· · We're trying to understand the nature of     ·2· ·the middle of the night about maintenance.· Right?
·3· ·that specific program that they have been offering     ·3· · · · · · ·And it -- you know, it becomes a
·4· ·to --                                                  ·4· ·replacement investment vehicle for the duplex that
·5· · · ·A.· · Their sales model?                           ·5· ·you sold.
·6· · · ·Q.· · Yes.· Their sales model.· Yes.               ·6· · · ·Q.· · (BY MR. EVERETT)· Great.· And are these
·7· · · ·A.· · Okay.· Now, ask me the original question     ·7· ·tenancy-in-common sales models, is it -- in your
·8· ·again now that I understand.                           ·8· ·experience, is it common amongst brokerages or
·9· · · ·Q.· · Let me see if I can remember it.             ·9· ·people who want to sell or assist in facilitating
10· · · · · · ·How is Millcreek's sales model, I guess,     10· ·these?· Or are these a less common investment?
11· ·different than just a few owners owning property       11· · · · · · ·MR. SCHULTZ:· Vague.
12· ·together?                                              12· · · · · · ·THE WITNESS:· Yeah.· That's kind of broad
13· · · · · · ·MS. WINDHAM:· Object to foundation.          13· ·too.· In commercial real estate, it is more common
14· · · · · · ·MR. SCHULTZ:· Join.                          14· ·to have people own properties as tenants in common
15· · · · · · ·THE WITNESS:· Okay.· So I'll explain what    15· ·than it is in residential real estate, for example.
16· ·I understand, but I don't -- I don't sell the TIC      16· ·It is -- you know, it is -- it's not an uncommon
17· ·properties and I haven't been involved in the          17· ·thing in investment real estate, but I would say
18· ·marketing, so everything I'm going to say is based     18· ·that it's not as common as joint tenancy.
19· ·on what I've observed, right?· Or what I've            19· · · ·Q.· · (BY MR. EVERETT)· Okay.· Do you know if
20· ·learned.                                               20· ·there are any specific demographics of people that
21· · · · · · ·As it's advertised, my understanding is      21· ·are either targeted in the marketing or would
22· ·that, you know, an owner -- let's -- let me try to     22· ·benefit most from this tenant-in-common sales
23· ·phrase this with an example.· Let's say that you       23· ·model?
24· ·have -- have a person who's a real estate investor     24· · · · · · ·MR. SCHULTZ:· Overly broad.· Foundation.
25· ·and they have sold a duplex because they're tired      25· · · · · · ·MR. BURGE:· Join.



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·1· · · · · · ·MS. WINDHAM:· Join.                          ·1· ·was -- I believe it was produced by you through
·2· · · · · · ·MR. WRIGHT:· Join.                           ·2· ·your counsel here.
·3· · · · · · ·THE WITNESS:· Well, common sense says        ·3· · · ·A.· · Okay.· Yeah, I see the property address.
·4· ·that it would be -- investors would be your target     ·4· · · ·Q.· · Yep.
·5· ·market.· Investors who -- you know, investors who      ·5· · · ·A.· · Yes.· This is the tenant-in-common
·6· ·are in the middle of trying to identify a property     ·6· ·agreement for Naperville.
·7· ·for a 1031 exchange is your perfect market when you    ·7· · · ·Q.· · And do you know if each tenancy-in-common
·8· ·are marketing investment properties.                   ·8· ·agreement that was signed by each owner is
·9· · · ·Q.· · (BY MR. EVERETT)· Are you familiar with      ·9· ·identical?
10· ·the term "accredited investor"?                        10· · · ·A.· · They should be.· I don't read every word
11· · · ·A.· · No.· I don't -- that's not something I       11· ·of every one.· I'm assuming when they enter into
12· ·would normally say.· It's probably one of those        12· ·their tenancy-in-common agreement, that they have
13· ·professional terms.· I just -- it's not in my          13· ·read their agreements.
14· ·vocabulary usually.                                    14· · · ·Q.· · Let's look down here under number 1,
15· · · ·Q.· · Okay.· So you wouldn't know, then, if --     15· ·under "Nature of Ownership."
16· ·to invest in a tenancy-in-common program, there's a    16· · · ·A.· · Mm-hmm.
17· ·requirement to be an accredited investor?              17· · · ·Q.· · The very last sentence says
18· · · · · · ·MS. WINDHAM:· Objection.· Foundation.        18· ·"Notwithstanding any other provision of this
19· · · · · · ·MR. SCHULTZ:· Same.· Join.                   19· ·agreement, under no circumstances may the number of
20· · · · · · ·MR. BURGE:· Join.                            20· ·owners exceed 35."· Do you have any idea why that
21· · · · · · ·THE WITNESS:· I'm not familiar with that,    21· ·35 number is in there?
22· ·so that may be a nonUtah thing.· But there's no        22· · · ·A.· · My understanding is that that is a
23· ·accreditation for someone who has money that they'd    23· ·requirement under the IRS regulations that pertain
24· ·like to invest that I'm aware of.                      24· ·to doing 1031 exchanges into tenant-in-common
25· · · ·Q.· · (BY MR. EVERETT)· Okay.· Perfect.· All       25· ·properties.· That's just my understanding, though.

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·1· ·right.· Let's jump now to Exhibit-7.· Let me see       ·1· · · ·Q.· · Just your understanding is what we need.
·2· ·what this is.· Okay.· This is changing gears a         ·2· · · ·A.· · Okay.
·3· ·little bit here on Exhibit-7.· This -- do you          ·3· · · ·Q.· · Just the best of your understanding.
·4· ·recognize this e-mail thread?                          ·4· · · ·A.· · Okay.
·5· · · ·A.· · I'm getting there.                           ·5· · · ·Q.· · We're not looking for any legal
·6· · · ·Q.· · No problem.· Take your time.                 ·6· ·conclusions or anything.
·7· · · ·A.· · It is in the binder behind 7?                ·7· · · · · · ·Okay.· Let's jump to Section 3.1
·8· · · ·Q.· · It is in the binder.· Yep.· Yes.· Not an     ·8· ·regarding expenses.· When expenses happen at the
·9· ·e-mail thread.· My apologies.· I jumped to the         ·9· ·property, this states that any expenses incurred
10· ·wrong one.· It's Exhibit-8.· I wrote it down wrong     10· ·with respect to the property shall be the owner's
11· ·in my outline.                                         11· ·obligation.· How is that facilitated with -- among
12· · · · · · ·MR. BURGE:· The management agreement?        12· ·the owners if there are up to 35 owners?
13· · · · · · ·MR. EVERETT:· It should be the               13· · · ·A.· · That is one of the services that I
14· ·tenancy-in-common agreement.                           14· ·provide to the owners.· And so if there is an
15· · · · · · ·MR. BURGE:· That's Exhibit-7.                15· ·expense that needs to be covered by an owner --
16· · · · · · ·MR. EVERETT:· Oh, okay.· Yep.· Okay.· And    16· ·and, you know, speaking specifically to
17· ·I'm wrong.· It is Exhibit-7.· You're right.· Okay.     17· ·Naperville -- if -- when property taxes come due,
18· ·Tenancy-in-common agreement.· Sorry.· I turned to      18· ·there's currently not a tenant in the building,
19· ·the wrong thing.                                       19· ·right?· So when property taxes come due, it is an
20· · · ·Q.· · (BY MR. EVERETT)· Okay.· Have you seen       20· ·expense that is the responsibility of all the
21· ·this document before, Mary?                            21· ·owners.· So I send invoices to the owners for their
22· · · ·A.· · I've seen different -- can you tell me       22· ·proportionate share based on their percentage of
23· ·which property this pertains to?· I assume it's        23· ·ownership of that expense.· Then I collect the
24· ·Naperville.                                            24· ·money from them and then pay the bill.
25· · · ·Q.· · Yeah.· This is for Naperville, and this      25· · · ·Q.· · Great.· And I assume that's the same



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·1· ·process for improvements and other things like         ·1· ·So in the instance I just described, if it was "are
·2· ·that, like in Section 3.2?                             ·2· ·we going to pay property taxes on time," then if
·3· · · ·A.· · In general, yes.· But there's a caveat,      ·3· ·the owners direct me via the poll, if 50 percent or
·4· ·because I wasn't involved in the remodel of the        ·4· ·greater says, "Yes, we want to pay the property
·5· ·property for Neuragenex, which was the replacement     ·5· ·taxes on time, then my action would be to send them
·6· ·tenant after Advanced Care Medical defaulted.          ·6· ·an invoice and say, "In order to pay it on time, I
·7· · · ·Q.· · Okay.· Perfect.                              ·7· ·need you to pay your invoice by this date."· And
·8· · · · · · ·MR. SCHULTZ:· Document speaks for itself     ·8· ·then my action continues by collecting the money
·9· ·also.                                                  ·9· ·and then paying the bill.
10· · · ·Q.· · (BY MR. EVERETT)· In Section 6 of this       10· · · ·Q.· · Okay.· And money is transferred into a
11· ·document, it talks about voting.· I'm less             11· ·trust type account or something like that?
12· ·concerned about what it says here.· More about how     12· · · ·A.· · Yes.· Each property that I work with has
13· ·the voting takes place.· Is that something that you    13· ·its own segregated account.· Money being
14· ·facilitate?                                            14· ·transferred, I collect checks usually.· Some people
15· · · ·A.· · Yes.                                         15· ·pay via ACH or wire.
16· · · ·Q.· · Okay.                                        16· · · ·Q.· · Let's move on to Exhibit-8.· Do you
17· · · ·A.· · That's one of my responsibilities.           17· ·recognize this document?
18· · · ·Q.· · And how do you facilitate that?              18· · · ·A.· · Yes.
19· · · ·A.· · I've learned how to use Google poll.· And    19· · · ·Q.· · Do you know who prepared this document?
20· ·I've had -- I've taught people how to use Google       20· · · ·A.· · So I don't know -- I don't know who
21· ·poll.· So I set up a -- in general, I never            21· ·prepared the original template.· Okay?· But I would
22· ·circulate a poll without having some conversation      22· ·have been the one that filled in the blanks on this
23· ·ahead of time about it.· And we hold weekly Zoom       23· ·document.
24· ·meetings for the Naperville property.· There will      24· · · ·Q.· · So you didn't have an attorney draft this
25· ·be topics that come up.· For example, let's just       25· ·for you as a new agreement, then?

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·1· ·use property tax.· You know, there will be             ·1· · · ·A.· · I did not.
·2· ·something -- a bill that comes up that needs to be     ·2· · · ·Q.· · And where did you find the template?
·3· ·paid.· We'll discuss it in the Zoom meeting and I      ·3· · · ·A.· · So --
·4· ·will let them know that I'm going to need to           ·4· · · · · · ·MR. SCHULTZ:· Assumes facts.
·5· ·circulate a poll because, you know, not paying this    ·5· · · · · · ·Go ahead.
·6· ·on time will result in late fees.· "And if that's      ·6· · · · · · ·THE WITNESS:· The template was given to
·7· ·really the direction you want to go, I'll do it,       ·7· ·me by Millcreek Commercial because they were
·8· ·but I have to have a majority vote to do that."        ·8· ·originally doing their own -- they were doing what
·9· · · · · · ·So we'll have a discussion about it. I       ·9· ·I do in-house themselves with someone.· I don't
10· ·will create the poll.· I'll send it out via e-mail     10· ·know -- I don't know who was doing it, but they
11· ·and ask everybody to respond.· And then Google poll    11· ·were doing it.· And then at some point, we started
12· ·allows you to track the responses either within the    12· ·discussions about me forming a company to do this
13· ·poll form or attach it to a spreadsheet.· And I        13· ·instead of them doing it in-house.· And so I got
14· ·usually attach it to a spreadsheet and share not       14· ·this template from them at the time that they
15· ·only the poll but the results with the owners.         15· ·transitioned, because they had properties that were
16· · · ·Q.· · And is your responsibility only, then, to    16· ·in progress.· Right?· So they transitioned all that
17· ·share the results of the poll?                         17· ·over to me, and that's where this would have come
18· · · ·A.· · Well, I write the poll.                      18· ·from.· And I've since revised it and had an
19· · · ·Q.· · You write the poll?                          19· ·attorney.· But this one is one that was given to me
20· · · ·A.· · Yeah.· I create it.· And then I share the    20· ·by Millcreek.
21· ·results of it, and then I keep track of it.            21· · · ·Q.· · (BY MR. EVERETT)· So with this document
22· · · ·Q.· · Okay.· And do you take any actions based     22· ·in -- along with Exhibit-7, they are dated
23· ·on the poll?· Or is that entirely up to the owners     23· ·differently.· And it appears that in Exhibit-7, it
24· ·to take action?                                        24· ·was dated the 16th of April.· And the CAMS Realty
25· · · ·A.· · It depends on what the poll is, right?       25· ·was dated 16th of March, 2021.· Do you know why the



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·1· ·lease administration agreement was signed before       ·1· ·administration agreement.
·2· ·the tenancy-in-common agreement?                       ·2· · · ·A.· · Okay.· I'm there.
·3· · · · · · ·MR. SCHULTZ:· Assumes facts.                 ·3· · · ·Q.· · So on Exhibit-8 here, did each owner of
·4· · · · · · ·THE WITNESS:· This tenancy-in-common         ·4· ·the Naperville property have to provide a copy of
·5· ·agreement isn't signed, the one that I have.           ·5· ·this agreement to you, a signed executed copy to
·6· · · ·Q.· · (BY MR. EVERETT)· Oh, okay.                  ·6· ·you?
·7· · · ·A.· · So -- so it says the 16th day of April       ·7· · · ·A.· · So I actually provide to them, to each of
·8· ·2021, but this is a template.                          ·8· ·the owners, the agreement for them to sign.· And
·9· · · ·Q.· · Oh, okay.                                    ·9· ·that's a requirement in order for me to be able to
10· · · ·A.· · And if this is in the mix of all the tens    10· ·work for them, is that I need their authorization
11· ·of thousands of documents I provided, this would       11· ·to be able to collect money on their behalf and
12· ·have just been the template and not the actual         12· ·distribute money on their behalf and uphold the
13· ·agreement that your client signed.                     13· ·lease.· So that's what this is.· This is --
14· · · ·Q.· · Perfect.                                     14· · · · · · ·MR. SCHULTZ:· When you say "this," what
15· · · ·A.· · Because I often do not have everybody's,     15· ·is it?
16· ·right?· I will have a master template for a            16· · · · · · ·THE WITNESS:· This document -- this lease
17· ·property, but not have in my possession the            17· ·administration agreement.· Sorry.
18· ·document that each person signed.                      18· · · ·Q.· · (BY MR. EVERETT)· That's okay.· And so
19· · · ·Q.· · Okay.· Let's jump to Exhibit-54.· Not        19· ·you have to have unanimous owner consent from this
20· ·54A.· We had a little bit of a mixup last time.· It    20· ·document to begin working on a property?
21· ·should -- 54 -- just 54 should start with the IPX      21· · · ·A.· · Yes.· I tell the owners when I reach out
22· ·1031.· It got a little confusing during Brent's        22· ·to them that I need them to sign this, which
23· ·deposition because I accidentally entered in the       23· ·authorizes me to work for them.· And I cannot
24· ·same number that Jim Gilson had entered in             24· ·distribute rent to them if I do not have their
25· ·previously.                                            25· ·authorization to do so.

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·1· · · · · · ·(Discussion off the record.)                 ·1· · · ·Q.· · And is it a requirement of the owners
·2· · · · · · ·MS. WINDHAM:· Can you clarify for us         ·2· ·when they purchase into -- as a tenancy-in-common
·3· ·which --                                               ·3· ·investment that they sign this?· Or can they
·4· · · · · · ·MR. EVERETT:· Yeah.· It should be            ·4· ·purchase into it without signing this document?
·5· ·MILLCREEK_GRANT 000001 through 57.· Is it not in       ·5· · · ·A.· · So that's a -- that's a good question,
·6· ·there?                                                 ·6· ·because you're asking me about things that I
·7· · · · · · ·MR. WRIGHT:· 54 is an e-mail.                ·7· ·don't -- I don't know -- I don't know how it's
·8· · · · · · ·MR. EVERETT:· Oh, okay.· Let me check        ·8· ·handled.· I'm not part of the sales and marketing
·9· ·here.· My apologies.· Let me upload that real          ·9· ·team.· Okay?· And I'm -- I don't meet the owners of
10· ·quick.                                                 10· ·the Naperville property until after they've
11· · · · · · ·MR. WRIGHT:· Is it 53?                       11· ·purchased the Naperville property.· So one of
12· · · · · · ·MR. EVERETT:· No.· It's one that Jim         12· ·the -- and what I'm about to say, I know from
13· ·Gilson entered during Kevin Long's deposition, and     13· ·reading the tenant-in-common agreement.· So the
14· ·we accidentally had a 54 during Brent Smith's.· And    14· ·tenant-in-common agreement is one of the documents
15· ·so we renamed it in Brent Smith's deposition.· This    15· ·they sign when they purchase their interest.· That
16· ·one should be 54, and the e-mail should be 54A.· So    16· ·document, it is the -- the tenant-in-common
17· ·let me go and grab that real quick.· We can take a     17· ·agreement is the rules and regulations and
18· ·break if we need, and I can grab that.                 18· ·structure for how these owners -- these
19· · · · · · ·(Off the record from 10:28 a.m. to           19· ·tenant-in-common owners are going to work together
20· ·10:39 a.m.)                                            20· ·as the owners.· And that document is required under
21· · · ·Q.· · (BY MR. EVERETT)· Let's jump back to         21· ·IRS regulations for having tenant-in-common
22· ·Exhibit-8.· I've got another couple questions that     22· ·ownership in a -- in an exchange property.· Right?
23· ·came to mind as we were in a break.                    23· · · · · · ·So one of the requirements of the
24· · · ·A.· · Excuse me.· Did you say "8"?                 24· ·tenant-in-common agreement is that they have a
25· · · ·Q.· · 8.· Yes.· Back to the lease                  25· ·manager.· And so the manager -- so I am approached



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·1· ·by either Millcreek or, you know, other entities.      ·1· ·refused to take any more on in the past two years.
·2· ·I have other properties in my portfolio.· So I'm       ·2· · · ·Q.· · (BY MR. EVERETT)· Okay.· So then my
·3· ·approached by the company that is selling the          ·3· ·understanding is, then, you have roughly 23
·4· ·tenant-in-common investment and asked if I want to     ·4· ·properties in your portfolio that were either sold
·5· ·take that property into their portfolio and be the     ·5· ·or marketed by Millcreek Commercial?
·6· ·manager for it.· And so this is one of the             ·6· · · ·A.· · Yes.
·7· ·properties that I accepted into my portfolio.          ·7· · · ·Q.· · Okay.
·8· · · · · · ·And so when an owner buys, they first go     ·8· · · ·A.· · And the reason for my confusion is I
·9· ·through, you know, all of their purchase -- all        ·9· ·can't do percentages in my head.· So, sorry.
10· ·their purchase agreements and all the documents        10· · · ·Q.· · That's okay.· Great.
11· ·associated with 1031 exchange.· Right?                 11· · · · · · ·All right.· Now let's jump to Exhibit-54.
12· · · · · · ·Then I come in.· I meet them after           12· ·And let's go to specifically MILLCREEK_GRANT
13· ·they've bought, and I sign an agreement with them      13· ·000018.
14· ·in order to administer the property on their           14· · · ·A.· · Okay.
15· ·behalf.· And then the rules of their relationship      15· · · ·Q.· · Do you recognize this document?
16· ·with me are actually laid out in the                   16· · · ·A.· · No.· I mean, I know what it is, but it's
17· ·tenant-in-common agreement.                            17· ·not -- this document, I haven't seen before.
18· · · ·Q.· · Okay.· And --                                18· · · ·Q.· · Okay.· And you were never involved in
19· · · ·A.· · I feel like I talked in a circle.· I'm       19· ·putting anything like the purchase and sale
20· ·sorry.                                                 20· ·agreement together for purchasers of the
21· · · ·Q.· · I think we're following.                     21· ·tenancy-in-common investment?
22· · · ·A.· · Okay.                                        22· · · ·A.· · Correct.· I do not participate in the
23· · · ·Q.· · You're in a room with a bunch of nerds.      23· ·sale, and I don't write the contracts.· This is not
24· ·So...                                                  24· ·something that I would do.
25· · · ·A.· · Okay.                                        25· · · ·Q.· · Okay.· Do you know if this is the same

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·1· · · · · · ·MR. SCHULTZ:· Hey.                           ·1· ·purchase and sale agreement that each TIC investor
·2· · · · · · ·MR. EVERETT:· At least I am.                 ·2· ·signs?
·3· · · ·Q.· · (BY MR. EVERETT)· So with this -- you        ·3· · · ·A.· · No.
·4· ·mentioned you have a portfolio of -- did I             ·4· · · ·Q.· · Do you have any knowledge?
·5· ·understand correctly?· A portfolio of properties       ·5· · · ·A.· · I have no idea.
·6· ·you manage?                                            ·6· · · ·Q.· · On the -- on page -- on the last page of
·7· · · ·A.· · Yes.                                         ·7· ·this agreement -- excuse me -- second-to-last page,
·8· · · ·Q.· · Is that correct?· How -- roughly how many    ·8· ·right before the exhibits where it says
·9· ·properties do you manage?                              ·9· ·"MILLCREEK_GRANT 000022," it says --
10· · · ·A.· · The number varies depending upon, you        10· · · ·A.· · Wait.· I'm not there.
11· ·know, the property.· Right now, I have 28.             11· · · ·Q.· · Oh, go ahead.· I'm sorry.
12· · · ·Q.· · Okay.· And are they -- you say -- earlier    12· · · ·A.· · The last page -- 0022?
13· ·you testified that those were not all with             13· · · ·Q.· · Yeah.· Yeah.
14· ·Millcreek Commercial?                                  14· · · ·A.· · Okay.
15· · · ·A.· · That's correct.                              15· · · ·Q.· · Right there.
16· · · ·Q.· · What are the other -- what percentage is     16· · · ·A.· · Okay.
17· ·with Millcreek Commercial?                             17· · · ·Q.· · In the signature line under the seller,
18· · · · · · ·MR. SCHULTZ:· Vague as to "with Millcreek    18· ·it says "ADP Millcreek 1 LLC."· Do you know who ADP
19· ·Commercial."                                           19· ·Millcreek 1 LLC is?
20· · · · · · ·THE WITNESS:· I was going to say I have      20· · · ·A.· · I couldn't tell you -- no.· I mean, I
21· ·five properties that I manage that came from other     21· ·honestly don't know who the people are.· No.
22· ·sources.· I have stopped taking on new clients         22· · · ·Q.· · Okay.· And do you know if Kevin Long was
23· ·because of the vast workload of dealing with           23· ·a manager of ADP Millcreek 1?
24· ·tenants in default.· So I have five that did not       24· · · · · · ·MR. SCHULTZ:· Foundation.
25· ·come through Millcreek Commercial, and I have          25· · · ·Q.· · (BY MR. EVERETT)· Go ahead.


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·1· · · ·A.· · I couldn't say that I -- that this is        ·1· · · ·Q.· · Okay.· So another question I've had that
·2· ·something that I personally know.· I see that he       ·2· ·I can't seem to understand is:· After the property
·3· ·signed that way, so, you know --                       ·3· ·has been sold to all the owners -- and we
·4· · · ·Q.· · Great.· And do you know why this -- and      ·4· ·understand why you're there.· All the owners have
·5· ·if you don't know, that's okay.· I'm just trying to    ·5· ·agreed to have you manage the affairs of the
·6· ·get what you do know.                                  ·6· ·property.· Do you know why Millcreek Commercial
·7· · · ·A.· · Okay.                                        ·7· ·continues to be involved after the property has
·8· · · ·Q.· · Do you know -- do you have any reason to     ·8· ·been sold?
·9· ·know why this was signed by ADP Millcreek 1 and not    ·9· · · · · · ·MS. WINDHAM:· Object to form witness.
10· ·Millcreek -- or Millrock Investment Fund 1?            10· · · · · · ·MR. SCHULTZ:· Overly broad.
11· · · · · · ·MR. SCHULTZ:· Lacks foundation.              11· · · · · · ·You may answer.
12· · · · · · ·THE WITNESS:· I don't have any reason to     12· · · · · · ·THE WITNESS:· It is broad.· It is -- so
13· ·know that.· I could tell -- I mean, I probably         13· ·it is a relationship.· My understanding is that the
14· ·shouldn't answer questions that haven't been asked.    14· ·reason -- and I would do this in my own business.
15· · · · · · ·MR. SCHULTZ:· If you don't know, don't       15· ·If I have a client that I've worked with in the
16· ·answer.                                                16· ·past, I would like to maintain a good relationship
17· · · · · · ·THE WITNESS:· Okay.                          17· ·with them because they may be, you know -- they may
18· · · ·Q.· · (BY MR. EVERETT)· Just keep talking.         18· ·need services in the future, and so I want them to
19· ·Okay.                                                  19· ·have a good experience with me and remember me.
20· · · · · · ·All right.· Let's look at this -- in this    20· ·Right?
21· ·same exhibit, Bates numbered 25 through 28, it's       21· · · · · · ·So my understanding is that they -- they
22· ·just the next page over I think.· And you can take     22· ·maintain a portal of documents that are related to
23· ·a look real quick.· There should --                    23· ·their clients.· And, for example, if after someone
24· · · · · · ·MR. SCHULTZ:· 25, did you say?               24· ·purchases their interest in Naperville, they say,
25· · · · · · ·MR. EVERETT:· 25 through 28, yeah.           25· ·"I can't find my warranty deed" -- okay?· They're

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·1· · · ·Q.· · (BY MR. EVERETT)· Can you take a look at     ·1· ·probably going to call me because they have, you
·2· ·those and tell me if you recognize those?              ·2· ·know, an going relationship with me because I'm
·3· · · ·A.· · These aren't things I've seen before. I      ·3· ·sending them money every month.· Right?
·4· ·should say these are not pages that I've seen          ·4· · · ·Q.· · Mm-hmm.
·5· ·before.                                                ·5· · · ·A.· · And they're probably going to call me and
·6· · · ·Q.· · Okay.· So in your role as lease              ·6· ·ask me for that.· Or they may say, "I can't find a
·7· ·administrator, you said you collect rents.· And        ·7· ·copy of my purchase and sale agreement."
·8· ·then do you distribute those rents to the owners?      ·8· · · · · · ·I would say, "I don't have that
·9· · · ·A.· · Yes.                                         ·9· ·information, because I wasn't involved in your
10· · · ·Q.· · Are you in charge of that?                   10· ·purchase of the property, but Millcreek maintains a
11· · · ·A.· · Yes.                                         11· ·portal for their clients, for you to be able to
12· · · ·Q.· · Okay.· This appears to be a rent             12· ·access all the documents from your purchase from
13· ·distribution for 2021, '22, and '23.· So you did       13· ·them of the interest."
14· ·not prepare these statements?· Is that what you're     14· · · · · · ·So when you say "why would they," it
15· ·saying?                                                15· ·seems to be good business sense to maintain a
16· · · ·A.· · I did not.                                   16· ·relationship with your clients.· They're also
17· · · ·Q.· · Okay.· Did you prepare any statements        17· ·providing a service by making the documents
18· ·similar to these that showed the amount of rents       18· ·available.
19· ·that were distributed?                                 19· · · ·Q.· · Okay.· And do they do anything to your
20· · · ·A.· · So I do track the amount of rent that's      20· ·knowledge that's outside of simply making the
21· ·distributed to each owner on a monthly basis, and I    21· ·documents available?
22· ·keep it in spreadsheets.· And then that information    22· · · ·A.· · I don't know.
23· ·feeds into the 1099s that are prepared at the end      23· · · · · · ·MR. BURGE:· Objection.· Vague.
24· ·of every year.· So I do prepare documents, but         24· · · · · · ·MS. WINDHAM:· Join.
25· ·these are not mine.                                    25· · · · · · ·THE WITNESS:· I don't know.


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·1· · · ·Q.· · (BY MR. EVERETT)· All right.· Next, I'd          ·1· · · ·Q.· · And then you kind of knew Kevin -- or had
·2· ·like to discuss your affiliation and professional          ·2· ·a professional relationship generally -- let me
·3· ·relationship with Kevin Long.                              ·3· ·rephrase that.· That's a broad --
·4· · · ·A.· · Mm-hmm.                                          ·4· · · · · · ·You had a professional relationship with
·5· · · ·Q.· · Just to help me understand with him,             ·5· ·Kevin Long since then essentially.· Is that
·6· ·Millcreek Commercial Properties, and Millrock              ·6· ·correct?
·7· ·Investment Fund 1.· First, you already testified           ·7· · · ·A.· · Yes.
·8· ·you met Kevin Long in -- did I recall -- 2014?             ·8· · · ·Q.· · Okay.· And then how did you come to know
·9· · · ·A.· · 2014.                                            ·9· ·Millcreek Commercial?· Was that just through Kevin
10· · · ·Q.· · 2014?· Can you expand a little on how you        10· ·Long?· Or was there another circumstance that made
11· ·met again?                                                 11· ·you aware of Millcreek Commercial?
12· · · ·A.· · Yes.· So I was the branch broker for             12· · · ·A.· · So I don't remember when, but at some
13· ·Cushman & Wakefield Commerce.· We had about 22             13· ·point, Kevin, with some agents, you know, a small
14· ·agents in our office.· And support staff.· We were         14· ·team of agents, his -- his marketing group, they
15· ·located down in the River Woods in Provo.                  15· ·started coming into our sales meetings at -- so now
16· · · · · · ·And I received a phone call one day              16· ·we're all at Colliers.· I don't think this predates
17· ·from -- well, it's actually kind of a fun story. I         17· ·Colliers.· But we had -- we had a conference room
18· ·received a phone call from the -- from the owners          18· ·very much like this, and every week we would have a
19· ·of Cushman & Wakefield Commerce.· And they said            19· ·sales meeting.· And during sales meeting, you can
20· ·that they wanted to give me great news.· They had          20· ·talk about what your new listings are.· You can
21· ·just been -- they merged or were acquired by a             21· ·share information.· You can share market
22· ·bigger company called Northmarq.· And they were            22· ·intelligence, all that sort of stuff.
23· ·giving me the -- you know, the first -- you know,          23· · · · · · ·And at some point, Kevin came and did a
24· ·the first -- before it went big public, they were          24· ·presentation about the program, you know, the
25· ·giving me the information.                                 25· ·acquisition of properties that are net leased,

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·1· · · · · · ·And so when I got to -- they asked me to         ·1· ·either triple net or double net leased properties,
·2· ·speak to a few of the key agents in our office.· So1       ·2· ·and then the resale of them as tenant-in-common
·3· ·when I went to work, I pulled a couple of agents           ·3· ·properties as investment vehicles.
·4· ·into a conference room and said, "Hey, guess what?         ·4· · · · · · ·So that's how I became aware of it.· He
·5· ·Our company has been acquired by Northmarq.· And so        ·5· ·came into sales meeting to share information about
·6· ·we're all going to be part of Northmarq now."              ·6· ·it.
·7· · · · · · ·And they kind of looked at each other and        ·7· · · ·Q.· · Okay.· And did you meet Brent Smith when
·8· ·said, "Well, guess what?· We're all leaving to go          ·8· ·Kevin brought Millcreek Commercial to you?· Or did
·9· ·over to Coldwell Banker Commercial."· And they had         ·9· ·you meet Brent Smith at a different time?
10· ·not told me because I was the branch broker.· And          10· · · ·A.· · No. I didn't know Brent prior to that at
11· ·as the branch broker, I would have had an                  11· ·all.
12· ·obligation to tell my management that everybody in         12· · · ·Q.· · And have you had any sort of professional
13· ·the office was leaving.· Right?                            13· ·relationship with Brent Smith outside of Millcreek
14· · · · · · ·And so I was actually out of the loop on         14· ·Commercial?
15· ·that information.· And -- but once the folks at            15· · · ·A.· · Not outside of dealing with properties
16· ·Coldwell Banker Commercial knew that I knew, then I        16· ·that, you know, are associated with Millcreek
17· ·got a call from Kevin Long.· And he -- you know, he        17· ·Commercial, no.
18· ·apologized for everything coming as a surprise and         18· · · ·Q.· · Have you ever been associated with
19· ·that sort of thing.· I remember the story very well        19· ·Millrock Investment Fund 1 as an owner or as an
20· ·because it was quite stressful at the time.                20· ·investor?
21· · · · · · ·But that's how I met him, and then it            21· · · ·A.· · Me as an owner or investor?· No.· I have
22· ·would have been, you know, more procedural of              22· ·not.
23· ·transferring my license from Cushman & Wakefield           23· · · ·Q.· · Have you ever done work for them as a
24· ·Commerce/Northmarq over to Coldwell Banker                 24· ·sales agent or broker?
25· ·Commercial.                                                25· · · ·A.· · No.· I have not.


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·1· · · ·Q.· · Do you know who the owners of Millcreek      ·1· · · ·A.· · It's been really painful.· So in order
·2· ·Commercial are?                                        ·2· ·for me to continue working for the owners, they
·3· · · · · · ·MR. SCHULTZ:· As of right now, you mean?     ·3· ·have to pay me, and that becomes one of their
·4· · · ·Q.· · (BY MR. EVERETT)· Let me narrow it down.     ·4· ·expenses.
·5· ·Who were the owners of Millcreek Commercial at the     ·5· · · · · · ·(Reporter request for clarification.)
·6· ·time Kate Grant purchased her Naperville interest      ·6· · · · · · ·THE WITNESS:· And let me add to that if I
·7· ·in 2021?                                               ·7· ·can.· There's times when I will go several months
·8· · · ·A.· · I'm sorry.· I'm giving you this blank        ·8· ·without being compensated, and so I just keep a
·9· ·stare.                                                 ·9· ·tally of the expenses.· So in a perfect world when
10· · · · · · ·MR. SCHULTZ:· Lacks foundation.· Calls       10· ·a property is performing -- right? -- when rent was
11· ·for speculation.                                       11· ·being paid for Naperville, I was paid monthly
12· · · · · · ·MR. EVERETT:· I knew that was coming.        12· ·around the 15th of every month after rents had been
13· · · · · · ·THE WITNESS:· Do you want me to answer?      13· ·distributed.
14· · · · · · ·MR. SCHULTZ:· Yeah.· If you can.             14· · · · · · ·And once Naperville went into default,
15· · · · · · ·THE WITNESS:· Okay.· I don't -- I don't      15· ·then that became an owner expense.
16· ·honestly know, but I believe Kevin Long and Brent      16· · · ·Q.· · (BY MR. EVERETT)· And do you need to have
17· ·Smith were owners.· But I don't know if there were     17· ·a poll for owners to approve that expense?· Or
18· ·other people.                                          18· ·owner approval to approve that expense?
19· · · ·Q.· · (BY MR. EVERETT)· Okay.· And your            19· · · ·A.· · No.· Because that's part of the
20· ·interactions were primarily with Brent Smith and       20· ·contractual agreement between me and the owners.
21· ·Kevin Long?                                            21· · · ·Q.· · Okay.· And what is it 1.7 percent of if
22· · · ·A.· · Yes.· And Ileana Stucco, who's their         22· ·there's no current gross rent?
23· ·office manager/administrative assistant.· And then     23· · · ·A.· · It's still based on what the rent was
24· ·later on, John Keiter, when he became affiliated       24· ·under the lease.
25· ·with them.                                             25· · · ·Q.· · Okay.· Okay.· Have you ever invested in

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·1· · · ·Q.· · Did you ever do any work with Spencer        ·1· ·commercial real estate personally?
·2· ·Taylor or Blake McDougal?                              ·2· · · ·A.· · Yes.
·3· · · ·A.· · Not that I recall.                           ·3· · · ·Q.· · What is the nature of your investing with
·4· · · ·Q.· · Okay.                                        ·4· ·real estate?
·5· · · ·A.· · When you say "work," I may have talked       ·5· · · · · · ·MR. SCHULTZ:· Irrelevant.· Why is that
·6· ·with them on the phone.                                ·6· ·pertinent to this case?
·7· · · ·Q.· · Okay.                                        ·7· · · · · · ·MR. EVERETT:· I'm just trying to get her
·8· · · ·A.· · Like, you know, "Hello.· My name is," but    ·8· ·understanding of the market as a whole, just trying
·9· ·I didn't do any work with them.                        ·9· ·to understand her experience.
10· · · ·Q.· · Okay.· And have you ever had a role          10· · · · · · ·If he instructs you not to answer, I
11· ·within Millcreek Commercial as an owner or             11· ·can't -- I'm not going to --
12· ·employee, anything like that?                          12· · · · · · ·MR. SCHULTZ:· I'm not going to instruct
13· · · ·A.· · No.                                          13· ·her not to answer, but I don't -- are you asking
14· · · ·Q.· · Okay.· In your role as a lease               14· ·her to tell you about her personal investments?
15· ·administrator, how were you compensated as the         15· ·Because I don't think that's appropriate.
16· ·lease administrator?                                   16· · · · · · ·MR. EVERETT:· That's fair.· I'm just
17· · · ·A.· · So that's spelled out in the lease           17· ·trying to get at her experience as an investor, if
18· ·administration agreement.· And for the Naperville      18· ·she was representing investors.
19· ·property, the -- the fee, the administration fee is    19· · · · · · ·MR. SCHULTZ:· That's okay.· If you want
20· ·1.75 percent of the gross rents.                       20· ·to ask her what her experience is, that's okay.
21· · · ·Q.· · And have you been paid at all since the      21· · · · · · ·But don't get into your personal stuff.
22· ·tenants have defaulted?                                22· · · ·Q.· · (BY MR. EVERETT)· I wasn't trying to dig
23· · · ·A.· · Yes.                                         23· ·too deep.· I wasn't trying to get too personal. I
24· · · ·Q.· · How have you been paid since -- if           24· ·was just trying to understand your experience as a
25· ·there's no gross rent?                                 25· ·real estate investor as you represent investors.


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·1· ·That's kind of the -- where I'm trying to get at       ·1· ·that I'm dealing with other people's money.
·2· ·here.                                                  ·2· · · ·Q.· · And with that real estate background, do
·3· · · · · · ·So what is the nature of your investing      ·3· ·you need to have a specific type of background in
·4· ·in commercial real estate?                             ·4· ·real estate whether it's residential, commercial,
·5· · · ·A.· · That's really broad.· So I could talk for    ·5· ·other?· Is there any one that's more beneficial
·6· ·an hour.· Or I can give you bullet points.             ·6· ·than the other?
·7· · · ·Q.· · Let's do bullet points.                      ·7· · · ·A.· · I don't think so.· I think what's more
·8· · · · · · ·MR. SCHULTZ:· Don't talk for an hour.        ·8· ·important is the commitment to the clients and the
·9· · · · · · ·THE WITNESS:· So I mentioned earlier that    ·9· ·willingness to, you know -- the willingness to --
10· ·I am a CCIM.· And, you know, part of that CCIM         10· ·there's a lot of communication that has to happen
11· ·education helps you to learn how to evaluate an        11· ·with your -- with your owners.· And so it does
12· ·investment.· And so through my 28-year career, I       12· ·require -- it requires time and patience and also,
13· ·have -- you know, I've been asked to evaluate          13· ·you know, the understanding of how the -- how the
14· ·properties for real estate clients.· Sometimes I       14· ·lease works to be able to enforce it.· And then of
15· ·will see something that I like, and sometimes we       15· ·course the keeping safe of the monies.· And so I
16· ·will, you know, purchase properties.                   16· ·think you could sell homes and do the very same
17· · · ·Q.· · Great.· And have you been investing in --    17· ·thing.· I don't think you have to be a broker that
18· ·how long have you invested in real estate?             18· ·sells investment properties to do that.
19· · · ·A.· · Well, really we only bought our first        19· · · ·Q.· · And then as a broker/sales agent -- I'm
20· ·investment about three years ago.                      20· ·going to use the term "broker" just to kind of
21· · · ·Q.· · And when you say "we," who is "we"?          21· ·encompass both.
22· · · ·A.· · Me and my husband.                           22· · · ·A.· · Sure.
23· · · ·Q.· · Okay.· And you weren't invested in any       23· · · ·Q.· · Do you primarily sell commercial real
24· ·commercial real estate before that?                    24· ·estate as a broker?· Or are you involved in
25· · · ·A.· · No.· We bought houses for our kids when      25· ·residential or other areas of real estate?

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·1· ·we had extra money.                                    ·1· · · ·A.· · I do not list homes for sale.· And I will
·2· · · ·Q.· · And jumping back real quick to the lease     ·2· ·occasionally -- because one of my clients is a
·3· ·administrator, what qualifications do you have --      ·3· ·nonprofit organization that acquires residential
·4· ·do you need to have to be a lease administrator?       ·4· ·properties for housing for seniors, low income,
·5· · · ·A.· · That's a really good question, because       ·5· ·voucher based, homeless housing, permanent
·6· ·I've searched the country over and haven't found       ·6· ·supportive housing.· And so in that capacity, if I
·7· ·many other companies that do this.· And so the         ·7· ·have a client who buys that product type, then I
·8· ·qualifications -- I think the most important           ·8· ·will help them.· But I don't list homes for sale.
·9· ·qualification is honesty and integrity.· And I         ·9· · · ·Q.· · Okay.· And can you help me understand the
10· ·don't -- I don't like to toot my own horn, but I       10· ·difference between just residential and commercial
11· ·will tell you that my integrity and my sense of        11· ·real estate to your knowledge?
12· ·responsibility and fiduciary to my clients is          12· · · ·A.· · Well, I would say it's probably different
13· ·extremely important to me.· You -- you know, you       13· ·in other markets, but the way it works in Utah is
14· ·have to understand real estate in order to be able     14· ·that residential real estate agents -- and I did
15· ·to enforce the terms of the lease.· And so I think     15· ·start in residential.· When I first got my license,
16· ·it's important to have a real estate background.       16· ·I sold homes and then decided I didn't like the
17· ·There is a lot of accounting involved in it. I         17· ·drama of selling homes.· Right?· So then I made the
18· ·will be the very first one to tell you that I am       18· ·transition over to commercial real estate.
19· ·not an accountant.· And so I'm grateful for the        19· · · · · · ·In Utah, residential agents are part of
20· ·bookkeepers and the accountants who do help.           20· ·the Multiple Listing Service.· They have to be
21· · · · · · ·You know, qualifications, I would say        21· ·members of a board of real estate in order to --
22· ·it's -- I think it's very important to have a real     22· ·or, you know, like the Utah County -- Utah County
23· ·estate background.· But other than that, you are       23· ·Realtors association, Utah County board, Salt Lake
24· ·dealing with handling other people's money.· And I     24· ·County board, in order to have the MLS access.· And
25· ·am always, always, always conscious of the fact        25· ·they market their homes that they're selling on the



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·1· ·MLS.· And by doing so -- you know, the rules have          ·1· ·Earlier you testified that you did not play a role
·2· ·just changed, by the way.                                  ·2· ·in finding Advanced Care Medical as a tenant.· Is
·3· · · · · · ·But in times past, by putting it on the          ·3· ·that correct?
·4· ·MLS, it is -- it is an implicit agreement that you         ·4· · · ·A.· · That is still true, yes.
·5· ·are going to share your commission with the agent          ·5· · · ·Q.· · Okay.· Just making sure that's correct.
·6· ·that represent a buyer.· So you're the listing             ·6· ·Not still.· But just making sure that I understood
·7· ·agent.· You're going to share your commission with         ·7· ·it properly.
·8· ·the buyer.                                                 ·8· · · ·A.· · Okay.· Yes.· That's true.
·9· · · · · · ·In commercial real estate in Utah, there         ·9· · · ·Q.· · To your knowledge, who is Advanced Care
10· ·is no Multiple Listing Service.· And so the                10· ·Medical or who was Advanced Care Medical?
11· ·marketing vehicles for how you market your                 11· · · ·A.· · So I'm going off memory here, so I may
12· ·properties is very different.· It's a different            12· ·not get the words exactly right, but Advanced Care
13· ·skill set, I would say.· It's not to say that a            13· ·Medical was somehow an entity underneath the
14· ·residential agent can't sell a commercial property.        14· ·umbrella of Health Care Solutions Management Group.
15· ·They quite often do.· But there is a different             15· ·And so I believe they had multiple different
16· ·skill set, I would say, associated with being a            16· ·divisions.· And so Advanced Care Medical was the
17· ·full-time dedicated commercial real estate broker.         17· ·group that was pursuing opening urgent care centers
18· ·And, you know, you don't have -- if you don't have         18· ·around the country.
19· ·the MLS, you don't have access to data.· And so you        19· · · ·Q.· · And were you involved at all in the
20· ·have to be much more involved in the market on a           20· ·negotiating of the lease agreement once they were
21· ·regular basis to understand the variables that are         21· ·found?
22· ·going to impact your commercial real estate that           22· · · ·A.· · No.· I actually knew nothing about them
23· ·you're working on.                                         23· ·at all until after a lease had already been signed
24· · · ·Q.· · And are there dramatic differences in            24· ·with them.· You know, if it was a build to suit
25· ·this commercial versus residential real estate as a        25· ·then, you know, the building built.· And in the

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·1· ·buyer?                                                     ·1· ·case of Naperville, I believe that it was a build
·2· · · · · · ·MR. SCHULTZ:· Vague.                             ·2· ·to suit.· But the property is already built, the
·3· · · ·Q.· · (BY MR. EVERETT)· If you were to buy a           ·3· ·lease is signed, before I come on the scene.· And
·4· ·property and you were looking as an investor, what         ·4· ·it's being sold to the investors before I come on
·5· ·are some of the key differences between commercial         ·5· ·the scene.
·6· ·and residential real estate?                               ·6· · · ·Q.· · Okay.· And when you say "build to suit,"
·7· · · · · · ·MR. SCHULTZ:· Overly broad.                      ·7· ·can you explain what that means?
·8· · · · · · ·THE WITNESS:· Every investor is                  ·8· · · ·A.· · Yes.· So that's a real estate term.· It
·9· ·different.· And, you know, there are -- just like a        ·9· ·means that you have a tenant that defines exactly
10· ·house is different than a retail strip center,             10· ·what they want.· Right?· They define what the
11· ·there's just different things that you're going to         11· ·building is going to look like.· They define the
12· ·need to know about if you're going to make good            12· ·location or the essential elements of a location
13· ·informed decisions.· Right?· And I would say it is         13· ·that meets their requirements.· And so, you know,
14· ·different.· But the skills learned in one place can        14· ·it's like you go to a custom tailor and you tell
15· ·apply to the skills that you need in the other             15· ·them what kind of suit you want.· So that's -- it
16· ·place.                                                     16· ·is a property that is built exactly to suit what
17· · · · · · ·MR. SCHULTZ:· Your wife and kids just            17· ·they request.
18· ·walked by.                                                 18· · · ·Q.· · Okay.· And do you know if any due
19· · · · · · ·MR. FELIX:· I don't know who those people        19· ·diligence was done before ACM became a tenant?
20· ·are.                                                       20· · · ·A.· · I have no idea.
21· · · ·Q.· · (BY MR. EVERETT)· Next I want to jump            21· · · ·Q.· · Okay.· Let's jump to -- let's start with
22· ·into some of the issues related to the tenants,            22· ·Exhibit-6.
23· ·Advance Care Medical and Neuragenex, the tenancies,        23· · · ·A.· · Do you want to switch books again since
24· ·or lack thereof of Neuragenex tenancy.                     24· ·this is your book?
25· · · · · · ·Let's start with Advanced Care Medical.          25· · · · · · ·(Discussion off the record.)


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·1· · · ·Q.· · (BY MR. EVERETT)· Okay.· Do you recognize    ·1· ·trying to find them obviously.· And that caused a
·2· ·this e-mail?                                           ·2· ·lot of delays because they could not serve them in
·3· · · ·A.· · Let me read it.                              ·3· ·the appropriate way.· If we could have sent them an
·4· · · ·Q.· · Go ahead.                                    ·4· ·e-mail and said, "Hey, you're served," it would
·5· · · ·A.· · I do.· Are we just looking at the first      ·5· ·have been very easy, but that's not the process.
·6· ·page?· Or --                                           ·6· · · ·Q.· · Gotcha.· And did you ever find them to
·7· · · ·Q.· · Yeah.· For now.                              ·7· ·serve them?· Were they found?
·8· · · ·A.· · Okay.                                        ·8· · · ·A.· · I believe that -- if I'm remembering
·9· · · ·Q.· · So first off, who is Cori Cozort?· Help      ·9· ·correctly, I think Cori had to get the judge to
10· ·me understand who she is.                              10· ·approve alternative service.· And, again, I'm not
11· · · ·A.· · She's an attorney in Illinois that I         11· ·an attorney, so I don't remember all the right
12· ·hired to work for the owners when Advanced Care        12· ·words to use, but she had to exhaust all other
13· ·Medical defaulted on their lease.· We needed           13· ·possibilities of how to serve them and then ask
14· ·someone to enforce the terms of the lease.· And in     14· ·that the judge approve alternative service so that
15· ·the instance of a default, you have to follow          15· ·she could serve them by e-mail.
16· ·specific procedures that are different by state.       16· · · ·Q.· · And they did eventually leave.· Is that
17· ·And so I hired Cori to help through that process.      17· ·correct?
18· · · ·Q.· · And how did you find Cori?                   18· · · ·A.· · Yes.
19· · · ·A.· · Well, I reached out to multiple law firms    19· · · ·Q.· · Okay.· Did they ever pay any of their
20· ·and asked for real estate attorneys that had           20· ·past rents that were due before they were evicted?
21· ·experience with tenant defaults.· When I reached       21· · · ·A.· · So, yes, they did.· I'm trying to recall.
22· ·Cori on the phone, we had a conversation.· She         22· ·So they -- they paid rent on schedule in September
23· ·seemed incredibly knowledgeable.· And so I asked       23· ·of '22.· In October of '22, they were late paying
24· ·her to send me an engagement proposal, and we went     24· ·rent and I served them notice, you know, via e-mail
25· ·from there.                                            25· ·that they were late.· Sent them an invoice with

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·1· · · ·Q.· · Okay.· Let's jump to Exhibit-28.· Do you     ·1· ·late fees associated with it.· Discovered that they
·2· ·recognize this document?                               ·2· ·had not paid the property taxes.· And so, you know,
·3· · · ·A.· · Yes.                                         ·3· ·started adding up all of the things that
·4· · · ·Q.· · Do you recall what this document was sent    ·4· ·contributed to their default.· Right?
·5· ·for?                                                   ·5· · · · · · ·I can't remember the exact day, but it
·6· · · ·A.· · Yes.· So I don't understand completely       ·6· ·was late October, early November.· They did send a
·7· ·the process that you have to follow in Illinois.       ·7· ·payment.· And I don't recall the amount of the
·8· ·That's why I hired an attorney.· Apparently --         ·8· ·payment, but I betcha it's in this folder
·9· ·well, she told me that the first thing you do is do    ·9· ·somewhere.
10· ·a landlord's five-day notice.· And then this is the    10· · · ·Q.· · It may be.
11· ·document that she prepared to do that.                 11· · · ·A.· · But they did make a payment.· And I
12· · · ·Q.· · And was the process of evicting Advance      12· ·asked -- I asked Cori Cozort if we accepted the
13· ·Care Medical difficult?                                13· ·payment, if it did anything to give up our rights
14· · · ·A.· · Yes.                                         14· ·as a landlord in pursuing them for their defaults.
15· · · ·Q.· · Did they leave the premises after            15· ·And she said, no, that the amount was not
16· ·receiving this notice?                                 16· ·sufficient to cover the full default.· And so,
17· · · ·A.· · I am not sure when they left the             17· ·"We'll take the check.· Thank you very much.· But
18· ·premises.· I'm not sure.                               18· ·you're still in default and we're still pursuing
19· · · ·Q.· · What other issues did you face when          19· ·eviction."· So there was that -- I believe there
20· ·trying to evict Advance Care Medical?                  20· ·was that one payment.· And, again, it was late
21· · · ·A.· · The most difficult issue that we faced       21· ·October or early November of 2022.
22· ·was trying to find them so that they could be          22· · · ·Q.· · And was any action ever taken against
23· ·properly served.· They kind of went into thin air.     23· ·Advance Care Medical to try and recover the past
24· ·You know, no forwarding addresses, no responses.       24· ·due rent?
25· ·So the process servers were the ones that were         25· · · ·A.· · Yes.· So Cori went through the full


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·1· ·process of getting a judgment against them.· Then      ·1· · · ·Q.· · And -- where is it?· In the second half
·2· ·it becomes a matter of how do you collect on the       ·2· ·of the page where it says "Mary, leases, contracts,
·3· ·judgment?                                              ·3· ·business deals get renegotiated all of the time.
·4· · · ·Q.· · Okay.· So there was a judgment entered in    ·4· ·Matter of fact, Kevin does it to us on a regular
·5· ·by a Court.                                            ·5· ·basis."
·6· · · ·A.· · Yes.                                         ·6· · · · · · ·Do you know why Josh claimed that Kevin
·7· · · ·Q.· · Okay.· Let's turn to Exhibit-29.             ·7· ·renegotiated deals with them?
·8· · · ·A.· · 29?                                          ·8· · · ·A.· · No, I don't.
·9· · · ·Q.· · 29.· Yes.· Just the next one over.           ·9· · · ·Q.· · Do you know if Kevin had ever
10· · · · · · ·Have you seen this document before?          10· ·renegotiated a deal with Advance Care Medical?
11· · · ·A.· · Yes.                                         11· · · ·A.· · I don't.
12· · · ·Q.· · Okay.· Do you know what this document is?    12· · · ·Q.· · All right.· Let's go to Exhibit-31 now.
13· · · ·A.· · Yes.· It's a form -- it's a proof of         13· · · · · · ·Do you remember this conversation?
14· ·claim form for a bankruptcy court.· So, you know,      14· · · ·A.· · Let me think.
15· ·you file it to say "We are creditors and this is a     15· · · ·Q.· · You may not if you were just cc'd on it.
16· ·claim that we're making against this entity that is    16· ·You may not have been an active participant, but
17· ·in bankruptcy, because we want the money that is       17· ·reread it and let me know.
18· ·owed under this claim to be considered as part of      18· · · ·A.· · Yeah.· I see that I was copied on it, but
19· ·the bankruptcy."                                       19· ·it's -- you know, it's not in context at the
20· · · ·Q.· · And was anything ever paid pursuant to       20· ·moment.
21· ·the bankruptcy?                                        21· · · · · · ·MR. SCHULTZ:· Look at the whole thing.
22· · · ·A.· · No.                                          22· · · · · · ·THE WITNESS:· Look at the whole thing?
23· · · ·Q.· · Okay.· And then if you look here on Part     23· · · ·Q.· · (BY MR. EVERETT)· Yeah.· You can look at
24· ·1, it says "Who is the current creditor?"· It says     24· ·the whole thing if that's helpful.
25· ·"CAMS Realty LLC et al."                               25· · · ·A.· · Okay.· So this is from Josh.· Okay.· I've

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·1· · · ·A.· · Mm-hmm.                                      ·1· ·read it.
·2· · · ·Q.· · Why is CAMS Realty there as the creditor     ·2· · · ·Q.· · Okay.· First, Josh references that he's
·3· ·and not all the owners?                                ·3· ·frustrated with the situation specifically because
·4· · · ·A.· · The reason is one of convenience in that     ·4· ·of latent defects in construction.· Do you know
·5· ·if you have -- and in this case, I can't remember      ·5· ·anything about those -- what those latent defects
·6· ·the exact number of owners in Naperville, but I'm      ·6· ·were?
·7· ·thinking it's 28 -- 25, 26, 28, somewhere along in     ·7· · · ·A.· · So as I recall, there was a problem with
·8· ·there.· The line doesn't have enough room for all      ·8· ·some x-ray glass in the Naperville -- in the
·9· ·the owners' names, number one.· And because I am       ·9· ·Naperville property.· And I can't remember if it
10· ·the authorized -- you know, per the -- per the         10· ·was cracked.· I think it was cracked x-ray glass.
11· ·agreement that I have with the owners, the lease       11· · · ·Q.· · Okay.· And that was just on a piece of
12· ·administration agreement, I am authorized to act on    12· ·equipment?· Or was that part of the construction?
13· ·their behalf in these kinds of matters.· And it        13· · · ·A.· · No.· Like a -- like the glass that you
14· ·actually says that, you know, I'm authorized to        14· ·look through in the wall when somebody's getting an
15· ·hire an attorney to represent them.                    15· ·x-ray and the tech has to be able to see them.
16· · · · · · ·And so it is a -- it's a matter of           16· ·That glass.
17· ·convenience for me to fill out a form with CAMS        17· · · ·Q.· · Oh, okay.· Had ACM paid rent before this
18· ·Realty and others because I represent the owners.      18· ·e-mail?
19· · · ·Q.· · Okay.· Now let's jump to number 30. I        19· · · ·A.· · The date of the e-mail is March 24th.
20· ·might be making you relive some exchanges with         20· ·And, yes, they did pay rent prior to that.
21· ·Advance Care Medical guys here.                        21· · · ·Q.· · Okay.
22· · · ·A.· · Number 30?                                   22· · · · · · ·MR. SCHULTZ:· 2022.
23· · · ·Q.· · Number 30.· Yeah.· Do you recall -- do       23· · · · · · ·MR. EVERETT:· 2022.
24· ·you remember this exchange with Josh Constantin?       24· · · · · · ·THE WITNESS:· Yes.
25· · · ·A.· · Yes.· Unfortunately.                         25· · · ·Q.· · (BY MR. EVERETT)· Okay.· And then in the


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·1· ·e-mail above, it looks like Brent Smith sent an        ·1· · · ·A.· · Yes.
·2· ·e-mail to somebody named Manny Butera about not        ·2· · · ·Q.· · Was it the full amount of just that
·3· ·understanding why Josh thinks this is their fault.     ·3· ·month?· Or was it a -- was it a different amount
·4· ·Who is Manny Butera.· Do you know?                     ·4· ·that was -- that they had owed a few months of back
·5· · · ·A.· · Manny Butera is -- I don't know his          ·5· ·rent and they only paid a partial amount?
·6· ·title, whether he's owner, CEO -- of a company         ·6· · · ·A.· · I don't recall exactly the amount that
·7· ·called American Development Partners.· And I           ·7· ·they paid, but at that point I believe I invoiced
·8· ·believe that he was the developer for the              ·8· ·them for rent, late fee, interest penalty, and the
·9· ·Naperville building.· And I'm not sure if he was       ·9· ·property taxes that they needed to pay.· And then
10· ·developer-builder -- in other words, did he -- was     10· ·when they sent an amount, as I recall, the amount
11· ·he the general contractor on it?· I don't know         11· ·did not match the amount on my invoice, but I don't
12· ·that.· But I know he was involved with the             12· ·remember what the amounts were.
13· ·construction of the location.                          13· · · ·Q.· · Okay.· Let's turn over here in the same
14· · · ·Q.· · And do you know if he has been               14· ·exhibit.· There appears to be some sort of
15· ·continually involved with the building at all?         15· ·discussion where Josh is upset that you're
16· · · ·A.· · I don't believe he has.· Not to my           16· ·notifying some -- Doug?
17· ·knowledge.                                             17· · · ·A.· · Doug Millar?
18· · · ·Q.· · Let's turn to Exhibit-32.· It's the next     18· · · ·Q.· · Doug -- yeah.· Can you explain why Josh
19· ·one over.                                              19· ·was upset that you were communicating with Doug?
20· · · · · · ·Do you recall this communication?            20· · · ·A.· · Well, let me just say that Josh
21· · · ·A.· · Yes.                                         21· ·Constantin was a very unpleasant individual to
22· · · ·Q.· · If we start from the beginning on the        22· ·communicate with, and that's putting it lightly.
23· ·second -- third page of it -- let's see.· It looks     23· ·And so I found him very unprofessional in his
24· ·like Justin Smith appears to be saying we --           24· ·communications with me, rude.· Doug Millar was
25· · · ·A.· · Hang on.· I'm not there.                     25· ·either an employee of his or an associate or

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·1· · · ·Q.· · Yep.· Sorry.· My brain moves faster than     ·1· ·partner of his at HSH.· And Doug was generally much
·2· ·my hand sometimes.                                     ·2· ·nicer to work with.
·3· · · ·A.· · Okay.· I'm there.                            ·3· · · · · · ·I had been instructed previously to reach
·4· · · ·Q.· · So it says "Dear Mary, please accept this    ·4· ·out to Doug for items like certificates of
·5· ·letter as a response and notice that we fully          ·5· ·insurance, you know, more procedural things.· And
·6· ·intend to pay the rents."· And this coincides with     ·6· ·at some point, I decided to reach out to Doug when
·7· ·what you said earlier, around October 2022.· You       ·7· ·I could not get a satisfactory response from Josh
·8· ·said -- was it your testimony that they paid           ·8· ·Constantin.
·9· ·partial rent but never paid the full amount?· Or       ·9· · · ·Q.· · And here Josh says that -- "to stop
10· ·was it they paid partial of the defaulted amount       10· ·nickel and diming us and you won't have that
11· ·that was owed?                                         11· ·problem."· How was the Naperville property in this
12· · · ·A.· · So to answer that, let me -- let me say      12· ·case nickel and diming?
13· ·that per the terms of the lease, rent was due on       13· · · ·A.· · Late fees and interest penalties.
14· ·the 1st and late if not received within five days      14· · · ·Q.· · Okay.· And, again, Josh says that -- in
15· ·after the due date.· So for me and my                  15· ·the top here, in the final correspondence, it says
16· ·interpretation of that in enforcing the lease, that    16· ·that building agreements are always in flux and a
17· ·meant that if I didn't receive money from them         17· ·state of negotiation, especially when they are
18· ·between the 1st and the 5th, on the 6th they are       18· ·morally unconscionable to begin with.
19· ·late.· Right?· So I would have given them notice       19· · · · · · ·Again, had Kevin or Brent or anyone
20· ·that, "You are late paying your rent."· And this is    20· ·renegotiated anything with Josh Constantin?
21· ·him responding that they intend to pay it.             21· · · ·A.· · No.· Not that I'm aware of.· I would say
22· · · · · · ·And then you asked a separate question       22· ·that my primary -- you know, I indicated he was
23· ·about --                                               23· ·very difficult to communicate with.
24· · · ·Q.· · Yeah.· So you had testified that they        24· · · ·Q.· · Mm-hmm.
25· ·paid something.                                        25· · · ·A.· · I'm a very matter-of-fact person.· And


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·1· ·when in doubt, what does the contract say is the       ·1· ·have to honor a contract that he signed.· If he had
·2· ·guiding principle for me.· So when I send him an       ·2· ·a problem with that contract, he shouldn't have
·3· ·invoice that includes late fees and interest           ·3· ·signed it in the beginning.· Right?
·4· ·penalties, it's not intended to be a personal          ·4· · · · · · ·So I felt like in my interactions with
·5· ·insult.· It's -- you know, it is a matter of fact      ·5· ·him, that he -- he felt like the rules did not
·6· ·that you owe these things.                             ·6· ·apply to him.· So I assume this is just another
·7· · · · · · ·He repeatedly said to me, "I don't pay       ·7· ·example of that.
·8· ·late fees."                                            ·8· · · ·Q.· · (BY MR. EVERETT)· Okay.· Let's jump to,
·9· · · · · · ·And I repeatedly responded, "Your lease      ·9· ·now, Exhibit-36.· I'm sorry.· 35.
10· ·says you do."· And that was kind of the                10· · · ·A.· · 35?
11· ·characteristic of the conversations that we would      11· · · ·Q.· · 35.· I'm sorry.· Okay.
12· ·have.                                                  12· · · · · · ·Do you recall this e-mail exchange?
13· · · · · · ·And I -- I don't remember -- you know I      13· · · ·A.· · I don't -- you know, I don't remember
14· ·don't remember what was going on the day that we       14· ·having it, but it looks like something -- I mean,
15· ·were having this exchange, but Josh Constantin         15· ·I'm copied on it, so I had this conversation.
16· ·seemed to live in a world where you don't honor        16· · · ·Q.· · Down at the bottom, Josh says "Mary,
17· ·your contractual obligations.· And I -- that's         17· ·knock it off.· There are latent defects in
18· ·what -- I mean, that's what he's implying here.· He    18· ·construction."· This is a different e-mail about
19· ·wanted me to just change the lease.· And at some       19· ·latent defects, but he then --
20· ·point, I said, "I can't do that.· That's not           20· · · · · · ·(Reporter request for clarification.)
21· ·possible.· This is a contract that you signed."        21· · · ·Q.· · (BY MR. EVERETT)· "There are latent
22· ·So...                                                  22· ·defects in construction, which prevents HSMD from
23· · · ·Q.· · Okay.· And he references a morally           23· ·paying rent."· And then he continues by stating
24· ·unconscionable contract.· My -- I don't know what      24· ·"CAMS is nothing more than a shill for Millcreek
25· ·he may be referring to.· Do you know of any terms      25· ·and we all know it."

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·1· ·in the agreement that were different than what         ·1· · · · · · ·Do you have any reason to know why he
·2· ·might be -- that might -- do you know of any terms     ·2· ·would be saying something like that?
·3· ·in the lease with ACM that might be different than     ·3· · · · · · ·MR. SCHULTZ:· Speculation.
·4· ·other comparable leases?                               ·4· · · · · · ·But you can answer.
·5· · · · · · ·MS. WINDHAM:· Objection.· Foundation.        ·5· · · · · · ·THE WITNESS:· Okay.· Because he was an
·6· ·Form.                                                  ·6· ·ornery individual who wanted to bully people.· And
·7· · · · · · ·MR. BURGE:· Objection.· Vague.· Form.        ·7· ·for some reason, in his head, he did not understand
·8· ·Foundation.                                            ·8· ·that I worked for the owners.
·9· · · · · · ·MR. SCHULTZ:· Objection.· Vague.· Overly     ·9· · · · · · ·I don't know the -- you know, the -- I
10· ·broad.· Speculation.                                   10· ·don't know why he would say that other than that in
11· · · · · · ·MR. EVERETT:· That's okay.· I'm trying to    11· ·the same way that he felt that he was above the
12· ·work it in my head as I'm going.                       12· ·rules -- excuse me -- and, you know, characterized
13· · · ·Q.· · (BY MR. EVERETT)· Let me see how to          13· ·me sending him an invoice for late fees as nickel
14· ·rephrase this.· Do you know why Josh may have          14· ·and diming, for some reason he's indicating that he
15· ·thought the lease was morally unconscionable?          15· ·thinks I'm not legit.
16· · · · · · ·MR. BURGE:· Objection.· Speculation.         16· · · ·Q.· · (BY MR. EVERETT)· All right.· So once
17· ·Lack -- and -- sorry.· Foundation.                     17· ·Advance Care Medical was evicted -- we had
18· · · · · · ·MS. WINDHAM:· Same.                          18· ·discussed their eviction -- what happened to the
19· · · · · · ·THE WITNESS:· Do you want me to answer       19· ·building?
20· ·anyway?                                                20· · · ·A.· · So -- well, the building is obviously
21· · · · · · ·MR. SCHULTZ:· Yeah.· Go ahead.               21· ·vacant.· I put the utilities in my company's name
22· · · · · · ·THE WITNESS:· Because he didn't live in      22· ·and made sure we had insurance for the property,
23· ·reality land as far as I'm concerned.· Like I said,    23· ·made sure -- one of -- the very first thing I did
24· ·and as I -- you know, as I've explained, he felt       24· ·was have it rekeyed, so hired a locksmith to go out
25· ·like he was above the law.· You know?· He didn't       25· ·and secure the property, send me photos of the



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·1· ·interior of the property.· Then I arranged for         ·1· · · ·Q.· · That's okay.· Is it common for a
·2· ·utilities to be put in my company's name.· Took        ·2· ·brokerage to bring a new tenant to a commercial --
·3· ·care of the insurance.· And of course throughout       ·3· ·commercial property?
·4· ·all of this, I'm communicating with the owners         ·4· · · ·A.· · Yes.
·5· ·about what's going on, what the status is.· And,       ·5· · · ·Q.· · Okay.· When reviewing -- so let me
·6· ·you know, just general oversight of all the things     ·6· ·rephrase.· When you are assisting the owners --
·7· ·that you need to do to take care of the owners at      ·7· ·being the middleman essentially for the owners, do
·8· ·that point as well.                                    ·8· ·you assist in due diligence for a new tenant
·9· · · ·Q.· · Was there equipment left in the building     ·9· ·whether that's reviewing financial statements or
10· ·from Advance Care Medical?                             10· ·interpreting lease clauses or anything like that?
11· · · ·A.· · There was boxes of medical records.          11· ·Do you assist with that type of work?
12· ·There was office furniture.· I don't know that I       12· · · ·A.· · I do not.· On purpose do not.· So I
13· ·have an inventory of equipment.· I believe there       13· ·recommend to the owners that they have legal advice
14· ·was something called a C-arm.· But, yeah, there        14· ·to review any contracts that they're presented
15· ·was -- yes.· There were things in the building.        15· ·with.· And if they -- you know, I work at the
16· · · ·Q.· · And what happened to those things?· Do       16· ·direction of the owners.· So if the owners ask me,
17· ·you know?                                              17· ·"Well, you know, how do you know this is a good
18· · · ·A.· · I'm not 100 percent sure.· I did not -- I    18· ·tenant?"
19· ·was not involved in moving the things out of the       19· · · · · · ·I'm going say, "You know what?· I don't
20· ·building.                                              20· ·have any information.· Tell me what information you
21· · · ·Q.· · Do you know who was?                         21· ·need to be able to evaluate, and I will request
22· · · ·A.· · I believe it was Brent Smith, along with     22· ·that information."
23· ·somebody else who helped him.· But I don't             23· · · · · · ·So I'm -- again, I'm a facilitator, but I
24· ·remember.· I don't know who it was.· And I can tell    24· ·don't dig into looking at the tenants.
25· ·you that, you know, we -- I did talk on the phone      25· · · ·Q.· · Okay.· And do you do anything with

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·1· ·with Brent because medical records are protected       ·1· ·revising the lease and working with the owners to
·2· ·records under, you know, HIPAA regulations and we      ·2· ·revise provisions they want revised in the lease?
·3· ·were trying to figure out what's the right thing to    ·3· · · ·A.· · I may make a suggestion.· For example, I
·4· ·do with this kind of information?· So I attempted      ·4· ·have suggested to the owners that my preference is
·5· ·to find out.· I attempted to find out what you do      ·5· ·that a tenant pay their property taxes in
·6· ·with it in Illinois and I focused on that, but I       ·6· ·one-twelfth increments instead of just saying in
·7· ·didn't move any furniture.                             ·7· ·your lease the tenant's responsible to make sure
·8· · · ·Q.· · Okay.· So after Advanced Care Medical        ·8· ·that they're paid.· Because if you are receiving
·9· ·defaulted and was evicted and were a thing of the      ·9· ·the one-twelfth increment payments when you're
10· ·past, did you assist in finding the new tenant,        10· ·receiving rent, then if a tenant does go out
11· ·Neuragenex?                                            11· ·midterm, you've got some money that you can use to
12· · · ·A.· · No, I did not.                               12· ·pay expenses.· So I would give them that advice,
13· · · ·Q.· · Do you know who was in charge of finding     13· ·that this is my preference.· But I don't
14· ·that new tenant?                                       14· ·actually -- I'm not -- I'm not licensed to practice
15· · · ·A.· · I don't know if "in charge" is the right     15· ·law, and so I don't -- you know, I don't try to
16· ·phrase, but I do know that Millcreek Commercial        16· ·interpret the phrases in leases and contracts. I
17· ·brought Neuragenex to the owners as an option for      17· ·always recommend that they get an attorney.
18· ·reletting their building.· And at the time, there      18· · · ·Q.· · And who ultimately is responsible for
19· ·were other offers as well that the owners were         19· ·negotiating the contract?
20· ·looking at.                                            20· · · ·A.· · So in this instance, for Naperville, one
21· · · ·Q.· · Do you recall who those offers were from?    21· ·of the owners -- and I believe it was Darlene
22· · · ·A.· · I don't.· The name Edwards Health comes      22· ·Pennock -- had an attorney that she had consulted
23· ·to mind, but I'm not remembering whether that was      23· ·with.· It was her attorney she had used on multiple
24· ·at the same time as Neuragenex or after Neuragenex.    24· ·occasions.· And the owner, you know, he said, "I'll
25· ·I'm sorry.                                             25· ·do this for you for a minimal fee."



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·1· · · · · · ·And the owner said, "Let's do that."         ·1· · · · · · ·MR. SCHULTZ:· Yeah.· Answer that
·2· ·Because they were -- you know, they were paying        ·2· ·question.
·3· ·expenses for the property and tired of sending me      ·3· · · · · · ·THE WITNESS:· Okay.· Let's see.· In the
·4· ·money to be able to take care of the property.· So     ·4· ·lease agreement, there were requirements that the
·5· ·they wanted to economize to the extent that they       ·5· ·landlord had to meet in order for the property to
·6· ·could.· So they asked Darlene to have her attorney     ·6· ·be suitable for Neuragenex.· So what had to happen
·7· ·do the review.                                         ·7· ·was that the terms of the lease had to be upheld.
·8· · · · · · ·Now, when you say "negotiate the lease,"     ·8· ·Landlord had to meet their obligations, which
·9· ·the terms that were offered in the lease were          ·9· ·included doing a remodel of the property before
10· ·brought to the table by Kevin Long and Millcreek       10· ·they could take possession of it.
11· ·Commercial.                                            11· · · ·Q.· · (BY MR. EVERETT)· Okay.· And do you
12· · · ·Q.· · Okay.· And does Darlene Pennock's            12· ·recall how -- was there a capital call that was
13· ·attorney still represent the Naperville owners in      13· ·issued to remodel the property?
14· ·any issues?                                            14· · · ·A.· · Yes.
15· · · ·A.· · No.                                          15· · · ·Q.· · Do you recall the amount of that capital
16· · · ·Q.· · Okay.· Okay.· So when Neuragenex -- when     16· ·call?
17· ·the lease was being negotiated and ultimately -- I     17· · · ·A.· · I have no idea.
18· ·believe it was signed, correct?                        18· · · ·Q.· · Okay.· Do you know what happened to the
19· · · ·A.· · Yes.                                         19· ·money after Neuragenex declared bankruptcy that
20· · · ·Q.· · There was a signed lease?                    20· ·wasn't used in the capital call?
21· · · ·A.· · Yes.                                         21· · · · · · ·MR. SCHULTZ:· Assumes facts.
22· · · ·Q.· · Can you tell me what happened -- kind of     22· · · · · · ·MR. BURGE:· Objection.· Vague and assumes
23· ·a timeline from when they signed the lease to when     23· ·facts.
24· ·they declared bankruptcy?                              24· · · · · · ·THE WITNESS:· I don't know.
25· · · ·A.· · They signed a lease in late April or May,    25· · · ·Q.· · (BY MR. EVERETT)· Let's go to -- yeah,

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·1· ·I believe, of 2023.· And so April/May 2023 is when     ·1· ·let's go back to Exhibit-60 real quick.
·2· ·they signed.· The building required some               ·2· · · · · · ·(Discussion off the record.)
·3· ·renovations, so that commenced.· And then they         ·3· · · · · · ·THE WITNESS:· Okay.
·4· ·declared bankruptcy, I believe, like January of        ·4· · · ·Q.· · (BY MR. EVERETT)· Let's see here.· Let's
·5· ·2024.· Late January.· January 20th or something        ·5· ·look at response to number -- Interrogatory No. 6.
·6· ·like that of 2024.                                     ·6· ·We discussed this a little bit earlier.· But the
·7· · · ·Q.· · Okay.· And did they ever take possession     ·7· ·question is:· "Before Neuragenex could occupy the
·8· ·of the building?                                       ·8· ·property, some owners agreed to a capital call."
·9· · · ·A.· · No, they did not.                            ·9· · · · · · ·Do you know what happened to the
10· · · ·Q.· · Okay.· In order for them to occupy the       10· ·equipment after the capital call was -- after --
11· ·building, there was a capital call; is that            11· ·excuse me.· Do you know what happened to the
12· ·correct?                                               12· ·equipment that was purchased after Neuragenex
13· · · ·A.· · Yes.                                         13· ·declared bankruptcy?
14· · · ·Q.· · Do you recall the amount of that capital     14· · · · · · ·MR. SCHULTZ:· Assumes facts.
15· ·call?                                                  15· · · · · · ·MR. BURGE:· Join.
16· · · · · · ·MR. SCHULTZ:· Assumes facts.· Can you        16· · · ·Q.· · (BY MR. EVERETT)· Go ahead.
17· ·repeat your question?                                  17· · · ·A.· · I don't know.
18· · · · · · ·MR. EVERETT:· Yeah.                          18· · · ·Q.· · Okay.
19· · · ·Q.· · (BY MR. EVERETT)· In order for Neuragenex    19· · · ·A.· · I was not involved in the capital call
20· ·to occupy the building, what needed to happen          20· ·because that was an agreement between Millcreek and
21· ·before they could occupy the building?                 21· ·each individual owner.· So I stayed out of all of
22· · · ·A.· · That's a different question.· Am I good      22· ·that, and I don't have any information as to what
23· ·to go?                                                 23· ·happened.· I couldn't even tell you what the
24· · · · · · ·MR. EVERETT:· I'm trying to ask it so I      24· ·remodel was.· You know, they remodeled the
25· ·don't assume facts.                                    25· ·building, but I don't know specifics.



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·1· · · ·Q.· · Okay.· And you weren't even involved,        ·1· · · · · · ·MR. EVERETT:· I want to finish this line
·2· ·like, in polling the owners or anything like that      ·2· ·of questioning real quick and then we can do it, if
·3· ·to help get the votes?                                 ·3· ·that's okay with you guys.
·4· · · ·A.· · So I remembered I polled the owners for      ·4· · · · · · ·MR. SCHULTZ:· I thought you were done.
·5· ·the lease because I needed to -- I needed to have      ·5· · · · · · ·MR. WRIGHT:· How much longer do you
·6· ·greater than 50 percent agreement of the owners in     ·6· ·think you have left to go?
·7· ·order to be able to sign the lease.· And so the        ·7· · · · · · ·MR. EVERETT:· Let me review at lunch, and
·8· ·lease included the language -- excuse me.· Let me      ·8· ·I'll let you know.
·9· ·get a drink.                                           ·9· · · · · · ·MR. WRIGHT:· I was just thinking if you
10· · · ·Q.· · Go ahead.                                    10· ·have four minutes after lunch, we could just go
11· · · ·A.· · The lease included the language of, you      11· ·through lunch.
12· ·know, there being a requirement that there be          12· · · · · · ·MR. EVERETT:· No.· No.· We'll need lunch.
13· ·buildout and equipment.· And so I polled the owners    13· · · · · · ·THE WITNESS:· That was wishful thinking.
14· ·on whether or not they wanted to sign the lease,       14· · · · · · ·MR. EVERETT:· Here we go.
15· ·and I received greater than a majority vote.· And      15· · · · · · ·(Exhibit-63 marked.)
16· ·so I signed the lease.· But then the capital           16· · · ·Q.· · (BY MR. EVERETT)· Do you recall this
17· ·call -- where's the money going to come from to        17· ·e-mail, Mary?
18· ·remodel the building?· Right?· And so that is --       18· · · ·A.· · Yes.
19· ·you know, in order to honor the terms of the lease,    19· · · ·Q.· · Okay.· Do you recall if Millcreek had
20· ·the owners have to pay to remodel the building.        20· ·retaken any ownership in the Naperville property?
21· ·And so my understanding is that that is what the       21· · · ·A.· · Had -- sorry.
22· ·capital call was all about.                            22· · · ·Q.· · Had retaken ownership in the Naperville
23· · · ·Q.· · Okay.· And did you poll owners every --      23· ·property?
24· ·regarding the capital call specifically, whether       24· · · ·A.· · Had retaken it?· I can explain to you
25· ·they wanted to participate?                            25· ·what I understand.

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·1· · · ·A.· · I do not remember.· I honestly don't         ·1· · · ·Q.· · Please.
·2· ·remember if I did that.                                ·2· · · ·A.· · Okay.· So what I understand is that there
·3· · · ·Q.· · Okay.· And did owners ever communicate       ·3· ·were owners who did not have the money in their
·4· ·with you about the capital call?                       ·4· ·bank accounts or their -- they did not have the
·5· · · ·A.· · Yes.· And when they asked me questions       ·5· ·resources to be able to respond to the capital
·6· ·about it, I would refer them to Millcreek because I    ·6· ·call.· So they didn't have money to pay for the
·7· ·did not know the specifics.                            ·7· ·improvements that had been agreed upon in the
·8· · · ·Q.· · Do you know if after the capital call --     ·8· ·lease.· And so Millcreek had told -- I guess I
·9· ·excuse me.· Do you know if there were -- if money      ·9· ·should say Kevin Long had told owners that if they
10· ·was returned to owners after the capital call --       10· ·did not have the money to pay for their portion of
11· ·the unused amount of the capital call was returned     11· ·the capital call, that Millcreek Commercial could
12· ·to owners?                                             12· ·pay that for them in exchange for an adjustment of
13· · · · · · ·MR. BURGE:· Objection.· Assumes facts.       13· ·their percentage ownership in their deed
14· · · · · · ·MR. SCHULTZ:· Join.                          14· ·commiserate with the amount of money that was
15· · · · · · ·MR. BURGE:· Foundation.                      15· ·invested, if that makes sense.
16· · · ·Q.· · (BY MR. EVERETT)· Go ahead.                  16· · · ·Q.· · Mm-hmm.
17· · · ·A.· · I honestly don't know.                       17· · · ·A.· · That's my understanding.
18· · · ·Q.· · All right.· Let's go to Exhibit-63.· What    18· · · ·Q.· · Okay.· And was -- was Millrock an owner
19· ·time are we at?                                        19· ·of the Naperville property before the capital call?
20· · · ·A.· · Is that a separate --                        20· · · ·A.· · I don't think they were.· There are some
21· · · ·Q.· · Oh, yes.· I'm sorry.· Let me hand that to    21· ·properties where they end up with like, you know, a
22· ·you.· If we go maybe 15 more minutes and then do       22· ·remainder of like a half a percent interest that
23· ·lunch.                                                 23· ·they don't sell or can't sell.· But I don't believe
24· · · · · · ·MR. FELIX:· Or do you want to do lunch       24· ·they owned any percentage of Naperville previous to
25· ·now?                                                   25· ·this.



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·1· · · ·Q.· · And if -- if Millrock had not owned          ·1· ·other.· Sorry.
·2· ·anything in the property, I guess I'm still just       ·2· · · ·Q.· · That's okay.· I just want to make sure
·3· ·trying to understand, aside from just being good       ·3· ·I'm clear, that I understand who the filing party
·4· ·sales agents or broker trying to -- why were Kevin     ·4· ·was.
·5· ·and Brent still involved with the property if they     ·5· · · ·A.· · Right.· And I apologize.
·6· ·had no longer had any ownership?                       ·6· · · ·Q.· · That's okay.· Okay.· In the -- let's see.
·7· · · ·A.· · I'm waiting for the objections.              ·7· ·I'm going to jump a little bit.· Let's jump to
·8· · · · · · ·THE WITNESS:· None?                          ·8· ·Exhibit- -- yeah.· Let's go to Exhibit- -- I
·9· · · · · · ·MR. BURGE:· Foundation.                      ·9· ·believe it's Exhibit-10.· Let me double-check.
10· · · · · · ·MR. SCHULTZ:· Foundation.· Speculation.      10· ·Yeah.· Let's jump to Exhibit-10.· And we'll come
11· · · ·Q.· · (BY MR. EVERETT)· Do you know why?           11· ·back to this after lunch a little bit, but I have a
12· · · ·A.· · I don't specifically know why.· I can --     12· ·couple questions related to ACM and Neuragenex.
13· ·I can tell you that I believe that their               13· ·Specifically the total amount of rent that would be
14· ·involvement was in an effort to try to continue to     14· ·paid per year.· If you turn to the second page, it
15· ·support the people who had purchased investment        15· ·says "DEF 000303."· It gives a table of gross rent
16· ·properties from them.· My sincere impression of        16· ·for the property.· Do you know how the value of the
17· ·them is that they were trying to do the right          17· ·monthly rent is calculated?
18· ·thing, and they were trying to provide solutions in    18· · · · · · ·MR. BURGE:· Objection.· Foundation.
19· ·a difficult situation.                                 19· ·Speculation.
20· · · ·Q.· · Let's jump to Exhibit-43 now.· That          20· · · · · · ·MR. SCHULTZ:· Foundation.· You mean in
21· ·should be in your binder.· Is this a poll that you     21· ·this specific instance?
22· ·created?                                               22· · · · · · ·MR. EVERETT:· Not in this specific case.
23· · · ·A.· · It doesn't look like I created this.         23· ·But just generally with -- with specifically -- it
24· · · ·Q.· · Looks like it may have been by John          24· ·will be 10 and 11, because both of them show -- I
25· ·Keiter.                                                25· ·guess 11 doesn't show a rent amount.

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·1· · · ·A.· · Right.· Yeah.· This is not me.               ·1· · · ·Q.· · (BY MR. EVERETT)· But I'm curious of
·2· · · ·Q.· · Okay.· Is this similar to the types of       ·2· ·how -- how the number for rent is calculated.· Do
·3· ·polls that you created for the Naperville owners?      ·3· ·you know how that's calculated?
·4· · · ·A.· · It's a Google poll, so, yes, it works the    ·4· · · ·A.· · Are you referring specifically to this
·5· ·same way.· I haven't read the questions.· But, you     ·5· ·rent?
·6· ·know, it looks similar.                                ·6· · · ·Q.· · Yeah.· Let's do for this rent and then
·7· · · ·Q.· · Okay.· Has -- along with this Neuragenex     ·7· ·just kind of as a general principle in real estate
·8· ·tenancy, has Millcreek -- excuse me.· Have the         ·8· ·in your experience as a broker.
·9· ·Naperville owners made any claim against Neuragenex    ·9· · · · · · ·MR. SCHULTZ:· Lacks foundation as to
10· ·to try and recover for lost rent or any other          10· ·this.
11· ·breach of agreement, breach of their contract?         11· · · · · · ·MR. BURGE:· Form and vague.· I said
12· · · ·A.· · Okay.· I'm trying to think this one          12· ·vague.
13· ·through.· No.· Not directly.· So Millcreek             13· · · · · · ·MR. EVERETT:· You guys are good.
14· ·Commercial did file documents in the bankruptcy        14· · · · · · ·MR. SCHULTZ:· I agree.· Vague.· And I
15· ·court representing the properties that Neuragenex      15· ·also -- lacks foundation as to the specifics of
16· ·defaulted on their leases for that they had been       16· ·this lease that we're talking about here in
17· ·involved with.· So if they -- if they had helped       17· ·Naperville.
18· ·negotiate a lease with Neuragenex and then             18· · · · · · ·But you can answer.
19· ·Neuragenex filed for bankruptcy, Millcreek filed       19· · · · · · ·THE WITNESS:· So I don't know relative to
20· ·the appropriate paperwork with the bankruptcy court    20· ·this rent table.· I wasn't involved in any of the
21· ·in order to represent the amounts owed to the          21· ·negotiations with -- with Advance Care Medical,
22· ·owners as a result of their default on their lease.    22· ·HSH, or Neuragenex in terms of determining what the
23· · · ·Q.· · Okay.· So it was Millcreek that filed?       23· ·rent rate was going to be.· So I don't know what
24· ·Or was it Millrock that filed?                         24· ·process they employed to do this.
25· · · ·A.· · Okay.· I don't know.· It was one or the      25· · · ·Q.· · (BY MR. EVERETT)· Generally as a broker,


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·1· ·how would you calculate rent?                          ·1· · · · · · ·THE WITNESS:· This doesn't look like
·2· · · ·A.· · That is really a broad question.· So I       ·2· ·something I created.· I'm not sure if I did.· So
·3· ·can say that for an investment property, what we       ·3· ·let me look at it for a minute.
·4· ·would typically look at is the cost of                 ·4· · · · · · ·I'd say that, you know, at first glance,
·5· ·construction -- cost of acquisition, cost of           ·5· ·a lot of these --
·6· ·construction, developer fee, the profit that needs     ·6· · · · · · ·MR. SCHULTZ:· Listen for his question.
·7· ·to go into it, and then apply a cap rate to that       ·7· · · · · · ·THE WITNESS:· What is your question
·8· ·number, you know, the total cost of creating it.       ·8· ·again?
·9· ·Right?· And then based on what the prevailing cap      ·9· · · ·Q.· · (BY MR. EVERETT)· Is the rent per square
10· ·rates are in the market at the time and the            10· ·foot in Naperville comparable to the surrounding
11· ·strength of the credit or the strength of -- credit    11· ·area?· Do you know if it is comparable?
12· ·strength of the tenant, you would arrive at an         12· · · · · · ·MR. BURGE:· Same objections.
13· ·appropriate cap rate.· The cap rate applied to the     13· · · · · · ·MS. WINDHAM:· Join.
14· ·cost of construction/acquisition determines your       14· · · · · · ·MR. KEITER:· Join.
15· ·rent.                                                  15· · · · · · ·MR. WRIGHT:· Join.
16· · · ·Q.· · Okay.· Let's look at Exhibit-25 quickly.     16· · · · · · ·MR. SCHULTZ:· Join.
17· ·Do you know what this document is?                     17· · · · · · ·(Reporter request for clarification.)
18· · · ·A.· · It's a CoStar report.                        18· · · · · · ·THE WITNESS:· So answer?
19· · · ·Q.· · And what is a CoStar report?                 19· · · · · · ·MR. SCHULTZ:· Yeah.· Define "surrounding
20· · · ·A.· · CoStar is a software, is a service that      20· ·area."· Naperville is a suburb of Chicago.· And
21· ·is -- it's used nationwide.· I'm not sure if           21· ·it's kind of a sprawling area.· So I would imagine
22· ·they're international.· But in Utah specifically --    22· ·rents would be higher in downtown Chicago than they
23· ·I'll speak to that since I'm most familiar with        23· ·are in other -- in the suburbs.
24· ·Utah -- CoStar provides a platform for commercial      24· · · ·Q.· · (BY MR. EVERETT)· Okay.· If you were to
25· ·real estate brokerages to market their properties      25· ·value this property as a broker -- let me rephrase

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·1· ·to other brokers.· It is as close to being a           ·1· ·that.
·2· ·Multiple Listing Service as we get in the              ·2· · · · · · ·If you were to begin negotiating a lease
·3· ·commercial world.· And when you are a subscriber to    ·3· ·and looking to the rents, what areas would you look
·4· ·CoStar, you have the ability to query the database     ·4· ·for specifically -- what geographical area -- what
·5· ·for the -- for listings, and you can change the        ·5· ·surrounding areas would you look to to have a
·6· ·parameters, you know, of what you're querying for.     ·6· ·comparable rate?
·7· ·Am I looking for warehouse?· Am I looking for          ·7· · · · · · ·MR. BURGE:· I'll object on the basis of
·8· ·office?                                                ·8· ·vague.
·9· · · · · · ·And I can't tell -- you can also look at     ·9· · · · · · ·MR. SCHULTZ:· I join.· And foundation.
10· ·what -- at comparables.· And so in this market, we     10· ·Calls for speculation.
11· ·do not share data with CoStar.· Some markets do.       11· · · ·Q.· · (BY MR. EVERETT)· I guess what I'm trying
12· ·And so you can use CoStar as a vehicle to see what     12· ·to get at is I'm trying to understand just the
13· ·other things have sold for or leased for.· So it       13· ·process that you would go through if you were
14· ·provides -- in this market specifically, it            14· ·trying to come up with a number for rent based on
15· ·provides a database of availables.· And in some        15· ·comparable properties in the area.
16· ·markets around the country, it's also a database of    16· · · · · · ·So if you were -- if you were the broker
17· ·sold data or lease data.                               17· ·in that area or the agent in that area, how would
18· · · ·Q.· · Okay.· If you turn over to the second        18· ·you -- how would you find the comparable buildings?
19· ·page here on Exhibit-25, it looks -- it appears to     19· ·What would you look for for comparable properties?
20· ·me that this is a list of comparable buildings.· Do    20· · · · · · ·MR. BURGE:· Same objections.· And I'll
21· ·you know if the rental per square foot price in        21· ·add also incomplete hypothetical.
22· ·Naperville is comparable to those in the               22· · · · · · ·MR. SCHULTZ:· And lacks foundation. I
23· ·surrounding areas?                                     23· ·join.· And assumes facts.
24· · · · · · ·MR. BURGE:· Objection.· Foundation.          24· · · · · · ·THE WITNESS:· Do you want me to say
25· · · · · · ·MR. SCHULTZ:· Foundation.                    25· ·anything?



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·1· · · · · · ·MR. SCHULTZ:· Yeah.· I'm not telling you     ·1· ·of money once you've negotiated the deal and
·2· ·not to answer.                                         ·2· ·closed.· Right?
·3· · · ·Q.· · (BY MR. EVERETT)· Sorry.· I'm trying         ·3· · · · · · ·And so people say, "I've had offered for
·4· ·to -- it's one of those questions that's coming to     ·4· ·$2 million all the time."
·5· ·me now.· I didn't prepare for -- I'm trying to work    ·5· · · · · · ·And I say, "Well, did it close?"
·6· ·through it.                                            ·6· · · · · · ·"No."
·7· · · · · · ·MR. SCHULTZ:· Let me just ask you.· Are      ·7· · · · · · ·Okay.· Well, then it's not a comp.
·8· ·you asking her to opine on the -- how you would go     ·8· ·Right?· But that's the general process.
·9· ·about determining a lease rate in Naperville?          ·9· · · ·Q.· · Okay.· I appreciate that.
10· · · · · · ·MR. EVERETT:· Yes.                           10· · · · · · ·MR. EVERETT:· Okay.· I think we can take
11· · · · · · ·MR. SCHULTZ:· Okay.· I don't think she       11· ·a break for lunch if you guys are okay with that.
12· ·has the background.· But I'll just say lacks           12· ·Come back in an hour.
13· ·foundation.                                            13· · · · · · ·(Off the record from 12:06 p.m. to
14· · · · · · ·MR. WRIGHT:· Are you objecting to your       14· ·1:05 p.m.)
15· ·own question?                                          15· · · ·Q.· · (BY MR. EVERETT)· All right.· Now let's
16· · · · · · ·MR. SCHULTZ:· I'm objecting to my summary    16· ·jump into -- I'd like to discuss the marketing and
17· ·of his question.                                       17· ·sale of the TIC investments.· I know you said you
18· · · · · · ·MR. BURGE:· To his characterization of       18· ·were not directly involved in this, but I just want
19· ·the question.                                          19· ·to know your understanding of how these
20· · · · · · ·MR. SCHULTZ:· But if you -- if you want      20· ·tenancy-in-common investments were marketed and
21· ·to, you can object.                                    21· ·sold.· Let's start with Exhibit-10.
22· · · · · · ·Go ahead if you can.                         22· · · · · · ·MR. SCHULTZ:· Lacks foundation.
23· · · ·Q.· · (BY MR. EVERETT)· Only if you can.           23· · · ·Q.· · (BY MR. EVERETT)· Okay.· Have you seen
24· · · ·A.· · If I were an agent in Naperville, I would    24· ·this document before?
25· ·start by looking for properties that are the most      25· · · ·A.· · Yes.

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·1· ·apples to apples that I could find.· Right? I          ·1· · · ·Q.· · Do you know what it is?
·2· ·would want properties that are similar in size,        ·2· · · ·A.· · It is a marketing flyer.
·3· ·construction, location, permitted uses.· So -- and     ·3· · · ·Q.· · And do you know how this is typically
·4· ·it is generally pretty difficult to find, you know,    ·4· ·distributed?
·5· ·an exact.· Right?· If you find an exact match          ·5· · · · · · ·MS. WINDHAM:· Object to foundation.
·6· ·somewhere, that's your best comparable.· But you       ·6· · · · · · ·MR. SCHULTZ:· Join.· Calls for
·7· ·almost never find exact matches.                       ·7· ·speculation.· Overly broad.
·8· · · · · · ·And so, you know, the process that --        ·8· · · · · · ·MR. BURGE:· Join.
·9· ·that I would use would be to try to find the things    ·9· · · · · · ·THE WITNESS:· Do you want me to answer?
10· ·that are as similar as possible.· And I may go         10· · · · · · ·MR. SCHULTZ:· Yeah.· You can answer.
11· ·outside of a geographic region to do that,             11· · · · · · ·THE WITNESS:· How this was distributed?
12· ·especially with a building that is built as an         12· ·Or how marketing materials are typically
13· ·urgent care, which this one was.· And so I may look    13· ·distributed?
14· ·for urgent cares in other geographies that are         14· · · ·Q.· · (BY MR. EVERETT)· How marketing materials
15· ·similar in order to see what rents are.· And I         15· ·are typically distributed with Millcreek -- from
16· ·would also see if the data was available on CoStar     16· ·Millcreek Commercial.
17· ·for what similar properties have rented for.           17· · · · · · ·MS. WINDHAM:· Object.· Foundation.
18· · · · · · ·And it really -- it's an art, not a          18· · · · · · ·MR. BURGE:· Same objections.
19· ·science.· If I can just say it that way, that, you     19· · · · · · ·MR. SCHULTZ:· Same objections.
20· ·know, the appraisers -- appraisers will tell you       20· · · · · · ·MR. KEITER:· Join.
21· ·your building is worth a million dollars.· Right?      21· · · ·Q.· · (BY MR. EVERETT)· Go ahead.
22· ·And as a real estate broker, I would tell you,         22· · · ·A.· · I don't know -- I don't know all the
23· ·"Your building is worth whatever somebody is           23· ·avenues that they would use to distribute it.· I do
24· ·willing to pay you for it."· And it's only -- it's     24· ·believe that they put their properties on CoStar
25· ·only worth -- you know, it's only worth that amount    25· ·because I've seen them there.



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·1· · · ·Q.· · And CoStar was the company similar to the    ·1· ·default and I asked for a copy of the bond.· That's
·2· ·MLS service?                                           ·2· ·when I saw it.
·3· · · ·A.· · It's the most -- yeah.· It's the most        ·3· · · ·Q.· · (BY MR. EVERETT)· Okay.· And the only
·4· ·similar to an MLS that you find in commercial real     ·4· ·copy of the bond that you saw was the Talisman
·5· ·estate.                                                ·5· ·bond; is that correct?
·6· · · ·Q.· · Okay.· Awesome.· Do you know how long it     ·6· · · ·A.· · Yes.
·7· ·typically takes to market and sell a property to       ·7· · · ·Q.· · Okay.· Let's go to number 11 here,
·8· ·investors?                                             ·8· ·Exhibit-11.· Do you recognize this document?
·9· · · · · · ·MR. SCHULTZ:· Calls for speculation.         ·9· · · ·A.· · I haven't seen it before.
10· ·Overly broad.                                          10· · · ·Q.· · You have not seen this one before?
11· · · · · · ·MR. WRIGHT:· Foundation as well.             11· · · ·A.· · Hm-mm.
12· · · · · · ·MR. BURGE:· Join.                            12· · · ·Q.· · Okay.· Were you involved at all with the
13· · · · · · ·MR. SCHULTZ:· Join.                          13· ·calculation of the purchase price that is listed
14· · · · · · ·THE WITNESS:· Any kind of investment         14· ·here on the second page of $7,002,492?
15· ·property?· Because, I mean, it could be quick.· It     15· · · ·A.· · No.· I'm never involved in anything that
16· ·could be a long process.                               16· ·has anything to do with the marketing or the sales
17· · · ·Q.· · (BY MR. EVERETT)· My apologies.· I should    17· ·or the development or any of those things.
18· ·have been more narrow.· As it relates to Millcreek     18· · · ·Q.· · Okay.· And do you have any knowledge of
19· ·Commercial and their sale of the tenancy-in-common     19· ·how that difference was calculated between the old
20· ·properties, do you know how long it takes on           20· ·value and the new value, from Exhibit-10 to
21· ·average to market and sell an entire property?         21· ·Exhibit-11?
22· · · ·A.· · I don't --                                   22· · · · · · ·MR. BURGE:· Foundation.
23· · · · · · ·MS. WINDHAM:· Object.· Foundation and        23· · · · · · ·MS. WINDHAM:· Same objection.
24· ·form.                                                  24· · · · · · ·THE WITNESS:· No.
25· · · · · · ·MR. BURGE:· Same.· Join.                     25· · · ·Q.· · (BY MR. EVERETT)· Do you know who was in

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·1· · · · · · ·MR. KEITER:· Join.                           ·1· ·charge of calculating that value?
·2· · · · · · ·MR. SCHULTZ:· Join.                          ·2· · · ·A.· · No.
·3· · · · · · ·MR. WRIGHT:· Join that.· And foundation.     ·3· · · ·Q.· · Do you know who sold the property to
·4· · · · · · ·MR. SCHULTZ:· And her answer was?            ·4· ·the -- to the tenancy-in-common investors?
·5· · · · · · ·THE WITNESS:· I don't know.                  ·5· · · · · · ·MR. BURGE:· Objection.· Vague.
·6· · · ·Q.· · (BY MR. EVERETT)· Okay.· Let's turn to       ·6· · · · · · ·MR. SCHULTZ:· Join.
·7· ·the -- let's look at the second page here on the --    ·7· · · · · · ·THE WITNESS:· When you say "sold," do you
·8· ·on Exhibit-10.· Up at the top where it says            ·8· ·mean who the broker was or who the owner was that
·9· ·"Property information," do you see where it says       ·9· ·sold it?
10· ·the purchase price?                                    10· · · ·Q.· · (BY MR. EVERETT)· The owner.
11· · · ·A.· · Yes.                                         11· · · ·A.· · The owner that sold it to the
12· · · ·Q.· · Do you know how that price was               12· ·tenant-in-common owners.· I don't --
13· ·calculated?                                            13· · · · · · ·MR. BURGE:· I'll object.
14· · · ·A.· · I don't.                                     14· · · · · · ·Sorry.· Before you answer.
15· · · ·Q.· · And then under "Cap rate," do you know       15· · · · · · ·Assumes facts in evidence as well, that
16· ·how they came to the percentage for the cap rate?      16· ·it was a single owner.
17· · · ·A.· · I don't.                                     17· · · · · · ·MR. KEITER:· Join.
18· · · ·Q.· · Let's turn to the next page here.· Under     18· · · · · · ·THE WITNESS:· I have never seen a
19· ·the "Tenant Of Your Dreams" section, it says that      19· ·purchase and sale agreement, so I don't know who
20· ·there was a corporate guarantee and it was insured     20· ·the person or entity was that was listed, so I
21· ·by Lloyd's of London.· Do you recall seeing any        21· ·don't know.
22· ·documents that indicated that the property was         22· · · ·Q.· · (BY MR. EVERETT)· Okay.· Here on
23· ·insured by Lloyd's of London?                          23· ·Exhibit-10, you can see that -- I'll let you get
24· · · · · · ·MS. WINDHAM:· Object to form.                24· ·there.· Going back to Exhibit-10.· There on the top
25· · · · · · ·THE WITNESS:· No.· Not until there was a     25· ·of the page prominently featured is the Colliers



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·1· ·logo.· Do you know if Millcreek was given              ·1· · · · · · ·MR. SCHULTZ:· Vague.
·2· ·permission from Colliers to use their logo?            ·2· · · · · · ·THE WITNESS:· I don't know today whether
·3· · · · · · ·MR. WRIGHT:· Objection.· Foundation.         ·3· ·or not they're doing that or not.
·4· ·Speculation.                                           ·4· · · ·Q.· · (BY MR. EVERETT)· Okay.· Do you know if
·5· · · · · · ·MR. SCHULTZ:· Same.                          ·5· ·Millcreek Commercial sells other investment
·6· · · · · · ·THE WITNESS:· I have no idea.                ·6· ·products outside of the tenancy-in-common
·7· · · ·Q.· · (BY MR. EVERETT)· Do you know -- do you      ·7· ·agreement?
·8· ·have any reason to know why they would have used       ·8· · · · · · ·MS. WINDHAM:· Object.· Foundation.
·9· ·Colliers?                                              ·9· · · · · · ·MR. SCHULTZ:· Join.
10· · · · · · ·MR. WRIGHT:· Same objection.                 10· · · · · · ·THE WITNESS:· I don't know.
11· · · · · · ·MR. SCHULTZ:· Same objection.· Calls for     11· · · ·Q.· · (BY MR. EVERETT)· Okay.· And have you
12· ·speculation also.                                      12· ·assisted with any other project that's not a
13· · · · · · ·THE WITNESS:· If I knew when this was        13· ·tenancy-in-common agreement with Millcreek
14· ·produced, if it was produced while they were           14· ·Commercial?
15· ·working at Colliers, then you are required to          15· · · ·A.· · No.
16· ·put -- the division of real estate rules require       16· · · ·Q.· · Do you know if Millcreek plays a role in
17· ·you to put on your marketing materials the name of     17· ·the day-to-day affairs of the tenancy-in-common
18· ·the brokerage that you -- that your license is         18· ·investments that they sell?
19· ·affiliated with.· So if this was created then, that    19· · · · · · ·MR. BURGE:· Objection.· Vague.
20· ·would be a reason.                                     20· · · · · · ·MR. SCHULTZ:· Join.
21· · · ·Q.· · (BY MR. EVERETT)· Okay.· And under those     21· · · · · · ·THE WITNESS:· So as it relates to
22· ·rules that you referenced, does it have to be just     22· ·Naperville?· Or as it relates to all products that
23· ·disclosed?· Or is it okay that it's put in the         23· ·they sell?
24· ·marketing materials as a prominent feature?· Do you    24· · · ·Q.· · (BY MR. EVERETT)· Right now, I'm curious
25· ·know?                                                  25· ·to all products.

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·1· · · · · · ·MR. WRIGHT:· Also object on the basis of     ·1· · · ·A.· · So no --
·2· ·foundation as to her knowledge of the rules and        ·2· · · · · · ·MR. BURGE:· Same objection and
·3· ·what's required under the rules.· Whatever rules       ·3· ·foundation.
·4· ·you're referring to.                                   ·4· · · ·Q.· · (BY MR. EVERETT)· Go ahead.
·5· · · · · · ·MR. SCHULTZ:· Vague also.                    ·5· · · ·A.· · Okay.· So, no, they're not involved in
·6· · · · · · ·Go ahead.                                    ·6· ·day-to-day operations of a lot of the properties
·7· · · · · · ·THE WITNESS:· I don't -- I don't know        ·7· ·that they sell.· Like, for example, there's a
·8· ·what the division rules say exactly, other than you    ·8· ·Dollar Tree in Jerseyville, Illinois.· And there is
·9· ·have to disclose if you are an agent, and you have     ·9· ·no involvement with that property at all.
10· ·to disclose and put the information about what         10· · · ·Q.· · Okay.· Are you involved with that
11· ·company you work for, whether you have a logo or       11· ·property as a lease administrator?
12· ·the name.· It has to be on your materials.             12· · · ·A.· · Yes.· Mm-hmm.
13· · · ·Q.· · (BY MR. EVERETT)· Okay.· Do you know if      13· · · ·Q.· · The Jerseyville?· Okay.
14· ·Millcreek ever was actually a partner or a             14· · · · · · ·Do you know if the tenancy -- do -- let
15· ·contractor with Colliers in any way?                   15· ·me rephrase that.· Do you know if the
16· · · · · · ·MR. WRIGHT:· Same objection.· Foundation.    16· ·tenant-in-common investments are marketed through
17· · · · · · ·THE WITNESS:· Independent contractor.        17· ·public channels or through private channels or to
18· · · ·Q.· · (BY MR. EVERETT)· Millcreek was?             18· ·private individuals?
19· · · ·A.· · I would assume so, because they're           19· · · · · · ·MS. WINDHAM:· Objection to foundation.
20· ·licensed agents.· And licensed agents aren't W-2       20· · · · · · ·MR. BURGE:· Vague.
21· ·employees.· They are independent contractors.          21· · · · · · ·MR. SCHULTZ:· Join.
22· · · ·Q.· · Okay.· And do you know if Millcreek          22· · · ·Q.· · (BY MR. EVERETT)· Go ahead.
23· ·Commercial is still marketing and selling              23· · · ·A.· · I forgot the question.
24· ·tenancy-in-common interests similar to these?          24· · · ·Q.· · Do you know whether --
25· · · · · · ·MR. BURGE:· Objection as to vague.           25· · · · · · ·(Record read back as follows:



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·1· · · · · · ·"Do you know if the tenancy -- do -- let     ·1· ·purchase their interest.· And it defines, you know,
·2· ·me rephrase that.· Do you know if the                  ·2· ·their responsibilities and how their ownership
·3· ·tenant-in-common investments are marketed through      ·3· ·group is going to work.· And so what 8.3 says is
·4· ·public channels or through private channels or to      ·4· ·that an owner can't sell, convey, or transfer an
·5· ·private individuals?")                                 ·5· ·owner's undivided interest in the property or seek
·6· · · · · · ·MS. WINDHAM:· Same objections.               ·6· ·a partition of the owner's undivided interest in
·7· · · · · · ·MR. SCHULTZ:· Same objections.· Lacks        ·7· ·the property unless the owner, and then in
·8· ·foundation.                                            ·8· ·parentheses, the selling owner, first offers to
·9· · · · · · ·THE WITNESS:· Public channels, private       ·9· ·sell the selling owner's undivided interest to the
10· ·channels.· I don't know what you mean by that, but     10· ·other owners under the terms of this Section 8.· So
11· ·I don't know how they market or make decisions         11· ·they have to offer it to the other owners.· If they
12· ·about how they're marketing or who they're             12· ·decide they want to sell, they have to give their
13· ·marketing to.                                          13· ·co-owners an opportunity to purchase first.
14· · · ·Q.· · (BY MR. EVERETT)· Okay.· Do you know if      14· · · ·Q.· · And specifically as it relates to
15· ·there is information available to the public           15· ·Naperville, have any owners been successful in
16· ·through a website or other means that specifically     16· ·either selling their share to another owner or to a
17· ·markets the tenancy-in-common properties?              17· ·third party?
18· · · ·A.· · I -- yes.· I believe they have a website.    18· · · · · · ·MR. BURGE:· Objection.· Assumes facts and
19· · · ·Q.· · Okay.· And do they have sales staff or       19· ·foundation.
20· ·anyone else that's calling, making private offers      20· · · · · · ·MR. KEITER:· Compound.
21· ·or trying to sell to private individuals?              21· · · ·Q.· · (BY MR. EVERETT)· All right.· Let's start
22· · · · · · ·MR. WRIGHT:· Objection as to vague as to     22· ·with just one of them.· Has any -- has any owner in
23· ·"they."                                                23· ·the Naperville property been successful at selling
24· · · · · · ·MR. SCHULTZ:· Join.                          24· ·their share to another owner?
25· · · · · · ·MR. BURGE:· I will join.                     25· · · ·A.· · No.

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·1· · · · · · ·MR. KEITER:· Join.                           ·1· · · ·Q.· · Have any of the Naperville owners been
·2· · · · · · ·THE WITNESS:· Given the fact that owners     ·2· ·successful in selling their share to a third party?
·3· ·have referenced to me that they have agents, yes.      ·3· · · ·A.· · No.
·4· ·Agents were used to sell the property.                 ·4· · · ·Q.· · Has that been attempted?
·5· · · ·Q.· · (BY MR. EVERETT)· Okay.                      ·5· · · ·A.· · I don't know.· I would know if they were
·6· · · · · · ·MR. SCHULTZ:· Can you -- I'm sorry.· Can     ·6· ·trying to sell to a co-owner.· I would not know
·7· ·I just interrupt?· When you say "they," who do you     ·7· ·necessarily if they were marketing it using an
·8· ·mean?· "They have agents."· Who are you talking        ·8· ·agent and trying to sell it outside of selling to
·9· ·about?                                                 ·9· ·an owner.
10· · · · · · ·THE WITNESS:· Millcreek.                     10· · · ·Q.· · Okay.· You already answered a bunch of
11· · · · · · ·MR. SCHULTZ:· Okay.                          11· ·the questions I had for later today, so maybe we'll
12· · · ·Q.· · (BY MR. EVERETT)· Let's jump back to         12· ·get out of here earlier today.
13· ·the -- I think it's Exhibit-7, the                     13· · · ·A.· · Good.· I have a turkey to cook.
14· ·tenancy-in-common agreement.· Let's go to Section      14· · · ·Q.· · Let's look at Exhibit-27.
15· ·8.3 and 8.4.· This is Exhibit-7.· I'll give you a      15· · · ·A.· · Oh, my gosh.· This is small.
16· ·second to look at that.                                16· · · · · · ·MR. SCHULTZ:· Here.· Can you see it
17· · · ·A.· · Mm-hmm.                                      17· ·better on mine?
18· · · ·Q.· · Are you familiar with the language in        18· · · · · · ·THE WITNESS:· It depends.
19· ·this part of the contract?                             19· · · · · · ·MR. BURGE:· I remember these documents.
20· · · ·A.· · Yes.· Yes, I am.                             20· · · ·Q.· · (BY MR. EVERETT)· So it's on the
21· · · ·Q.· · Can you explain to me how this works         21· ·second -- second half of the first page.· Where
22· ·specifically with the Naperville property regarding    22· ·Kevin is talking to Doug Millar --
23· ·the right of first offer?                              23· · · ·A.· · Mm-hmm.
24· · · ·A.· · Yes.· So, again, this is a document that     24· · · ·Q.· · -- where he says "Thank you for bringing
25· ·all of the owners enter into at the time that they     25· ·this to our attention."· But then he says "We often


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·1· ·check up on our developed properties on behalf of      ·1· · · ·Q.· · Great.· Let's go to Exhibit-13 now.· Is
·2· ·the owners."· Do you know why they do that?            ·2· ·this a document that you have seen before?
·3· · · ·A.· · No.                                          ·3· · · ·A.· · Yes.
·4· · · ·Q.· · Has Kevin and presumably Brent Smith, I      ·4· · · ·Q.· · Do you know what it is?
·5· ·believe, is also here -- have they checked up          ·5· · · ·A.· · It is the printout from what you find
·6· ·specifically on the Naperville property?               ·6· ·when you go on the county -- well, their township
·7· · · · · · ·MR. KEITER:· Objection.· Foundation.         ·7· ·website, trying -- when you're trying to learn
·8· · · · · · ·MR. BURGE:· Vague.                           ·8· ·about property taxes.
·9· · · · · · ·MR. SCHULTZ:· Vague.                         ·9· · · ·Q.· · Okay.· Down here on the bottom, it shows
10· · · · · · ·THE WITNESS:· They have told me that they    10· ·two different sales in November 1st of 2021 and
11· ·have, yes.                                             11· ·October 1st of 2021.· Do you know if that was for
12· · · ·Q.· · (BY MR. EVERETT)· Okay.                      12· ·the sale of the entire property?
13· · · ·A.· · And I conveyed that to the owners, I         13· · · ·A.· · I have no idea.
14· ·believe, too.                                          14· · · ·Q.· · Okay.· Do you have any reason to believe
15· · · ·Q.· · And do you know what Kevin and Brent were    15· ·it was for the entire property?
16· ·looking at when they visited?                          16· · · ·A.· · The amounts are too small.· So I would
17· · · ·A.· · No.· I can tell you what it was -- what      17· ·not guess that they would be for the entire
18· ·was explained to me.· So what was explained to me      18· ·property.
19· ·is if you were in a market where you have              19· · · ·Q.· · Were you involved with the Naperville
20· ·properties, it makes sense to drive and take a look    20· ·property on the -- on these dates?
21· ·at a property that you've sold or a property you're    21· · · ·A.· · I'm trying to remember.· When did I open
22· ·considering purchasing or developing.· So I think      22· ·the bank account?· Let's see.· I was -- yes. I
23· ·it was part of being in the market.                    23· ·opened the bank account for the Naperville property
24· · · ·Q.· · Okay.· Do you know if Millcreek or Kevin     24· ·in February of 2021.
25· ·or Brent received any compensation for check up, as    25· · · ·Q.· · And then do you see here under "Market

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·1· ·they say in the e-mail, on the property?               ·1· ·value" over on the right-hand side, it says
·2· · · ·A.· · They didn't from me.· I don't know if        ·2· ·"340,876"?
·3· ·anybody else would have paid them.                     ·3· · · ·A.· · Yes.· I see it.
·4· · · ·Q.· · Let's turn to Exhibit-12.                    ·4· · · ·Q.· · Would you have any knowledge of why that
·5· · · · · · ·Have you visited the Naperville property?    ·5· ·market value is so different from the value that
·6· · · ·A.· · I have not.                                  ·6· ·was advertised on the marketing materials?
·7· · · ·Q.· · Okay.· Have you seen pictures of the         ·7· · · ·A.· · No.
·8· ·completed Naperville property?                         ·8· · · ·Q.· · Okay.· All right.· We'll just read
·9· · · ·A.· · Yes.                                         ·9· ·Exhibit-15 and -- or 14 and 15 into the record.· We
10· · · ·Q.· · To your knowledge, does this represent       10· ·don't need to go over those.· Actually, we'll turn
11· ·the -- is this the Naperville property?                11· ·to 15 real quick.· I had one question here.· Do you
12· · · ·A.· · I don't know for certain.· And the reason    12· ·recognize this document?
13· ·I say that is that Naperville and another property     13· · · ·A.· · I do.
14· ·that is close by, the buildings look identical.· So    14· · · ·Q.· · What is it?
15· ·if you tell me this is Naperville, I'll believe        15· · · ·A.· · It's a tax notice.
16· ·you.                                                   16· · · ·Q.· · Do you see where it lists Millrock
17· · · ·Q.· · Okay.· And if you need to take a sift --     17· ·Investment Fund 1 as the owner of the Naperville
18· ·there's a few pictures there.· I just want to make     18· ·property?
19· ·sure that that is -- is what you believe it is.        19· · · ·A.· · Yes, I do.
20· · · · · · ·Okay.· Is there anything in there that       20· · · ·Q.· · Do you know why Millrock was listed as
21· ·would make you think that this is not Naperville?      21· ·the owner at this date, as of 2022?
22· · · ·A.· · No.· It looks like it's more likely to be    22· · · ·A.· · So I don't know why the county hasn't
23· ·Naperville because there is a fast food restaurant     23· ·updated their records yet, but it's my experience
24· ·next door to it.· So I would believe that that         24· ·that with a lot of the properties that I work with,
25· ·probably is Naperville.                                25· ·that the county is very slow to update the recorded



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·1· ·owner's name.· And I quite often have to reach out     ·1· · · ·Q.· · (BY MR. EVERETT)· Gotcha.· Okay.· Now I
·2· ·to, you know, the different counties and update the    ·2· ·want to talk about the bond, a little bit more
·3· ·mailing address for tax notices and all that sort      ·3· ·about the bond that was supposedly issued by
·4· ·of stuff.                                              ·4· ·Lloyd's of London or others.· Let's jump back to
·5· · · · · · ·So I -- I believe that this is probably a    ·5· ·Exhibit-60.· That was one of the separate documents
·6· ·case where the county has not updated their            ·6· ·we gave you this morning.· And if we have already
·7· ·records.                                               ·7· ·asked this, just let me know.
·8· · · ·Q.· · And do you know if those records have        ·8· · · · · · ·In here, you have stated that you had no
·9· ·been updated since then?                               ·9· ·firsthand knowledge of this.· Were you ever told
10· · · ·A.· · I don't remember.                            10· ·directly that Lloyd's of London had insured the
11· · · ·Q.· · Okay.· Let's jump to Exhibit-33.· Do you     11· ·property?
12· ·recall this communication with Manny Butera?           12· · · ·A.· · Was I told --
13· · · ·A.· · Yes, I do.                                   13· · · ·Q.· · Directly by anyone that Lloyd's of London
14· · · ·Q.· · Okay.· So on the third page of it that's     14· ·insured the property?
15· ·marked as DEF 005007, it looks like an e-mail from     15· · · ·A.· · I have heard that said by Kevin Long.
16· ·you to Manny saying "HSH has the Romeoville and        16· · · ·Q.· · Okay.· Did you have any reason to not
17· ·Naperville buildings insured for just over $1          17· ·believe that it was insured by Lloyd's of London?
18· ·million for each location for the property casualty    18· · · ·A.· · No.
19· ·insurance.· What is the actual replacement --          19· · · ·Q.· · Were you skeptical at all when he said
20· ·replace cost for these buildings?"                     20· ·that it was Lloyd's of London that was insuring it?
21· · · · · · ·And then Manny asks if it includes FF&E.     21· · · ·A.· · No.
22· ·Do you know what FF&E stands for?                      22· · · ·Q.· · When did you learn that Lloyd's of London
23· · · ·A.· · Furniture, fixtures, and equipment.          23· ·would not be insuring the Naperville property?
24· · · ·Q.· · Okay.· And is that under a separate          24· · · ·A.· · I would say when Advance Care Medical
25· ·policy?· Do you know?                                  25· ·defaulted and I requested a copy of the bond and it

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·1· · · ·A.· · Typically your property casualty             ·1· ·did not say "Lloyd's of London" on it, that might
·2· ·insurance is for your structure, and then a tenant     ·2· ·have been my first clue.· But I wasn't sure if
·3· ·will have a separate policy that covers all of the     ·3· ·Talisman was somehow affiliated.· So, you know, I
·4· ·things that they put inside of -- just like            ·4· ·wouldn't say that there was a specific moment when
·5· ·renter's insurance, for example.· You know, with an    ·5· ·I knew anything.· It's just, like, information kind
·6· ·apartment.                                             ·6· ·of came out.
·7· · · ·Q.· · Okay.· Awesome.· And it looks here on the    ·7· · · ·Q.· · Okay.· Do you know if Millcreek promised
·8· ·first page that Manny says "I think the structure      ·8· ·prospective investors that Lloyd's of London had
·9· ·can be replaced for 1 million" -- "1 mil." I           ·9· ·insured the property?
10· ·assume that's $1 million.                              10· · · ·A.· · I don't know other than the marketing
11· · · ·A.· · Mm-hmm.                                      11· ·materials you showed me, that it was in the
12· · · ·Q.· · Do you have any reason to believe that is    12· ·marketing materials.· But I don't know what was
13· ·not an accurate number?                                13· ·represented, like, verbally and all that sort of
14· · · ·A.· · I don't have enough information to be        14· ·stuff.
15· ·able to make that call.· That's not my world.          15· · · ·Q.· · Okay.· So you don't know what was
16· · · ·Q.· · Okay.· Do you know why Manny Butera would    16· ·represented outside of the marketing materials?
17· ·know how much it would cost to replace?                17· · · ·A.· · Correct.
18· · · · · · ·MS. WINDHAM:· Object.· Foundation.           18· · · ·Q.· · Okay.· Okay.· Let's jump to Exhibit-16
19· · · · · · ·THE WITNESS:· I believe he was the           19· ·briefly here.· Okay.· Do you recognize this
20· ·developer.· I don't know if he was the general         20· ·document?
21· ·contractor.· But I -- he was -- he was the -- what     21· · · ·A.· · Yes.
22· ·do you call it?· He was the preferred developer for    22· · · ·Q.· · Can you tell me what it is?
23· ·Health Care Solutions Management Group, of which       23· · · ·A.· · It is paperwork associated with the
24· ·Advance Care Medical is a part.· And so I thought      24· ·performance bond that was issued by Talisman. I
25· ·he would have this information.                        25· ·haven't had a chance to read all the way through



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·1· ·it.                                                    ·1· · · · · · ·THE WITNESS:· Oh, okay.· I didn't read
·2· · · ·Q.· · That's okay.· I don't think we need to       ·2· ·that far.
·3· ·dig into the specific --                               ·3· · · ·Q.· · (BY MR. EVERETT)· All right.· Let's jump
·4· · · ·A.· · That's high level of what it is.             ·4· ·to Exhibit-34.· Have you seen this document before?
·5· · · ·Q.· · I just have a few questions.· If you look    ·5· · · ·A.· · I -- yeah.· I don't recall seeing it
·6· ·there at the obligee, this name ADP - Millcreek 1      ·6· ·before.
·7· ·LLC pops up again.· Earlier you testified that you     ·7· · · ·Q.· · That's okay.· I just -- I'm asking for
·8· ·don't know who that is.· Is that correct?              ·8· ·your -- what you've seen, if you have seen it.
·9· · · ·A.· · Right.· I don't -- I don't have personal     ·9· · · ·A.· · If I've seen it, I don't remember seeing
10· ·knowledge of who that is.· Right.· Correct.            10· ·it.· It doesn't look familiar.
11· · · ·Q.· · Do you know why they would be the obligee    11· · · ·Q.· · That's okay.· Do you have -- well, I'll
12· ·under the performance bond instead of Millrock or      12· ·represent to you that this is -- the document
13· ·the owners?                                            13· ·states it's the casualty insurance -- essentially
14· · · ·A.· · Let's see.· The obligee is -- I'm not        14· ·the policy for -- between Talisman insurance
15· ·sure that I know what an obligee is.· That's the       15· ·company and Millrock Investment Fund 1.· Do you
16· ·person that's obligated?· Or the person that has --    16· ·have any knowledge of why Millrock Investment Fund
17· ·someone has obligations to?                            17· ·1 is the insured party here?
18· · · ·Q.· · Someone has obligations to.                  18· · · · · · ·MR. SCHULTZ:· Speculation.
19· · · ·A.· · Okay.· This --                               19· · · · · · ·THE WITNESS:· No, I don't.
20· · · · · · ·MR. BURGE:· I'll object that it calls for    20· · · ·Q.· · (BY MR. EVERETT)· Okay.· And on the
21· ·speculation.                                           21· ·second page here, it gives a date of the 12th day
22· · · · · · ·MR. SCHULTZ:· Yeah.· Join in that.           22· ·of August 2020.· Were you involved as a lease
23· · · · · · ·MR. KEITER:· And assumes facts.              23· ·administrator for the Millcreek Commercial
24· · · ·Q.· · (BY MR. EVERETT)· I'm just trying to         24· ·Properties at this time?
25· ·understand who ADP Millcreek 1 is.· I don't know       25· · · ·A.· · I don't believe so.

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·1· ·why they would be the party aside from --              ·1· · · ·Q.· · Okay.
·2· · · ·A.· · You can look them up in the division of      ·2· · · ·A.· · I don't recall the exact date that I
·3· ·corporations and find out who they are.· I haven't     ·3· ·started doing that, so I don't believe so.· I think
·4· ·done that.                                             ·4· ·this predates it.
·5· · · ·Q.· · That's okay.                                 ·5· · · ·Q.· · Okay.· Do you recall kind of the general
·6· · · · · · ·But you don't have any knowledge of why      ·6· ·timeline you started working with Millcreek
·7· ·they would be the party here instead of --             ·7· ·properties?
·8· · · ·A.· · Not personal knowledge, no.· I mean, I       ·8· · · ·A.· · It would have been sometime second half
·9· ·could sit here and guess, but I don't want to          ·9· ·of 2020, but I don't remember an exact date.
10· ·guess.                                                 10· · · ·Q.· · Was a claim ever made to Talisman to pay
11· · · ·Q.· · No.· We don't need you to guess.· That's     11· ·for the lost rent?
12· ·okay.                                                  12· · · · · · ·MR. SCHULTZ:· Asked and answered.
13· · · · · · ·And then under the amount, it shows          13· · · · · · ·MR. BURGE:· Join.
14· ·343,103.36.· Do you know what that amount              14· · · · · · ·THE WITNESS:· I asked Cori Cozort, the
15· ·represents?                                            15· ·attorney who represented us and the owners, to file
16· · · ·A.· · Let's see.· Issue date and amount.· No.      16· ·a claim and submit all the information that was
17· ·It doesn't tell me what that is, so I'm not sure       17· ·necessary.
18· ·what that is.                                          18· · · ·Q.· · (BY MR. EVERETT)· Okay.· And what is the
19· · · ·Q.· · Okay.                                        19· ·result of that claim?· Has it been settled?
20· · · ·A.· · Everything -- everything I know about it     20· · · ·A.· · I do not know what the result of the
21· ·is what I'm seeing right here.                         21· ·claim is.
22· · · ·Q.· · That's okay.                                 22· · · ·Q.· · Okay.· Is it still pending?· Do you know?
23· · · · · · ·MR. SCHULTZ:· I'll just say the document     23· · · ·A.· · Let's see.· So what I understand about
24· ·speaks for itself.· I think it explains right          24· ·the -- so Cori -- Cori made a claim.
25· ·there.                                                 25· · · · · · ·There were bonds for other properties as



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·1· ·well, so other attorneys made claims.· My              ·1· · · · · · ·MR. SCHULTZ:· Lacks foundation.
·2· ·understanding is that John Keiter, working on          ·2· · · · · · ·THE WITNESS:· Yeah.· I don't know.
·3· ·behalf of Millcreek Commercial -- I don't know         ·3· · · ·Q.· · (BY MR. EVERETT)· Okay.· That's all with
·4· ·whether it was Millcreek or Millrock Investment        ·4· ·that exhibit.
·5· ·Fund -- but that he has been working with counsel      ·5· · · · · · ·Do you know what type of relationship
·6· ·in Nevada, I believe, to pursue litigation to          ·6· ·Millrock Fund 1 has with Millcreek Commercial?
·7· ·enforce the terms of the bond.· And I believe          ·7· · · · · · ·MR. BURGE:· Objection.· Vague.
·8· ·that's ongoing.                                        ·8· · · · · · ·MR. SCHULTZ:· Join.
·9· · · ·Q.· · (BY MR. EVERETT)· Okay.· Do you know why     ·9· · · · · · ·THE WITNESS:· Okay.· So I'm not sure that
10· ·Talisman wouldn't pay on the bond?                     10· ·I understand it well enough to be able to explain
11· · · ·A.· · I don't.                                     11· ·it and be accurate, but Millrock Investment Fund is
12· · · ·Q.· · Okay.· Let's jump to Exhibit-18.· I just     12· ·a fund with investors that has money and they
13· ·want to see if you have ever seen this document.       13· ·acquire properties, and then Millcreek Commercial
14· ·So Exhibit-18, about halfway through, it starts        14· ·is their agent, their brokerage that markets their
15· ·Colliers-000144.                                       15· ·properties to sell them.
16· · · ·A.· · Okay.· I'm there.                            16· · · ·Q.· · (BY MR. EVERETT)· Do you know who the
17· · · ·Q.· · Okay.· Have you ever seen this document      17· ·investors are in Millrock Fund 1?
18· ·before?                                                18· · · ·A.· · I don't.
19· · · ·A.· · No.                                          19· · · ·Q.· · Do you have any relationship with
20· · · ·Q.· · Okay.· And you were never involved with      20· ·Millrock Investment Fund 1?
21· ·the -- with the creation of the -- let's see.· You     21· · · ·A.· · The only relationship I would have is if
22· ·weren't involved in creating this document at all?     22· ·they are -- if they have signed a lease and I'm
23· · · ·A.· · No.                                          23· ·administering the lease, and that -- you know.
24· · · ·Q.· · Okay.· Let's go to the second page of        24· ·Then they have assigned their lease interest to the
25· ·this document.· On the 1, 2 --                         25· ·people that I represent.· And so I -- I work with

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·1· · · ·A.· · Of this one?                                 ·1· ·them if they are involved in a contract.· Or I work
·2· · · ·Q.· · Of the -- yeah, still of the same page we    ·2· ·with them, you know, if -- well, that's it really.
·3· ·were.                                                  ·3· ·If they're involved in a contract or a lease, then
·4· · · ·A.· · So page 145?                                 ·4· ·I have reason to work with them on it.
·5· · · ·Q.· · 145.· Yes.                                   ·5· · · ·Q.· · And you're not invested in Millrock Fund
·6· · · ·A.· · Okay.                                        ·6· ·1 at all?
·7· · · ·Q.· · On the fourth bullet point down, this        ·7· · · ·A.· · No.
·8· ·states that "Colliers recognizes that as the fund      ·8· · · ·Q.· · Let's go to Exhibit-52 now.· We'll change
·9· ·manager, Kevin Long may acquire properties in          ·9· ·gears a little bit.
10· ·states where he is not licensed due to there being     10· · · · · · ·Okay.· Do you recognize this document?
11· ·no licensing requirements related to                   11· · · ·A.· · Certificate of occupancy.· I -- I can't
12· ·self-representation."                                  12· ·remember if I've ever seen it or not.
13· · · · · · ·Do you know if Kevin Long purchased          13· · · ·Q.· · Okay.· Well, I really only have one
14· ·properties in other states without being licensed,     14· ·question here.· Under where it says "owner," do you
15· ·self-represented?                                      15· ·know why CAMS Realty is listed as the owner and not
16· · · ·A.· · I don't know.                                16· ·the other owners?
17· · · ·Q.· · Okay.· Do you know if Kevin Long was         17· · · ·A.· · This relates to the Naperville property,
18· ·the -- was the broker or agent for the purchase of     18· ·and I am their authorized agent per the terms of
19· ·the Naperville property from the TIC owners?           19· ·the lease administration agreement that I have with
20· · · · · · ·MR. SCHULTZ:· Purchased from the TIC         20· ·them.· So, again, it's a matter of convenience.
21· ·owners?                                                21· ·Rather than listing 25 people that they have to
22· · · ·Q.· · (BY MR. EVERETT)· Let me rephrase that.      22· ·send out information to, I'm the collection point
23· ·When Millrock Fund 1 sold to the individual            23· ·for information for the owners.
24· ·tenant-in-common owners, did Kevin Long represent      24· · · ·Q.· · Next question, I want to ask you a little
25· ·Millrock Fund 1?· Do you know?                         25· ·bit, again, about your relationship with Kevin



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·1· ·Long.· What relationship does Kevin have with CAMS     ·1· · · ·A.· · No, I don't know.
·2· ·Realty?                                                ·2· · · ·Q.· · All right.· Let's go to Exhibit-41.
·3· · · ·A.· · None.                                        ·3· · · ·A.· · Okay.· I'm there.
·4· · · ·Q.· · None.                                        ·4· · · ·Q.· · Does this -- do you recognize this
·5· · · ·A.· · Hm-mm.                                       ·5· ·correspondence?
·6· · · ·Q.· · Okay.                                        ·6· · · ·A.· · Yes.
·7· · · · · · ·MR. SCHULTZ:· "Hm-mm" means no?              ·7· · · ·Q.· · Can you tell me what this e-mail thread
·8· · · · · · ·THE WITNESS:· Yes.· No.· Sorry.· No.         ·8· ·is about?
·9· · · ·Q.· · (BY MR. EVERETT)· That's okay.               ·9· · · ·A.· · It will take me a minute.
10· · · ·A.· · I forgot the rules.                          10· · · ·Q.· · Go ahead.
11· · · ·Q.· · Okay.· I'll ask you about a couple of the    11· · · ·A.· · I saw my name, so I know I'm involved.
12· ·other defendants in this matter and just what you      12· ·But I don't remember the details.
13· ·know about them.                                       13· · · ·Q.· · Take your time.
14· · · ·A.· · Okay.                                        14· · · ·A.· · Okay.· Are we going to go multiple pages
15· · · ·Q.· · Who is Blake McDougal?                       15· ·here?· Or are you just looking at the first page?
16· · · ·A.· · I don't really know Blake.                   16· · · · · · ·MR. SCHULTZ:· Read the whole thing.
17· · · ·Q.· · You haven't met him?· Or...                  17· · · · · · ·MR. EVERETT:· Yeah.· Let's read the whole
18· · · ·A.· · I wouldn't recognize him if I saw him on     18· ·e-mail.
19· ·the street.· I -- you know, the name is familiar,      19· · · · · · ·THE WITNESS:· Okay.· I should have
20· ·but I really don't know him.                           20· ·started at the back and read forward.· Is that the
21· · · ·Q.· · Okay.· Who is Spencer Taylor?                21· ·way to do this to understand?
22· · · ·A.· · Spencer Taylor is -- he used to be an        22· · · ·Q.· · (BY MR. EVERETT)· Whatever's easiest for
23· ·employee, I believe would be the right word, at        23· ·you.
24· ·Millcreek.· And now I believe he's an agent at a       24· · · ·A.· · To understand what the chain of
25· ·different real estate brokerage.                       25· ·communication is.

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·1· · · ·Q.· · Is he a real estate agent, broker?· Do       ·1· · · ·Q.· · Yeah.· Either way.· I've gotten so used
·2· ·you know?                                              ·2· ·to reading them backwards that I don't even think
·3· · · ·A.· · I don't know whether he's a broker or a      ·3· ·about it anymore.
·4· ·sales agent.· He's one or the other.                   ·4· · · ·A.· · Okay.· I got a sense of what we're doing
·5· · · ·Q.· · Okay.· Does he have a relationship with      ·5· ·here.
·6· ·CAMS Realty?                                           ·6· · · ·Q.· · Okay.· Here it talks about something
·7· · · ·A.· · No.                                          ·7· ·called "deed adjustments."· Do you know what
·8· · · ·Q.· · Have you ever had any sort of                ·8· ·they're referring to with "deed adjustments"?
·9· ·professional relationship outside of CAMS Realty       ·9· · · ·A.· · Yes.· So I described earlier about how
10· ·with Spencer Taylor?                                   10· ·the lease with Neuragenex included that the
11· · · ·A.· · No.                                          11· ·building would be remodeled, right?· And that there
12· · · ·Q.· · Okay.· Do you have any other duties          12· ·was money that would need to be spent by the owners
13· ·related to the Naperville property outside of your     13· ·in order to remodel the building.· And that -- I'm
14· ·lease agreement duties?                                14· ·going to get them -- I'm going to get it
15· · · · · · ·MR. BURGE:· Objection.· Vague.               15· ·confused -- Millcreek or Millrock, one or the
16· · · · · · ·MR. SCHULTZ:· Join.                          16· ·other, had told the owners that if they did not --
17· · · · · · ·THE WITNESS:· No.                            17· ·it would have been Kevin acting in whatever
18· · · ·Q.· · (BY MR. EVERETT)· Are you licensed as a      18· ·capacity.· But he told the owners that if they
19· ·real estate agent or broker in Illinois?               19· ·could not afford to pay their portion of the
20· · · ·A.· · No.                                          20· ·expense of remodeling the building, that Millcreek
21· · · ·Q.· · Do you know if anyone at Millcreek is        21· ·could pay that for them in exchange for an
22· ·licensed in Illinois as a real estate agent or         22· ·adjustment of the deed of ownership.· So, you know,
23· ·broker?                                                23· ·there's more money going in.· And so now you don't
24· · · ·A.· · No, I don't know.                            24· ·own 20 percent.· You own 19 percent.
25· · · ·Q.· · Or do you know if anyone at Millrock is?     25· · · ·Q.· · Mm-hmm.· That makes sense.


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·1· · · · · · ·Were you involved with calculating those       ·1· · · · · · ·MR. SCHULTZ:· Speculation.
·2· ·deed adjustments?                                        ·2· · · · · · ·MR. BURGE:· Join.
·3· · · ·A.· · I was not.                                     ·3· · · · · · ·THE WITNESS:· Yeah.· I don't know.
·4· · · ·Q.· · Were you involved with polling or              ·4· · · ·Q.· · (BY MR. EVERETT)· Okay.· We're just going
·5· ·collecting -- let me just rephrase that.                 ·5· ·to enter these into the record.· Exhibit-61.
·6· · · · · · ·Were you involved with polling for the         ·6· · · · · · ·(Exhibit-61 marked.)
·7· ·deed adjustments to get the owners' votes?               ·7· · · ·Q.· · (BY MR. EVERETT)· These were news
·8· · · · · · ·MR. SCHULTZ:· Asked and answered.              ·8· ·releases issued by Colliers regarding the Street
·9· · · · · · ·THE WITNESS:· No, I wasn't.                    ·9· ·Team.
10· · · ·Q.· · (BY MR. EVERETT)· Were you involved at         10· · · ·A.· · Mm-hmm.
11· ·all with the collection of money for the capital         11· · · ·Q.· · Can you remind me to the extent you have
12· ·call?                                                    12· ·not already explained what your role was at
13· · · · · · ·MR. SCHULTZ:· Asked and answered.              13· ·Colliers International?
14· · · · · · ·THE WITNESS:· No, I was not.                   14· · · ·A.· · Yes.· I was an associate broker.
15· · · ·Q.· · (BY MR. EVERETT)· Okay.· Let's go to           15· · · ·Q.· · Okay.
16· ·Exhibit-45.· Correction.· 46.· Sorry.                    16· · · ·A.· · And the Street Team refers to me and my
17· · · · · · ·Have you been involved at all with the         17· ·husband.· So sometime around 2016, my husband had
18· ·updates related to the Talisman bond lawsuit?            18· ·had a long, successful career in the software
19· · · ·A.· · I request updates because owners ask me        19· ·industry, was working for a startup.· I was making
20· ·what's going on.· So, yes, I do ask for updates.         20· ·more money than he was, so he decided he would go
21· · · ·Q.· · In this e-mail, John Keiter states             21· ·into real estate.· And so we started working
22· ·that -- I believe they're beginning discovery and        22· ·together as a team.· And so, you know, the Street
23· ·requesting interrogatories.· Do you know if              23· ·Team Is Bill and Mary Street.· And then we hired an
24· ·discovery requests and interrogatories were ever         24· ·assistant, Amber Sheldon.· And Nic Woods is our
25· ·responded to in the Talisman matter?                     25· ·son-in-law.· And we trained him how to be a real

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·1· · · ·A.· · I don't know personally.· I believe that       ·1· ·estate agent.
·2· ·they have been.                                          ·2· · · ·Q.· · And here it says that you were executive
·3· · · ·Q.· · Okay.· Have the owners of the property         ·3· ·vice president at Colliers international.· You said
·4· ·been given access to those?                              ·4· ·you were a principal broker.· Is there a difference
·5· · · ·A.· · I don't know.                                  ·5· ·between those two things?
·6· · · ·Q.· · Okay.· Let's go to Exhibit-47 now.             ·6· · · ·A.· · I was an associate broker.· Yeah.· I was
·7· · · · · · ·Okay.· I represent to you that this            ·7· ·never the principal broker.· And titles in real
·8· ·appears to be a text thread between Kate Grant and       ·8· ·estate companies are like, you know -- they mean
·9· ·Ileana -- is it Stucco?· Stucco?· One of the two?        ·9· ·nothing really as far as I'm concerned.· I could
10· · · ·A.· · It's Argentinian.· I don't know.· Stucco.      10· ·have called myself, you know, a -- the czar of Utah
11· · · ·Q.· · Stucco?                                        11· ·County.· It just -- it's a name on a -- it's a
12· · · ·A.· · Stucco.· That sounds right.· Or Uruguay.       12· ·title on a business card.
13· ·Sorry.· Uruguay.                                         13· · · ·Q.· · Okay.· We'll enter Exhibit-62 into the
14· · · ·Q.· · Both are fine.                                 14· ·record.
15· · · · · · ·So here it states that she is acting froml     15· · · · · · ·(Exhibit-62 marked.)
16· ·Millcreek Commercial regarding the deed                  16· · · ·Q.· · (BY MR. EVERETT)· Okay.· Have you seen
17· ·adjustments.· Do you know if Ileana is an employee       17· ·this document before?
18· ·at Millcreek Commercial?                                 18· · · ·A.· · Yes, I have.
19· · · ·A.· · I believe she is.· She works there.            19· · · ·Q.· · Do you know what it is?
20· · · ·Q.· · Do you know if she is also employed with       20· · · ·A.· · Mm-hmm.· I do.
21· ·Millrock Investment Fund 1?                              21· · · ·Q.· · Can you tell me what it is?
22· · · ·A.· · I don't know.                                  22· · · ·A.· · It is my answer to an amended complaint.
23· · · ·Q.· · Do you have any reason to know why she         23· · · ·Q.· · Perfect.· I specifically want to ask you
24· ·would be reaching out to Kate Grant to do the deed       24· ·about -- on page 13.· And to give you some context,
25· ·adjustments instead of Kevin or Brent?                   25· ·these are referring to specific sections in the


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·1· ·complaint, which is Exhibit-1.                         ·1· · · · · · ·What is your understanding of what
·2· · · ·A.· · Okay.· I'm there.                            ·2· ·constitutes actions by a broker, by a real estate
·3· · · ·Q.· · So let's --                                  ·3· ·broker in Illinois?
·4· · · ·A.· · Do I need Exhibit-1 to refer to?             ·4· · · · · · ·MR. BURGE:· Objection.· Foundation.
·5· · · ·Q.· · Yeah.· Let's look at Exhibit-1 to refer      ·5· · · · · · ·MR. SCHULTZ:· Foundation.· Calls for a
·6· ·back to so we can understand what we're referring      ·6· ·legal conclusion.
·7· ·to here.· And that is on Exhibit-1, page -- let's      ·7· · · · · · ·MS. WINDHAM:· Join.
·8· ·see -- referencing -- it's on page 35, referencing     ·8· · · · · · ·THE WITNESS:· I wasn't selling or leasing
·9· ·paragraph 235, 237, and 238.                           ·9· ·real estate in Illinois.
10· · · ·A.· · Page 35.· Which paragraphs again?            10· · · ·Q.· · (BY MR. EVERETT)· Did you obtain a legal
11· · · ·Q.· · 235, 237, and 238.                           11· ·opinion before acting as the lease administrator in
12· · · ·A.· · Okay.· I'm there.                            12· ·Illinois?
13· · · ·Q.· · Okay.· So let's -- first let's read          13· · · · · · ·MR. BURGE:· Objection.· Assumes facts.
14· ·paragraph 235, which states "In or about early         14· · · · · · ·MR. SCHULTZ:· Join.
15· ·October 2022, the TIC owners of the Naperville         15· · · · · · ·THE WITNESS:· No.
16· ·property, including plaintiffs, were informed by       16· · · ·Q.· · (BY MR. EVERETT)· Okay.· That's all I
17· ·the self-proclaimed lease administrator (Mary          17· ·want to know on that one.· I just have a few final
18· ·Street of Mountain West Commercial Real Estate)        18· ·follow-ups here.
19· ·that the tenant at the Naperville property had         19· · · · · · ·So I want to go back to your -- how
20· ·defaulted."                                            20· ·you're compensated as a lease administrator.· Did
21· · · · · · ·And in your answer, you say that you         21· ·Millcreek ever directly pay you as the lease
22· ·"admits that CAMS Realty, a contract service           22· ·administrator?
23· ·provider for the owners, informed the owners that      23· · · ·A.· · Only if Millcreek is an owner in a
24· ·the tenant had defaulted and otherwise denies, and     24· ·property that has gone into default and they are
25· ·denies that there was anything 'self-proclaimed'       25· ·paying their share of expenses and my fee would be

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·1· ·involved."                                             ·1· ·part of the expenses, then the answer is yes.· As
·2· · · · · · ·I want to understand, were -- how were       ·2· ·an owner in that property -- and this has happened
·3· ·you selected as the lease administrator over anyone    ·3· ·in the case of Naperville.
·4· ·else?· Was it a role you applied for?· Or how did      ·4· · · ·Q.· · Millcreek was an owner in Naperville?
·5· ·you come to get that role?                             ·5· · · ·A.· · Okay.· Don't get me started here.
·6· · · ·A.· · My --                                        ·6· ·Millcreek, Millrock.· You know, it's one or -- it's
·7· · · · · · ·MR. SCHULTZ:· Asked and answered.            ·7· ·one or the other.· I don't -- I can't remember who
·8· · · · · · ·Go ahead.                                    ·8· ·takes title.· But -- but the general entities that
·9· · · · · · ·THE WITNESS:· Okay.· My understanding is     ·9· ·you're talking about, the owner in Naperville, if
10· ·that Millcreek interviewed another company.· I put     10· ·they own and there's an expense, they pay their
11· ·a proposal together and I was selected.                11· ·share.
12· · · ·Q.· · (BY MR. EVERETT)· Okay.· So did Kevin        12· · · ·Q.· · Okay.· Has -- have you been approached by
13· ·Long come to you with the offer?· Or you submitted     13· ·the Securities and Exchange Commission or
14· ·a proposal?                                            14· ·department of justice related to these cases?
15· · · ·A.· · On Naperville?· I don't remember.            15· · · ·A.· · No.
16· · · ·Q.· · Okay.· Then let's look at 237.· It says      16· · · ·Q.· · Have they called you?
17· ·"Street knew or should have known the actions in       17· · · ·A.· · No, they haven't.
18· ·236 were not permitted under Illinois law."· And       18· · · · · · ·MR. EVERETT:· Those are all the questions
19· ·your response states that you deny paragraph 236,      19· ·I have.
20· ·which claims that you acted as a -- which alleges      20· · · · · · ·MR. WRIGHT:· I've just got really
21· ·that you acted as a real estate broker in Illinois     21· ·short -- probably just a couple hours.· Just
22· ·without a license.· Can you help me understand your    22· ·kidding.· Just three or four minutes for me.· Do
23· ·understanding of how your actions in Illinois do       23· ·you have some?
24· ·not fall under the -- no.· That's going to be          24· · · · · · ·MR. BURGE:· A handful.· I might not after
25· ·objected to.                                           25· ·you get done.



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·1· · · · · · ·MR. WRIGHT:· I can finish now.· Andy         ·1· · · ·Q.· · And you said that in the real estate
·2· ·Wright for Colliers.                                   ·2· ·industry, titles are -- mean nothing, I think you
·3· · · · · · · · · · · ·EXAMINATION                        ·3· ·said?
·4· ·BY MR. WRIGHT:                                         ·4· · · ·A.· · You may take it more seriously than I do.
·5· · · ·Q.· · Thanks, Mary, for sticking around and        ·5· ·But down in Utah County, we don't take titles
·6· ·your answers today.· I just want to follow up on a     ·6· ·seriously.
·7· ·few questions and just nail a couple things down       ·7· · · ·Q.· · Is it similar to someone calling
·8· ·that I was unclear of.· I just want to make sure.      ·8· ·themselves maybe assistant to the regional manager,
·9· ·I think you said that you ceased working with          ·9· ·something like that?· I'm sorry.· I'm making an
10· ·Colliers for Colliers as an independent contractor     10· ·Office reference.· It means nothing.· Have you
11· ·in May of 2020; is that right?                         11· ·heard that before?· So it means nothing is what
12· · · ·A.· · That's correct.                              12· ·you're saying.
13· · · ·Q.· · And when was the first -- the earliest       13· · · ·A.· · Okay.· It means nothing.· I mean, in
14· ·date that you, through CAMS, started working with      14· ·general, like, for example, Mountain West does not
15· ·any TIC properties?· I think you said the second       15· ·give people titles purposefully because they don't
16· ·half of 2020?                                          16· ·want people to rank or think that they rank one
17· · · ·A.· · Second half of 2020, but I don't remember    17· ·above the other.· And so we -- you know, I don't
18· ·an exact date.                                         18· ·know.· It's just -- it may mean something to other
19· · · ·Q.· · Okay.· By the time you started working       19· ·people.· It means nothing to me.
20· ·with CAMS and with any TIC properties, you had no      20· · · ·Q.· · But your duties and responsibilities at
21· ·affiliation with Colliers; is that correct?            21· ·Colliers was an assistant broker?
22· · · ·A.· · That's correct.· I was at Mountain West      22· · · ·A.· · Associate broker.
23· ·Commercial by then.                                    23· · · ·Q.· · Associate broker.· And nothing beyond
24· · · ·Q.· · Okay.· So if we could look at Exhibit-1,     24· ·that; is that correct?
25· ·which is the amended complaint in this matter.· And    25· · · ·A.· · That's correct.

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·1· ·it should be in that binder, Exhibit-1.· Mary, you     ·1· · · ·Q.· · Okay.· Are you still affiliated with
·2· ·can turn to page 3.· It's paragraphs 24.               ·2· ·Mountain West?
·3· · · ·A.· · Page 3, paragraph 4?                         ·3· · · ·A.· · Yes.
·4· · · ·Q.· · 24.                                          ·4· · · ·Q.· · You are?
·5· · · ·A.· · Okay.· I'm there.                            ·5· · · ·A.· · Today.
·6· · · ·Q.· · I'll read that.· It says "Street was         ·6· · · ·Q.· · Today.· Okay.· That's all I have.
·7· ·employed at Colliers until 2023 and worked for them    ·7· · · ·A.· · Okay.
·8· ·at all material times when the tenant-in-common        ·8· · · ·Q.· · Thank you.
·9· ·interests discussed herein was beginning to be         ·9· · · · · · · · · · · ·EXAMINATION
10· ·sold."· That's false, correct?                         10· ·BY MR. BURGE:
11· · · ·A.· · That is correct.· That's false.              11· · · ·Q.· · Good afternoon, Ms. Street.· My name is
12· · · ·Q.· · And at paragraph 25 when it states           12· ·Rodger Burge.· I represent Kevin Long and Millcreek
13· ·"Street allegedly manages upwards of 32 of the TIC     13· ·in this litigation.· I just have a few follow-up
14· ·interests on behalf of Millcreek and Colliers,"        14· ·questions.· You mentioned during Mr. Everett's
15· ·that's not true, is it?                                15· ·examination about weekly Zoom meetings.
16· · · ·A.· · That's not true.                             16· · · ·A.· · Yes.
17· · · ·Q.· · Okay.· You had mentioned earlier and just    17· · · ·Q.· · And I believe you're responsible for,
18· ·a minute ago that in Exhibit-61, when Colliers         18· ·lack of a better term, conducting them; is that
19· ·released some sort of press announcement that you      19· ·right?
20· ·were brought on -- the Street Team was brought on,     20· · · ·A.· · Yes.
21· ·did you see that?                                      21· · · ·Q.· · So these meetings were occurring
22· · · ·A.· · Yeah.· I recall.                             22· ·regularly?
23· · · ·Q.· · And you were asked about the title of        23· · · ·A.· · Yes.
24· ·executive VP.                                          24· · · ·Q.· · Can you briefly describe for us the
25· · · ·A.· · Right.                                       25· ·nature of these meetings and what was being


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·1· ·discussed or conducted generally?· Very briefly.       ·1· ·needed to go to the owners to get their
·2· · · ·A.· · Regarding Naperville?                        ·2· ·authorization?
·3· · · ·Q.· · Yes.                                         ·3· · · ·A.· · Anything that the -- the tenant-in-common
·4· · · ·A.· · These -- the purpose of the Zoom meetings    ·4· ·agreement actually spells out the things that the
·5· ·is to give the owners a forum to be able to get        ·5· ·owners need to vote on.· And so if it is -- if it's
·6· ·together and to ask questions of me or give me         ·6· ·explicitly spelled out that they need to vote on
·7· ·direction.· Kevin Long often participated in the       ·7· ·it, then I would go to them for it.
·8· ·Zoom meetings early on because we were all finding     ·8· · · ·Q.· · Okay.
·9· ·out information, you know, at the same time.· And      ·9· · · ·A.· · There are areas that are left open.· And
10· ·the owners liked to hear his updates.                  10· ·so, for example, you know, it doesn't say
11· · · ·Q.· · Is it fair to say these Zoom meetings        11· ·specifically that I'm required to ask the owners if
12· ·helped facilitate the management of the property by    12· ·they want an attorney.· So I do that anyway because
13· ·the owners?                                            13· ·I feel like it's the right thing to do.
14· · · ·A.· · Yeah.· It is fair.                           14· · · ·Q.· · So they would be making decisions about
15· · · ·Q.· · Okay.· I think at one point in time, in      15· ·that?
16· ·response to a question, you answered something         16· · · ·A.· · Yes.
17· ·along the lines of "procedural tasks" that you         17· · · ·Q.· · We've discussed a few of these things. I
18· ·would be performing on behalf of or at the             18· ·know that -- what was the attorney's name?· Cori
19· ·direction of the owners.· Do you remember that?        19· ·Cozort, I think, or something like that.
20· · · ·A.· · Yes.· I remember in general.                 20· · · ·A.· · Yes.
21· · · ·Q.· · I know you have this lease administration    21· · · ·Q.· · You had -- you went and obtained the
22· ·agreement that we've talked about that has some        22· ·approval of the owners to retain her; is that
23· ·very specific powers and duties.· But can you tell     23· ·right?
24· ·us what type of tasks you felt that you could          24· · · ·A.· · I -- I don't recall whether or not I
25· ·perform that didn't require the owners' direct         25· ·said, "Is it okay if I hire Cori Cozort? "

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·1· ·authorization?· Paying expenses, for example, or       ·1· · · ·Q.· · A lawyer.· To pursue legal action.
·2· ·something like that.                                   ·2· · · ·A.· · Yeah.· My lease administration agreement
·3· · · · · · ·MR. SCHULTZ:· Just for purposes of his       ·3· ·directs me in the event of a default to take
·4· ·question, the lease administration document speaks     ·4· ·certain actions.· I can't remember if I said to the
·5· ·for itself.                                            ·5· ·owners, "May I?"· Or if I said to the owners, "I'm
·6· · · · · · ·You may answer.                              ·6· ·going to."
·7· · · · · · ·MR. BURGE:· Yes.                             ·7· · · ·Q.· · Okay.· I know there were -- there have
·8· · · · · · ·THE WITNESS:· Okay.· The -- for example,     ·8· ·been some attempts to re-lease the Naperville
·9· ·the lease administration agreement says that I --      ·9· ·property.
10· ·you know, I can take care of the property or pay       10· · · ·A.· · Yes.
11· ·expenses for the property on behalf of the owners.     11· · · ·Q.· · Correct?· Who would be making the
12· ·So when I get an electric bill, I don't ask the        12· ·decision to whether or not to enter into a lease
13· ·owners, "May I pay it?"· Right?· I have the express    13· ·agreement?
14· ·authorization to be able to do those things.· So       14· · · ·A.· · The owners.
15· ·those are the kinds of things that I do without        15· · · ·Q.· · It would not be you?
16· ·asking them, "Is it okay?"                             16· · · ·A.· · It would not be me.
17· · · ·Q.· · (BY MR. BURGE)· Is it fair to                17· · · ·Q.· · Would you characterize your own tasks as
18· ·characterize those as clerical-type tasks?             18· ·management tasks, managing the property?
19· · · ·A.· · Yes.                                         19· · · ·A.· · No.· It's more managing the
20· · · ·Q.· · Okay.· Same thing with collecting rents      20· ·tenant-in-common relationship amongst the owners as
21· ·and sending out each parties' owners' proportionate    21· ·it relates to the property that they own.
22· ·share of the rents?                                    22· ·That's -- yes.
23· · · ·A.· · Yes.· It's very accounting heavy.            23· · · ·Q.· · Would you say that the owners are, in
24· · · ·Q.· · What types of tasks or decisions would       24· ·fact, managing the property?
25· ·you say -- did you feel or understand that you         25· · · ·A.· · They are actively involved in making



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·1· ·decisions, yes.                                        ·1· ·questions about coming -- how to calculate values
·2· · · ·Q.· · And did that -- at any time, was that not    ·2· ·or lease rates and whatnot.· To the extent you
·3· ·the case while you were serving as the lease           ·3· ·know -- I'm not asking you to tell me something
·4· ·administrator?                                         ·4· ·that you don't know.· But would the use of the
·5· · · ·A.· · Say that again for me so I've got the        ·5· ·property also be a factor in setting a lease rate
·6· ·whole thing.                                           ·6· ·or the value of the property?
·7· · · ·Q.· · Yeah.· You mentioned that the owners are     ·7· · · ·A.· · Yes, it would.
·8· ·in charge of managing the property.                    ·8· · · ·Q.· · For example, general commercial real
·9· · · ·A.· · Yeah.                                        ·9· ·estate versus a very specific use of a property.
10· · · ·Q.· · And I'm just asking you, was that always     10· · · ·A.· · Yes.· We factor that in when we're
11· ·the case during the time that you acted as lease       11· ·looking at real estate, yes.
12· ·administrator?                                         12· · · ·Q.· · Okay.· I think that that's all I have.
13· · · ·A.· · Yes.                                         13· ·Thank you, Ms. Street.
14· · · ·Q.· · Okay.· I know there's been a little bit      14· · · ·A.· · You're welcome.
15· ·of some confusion in Millrock versus Millcreek.        15· · · · · · ·MS. WINDHAM:· Nothing from me.
16· ·And I did want to clarify one thing.· About this       16· · · · · · ·MR. KEITER:· None from me.
17· ·capital call.· I think that you said that Millcreek    17· · · · · · ·MR. SCHULTZ:· I got one -- I got one
18· ·would pay an owner's portion.· Do you know if it       18· ·question.
19· ·was Millcreek, or could it have been a different       19· · · · · · · · · · · ·EXAMINATION
20· ·entity that was going to be paying --                  20· ·BY MR. SCHULTZ:
21· · · ·A.· · Yeah.· That's a great question. I            21· · · ·Q.· · Did you or CAMS Realty ever sell or
22· ·don't -- I don't know.· And I often catch myself       22· ·market any interest in real estate of any kind in
23· ·saying "Millrock creek," whichever first.· Because     23· ·the state of Illinois?
24· ·with everything I have on my plate, sometimes I        24· · · ·A.· · No.
25· ·don't take the time to distinguish.· So...             25· · · · · · ·MR. SCHULTZ:· That's all.

                                                 Page 162                                                    Page 164
·1· · · ·Q.· · Sure.· And I'm not meaning to be             ·1· ·We'll read and sign.
·2· ·critical.· I'm just trying to make sure that --        ·2· ·(Proceedings concluded at 2:17 p.m.)
·3· ·that my understanding of the facts are not             ·3
·4· ·contradicted by what you're saying.                    ·4
·5· · · ·A.· · Right.                                       ·5
·6· · · ·Q.· · So it could have been a Millrock entity      ·6
·7· ·or someone else that could have been --                ·7
·8· · · ·A.· · Correct.                                     ·8
·9· · · ·Q.· · -- paying that portion of --                 ·9
10· · · ·A.· · Yeah.· It was somebody there.· It wasn't     10
11· ·Adam Sandler.· Right?· It was somebody in that         11
12· ·group.                                                 12
13· · · ·Q.· · Yeah.· And same thing, I think, that         13
14· ·there was mention about Millcreek filing bankruptcy    14
15· ·papers.· It could have been a Millrock entity that     15
16· ·was actually the party filing?                         16
17· · · ·A.· · Filing bankruptcy for what?                  17
18· · · ·Q.· · Well, I know the proof of claim.· That's     18
19· ·not what I'm talking about.· I just have in my         19
20· ·notes that Millcreek filed the bankruptcy papers.      20
21· ·And I'm just wondering, again, if that was another     21
22· ·instance of Millcreek maybe being used inartfully      22
23· ·instead of Millrock?                                   23
24· · · ·A.· · Yes.· It could have been.                    24
25· · · ·Q.· · I know Mr. Everett asked you some            25


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·2
· · · · · · · ·I, Phoebe Moorhead, RDR, CRR, a Certified
·3· ·Shorthand Reporter in and for the State of Utah, do
· · ·hereby certify:
·4· · · · · · ·That the testimony of MARY STREET, the
· · ·witness in the foregoing proceeding named, was
·5· ·taken on November 27, 2024; that said witness was
· · ·by me, before examination, duly sworn to testify
·6· ·the truth, the whole truth, and nothing but the
· · ·truth in said cause;
·7
· · · · · · · ·That the testimony of said witness was
·8· ·reported by me in stenotype and thereafter
· · ·transcribed into typewritten form;
·9
· · · · · · · ·That the same constitutes a true and
10· ·correct transcription of said testimony so taken
· · ·and transcribed and that the said witness testified
11· ·as in the foregoing annexed pages set out.
12· · · · · · ·I further certify that I am not of kin or
· · ·otherwise associated with any of the parties of
13· ·said cause of action and that I am not interested
· · ·in the event thereof.
14
· · · · · · · ·Certified and dated this 4th day of


                        Jnoekefipoo
15· ·December, 2024.

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18· · · · · · · · · · · ___________________________
· · · · · · · · · · · · PHOEBE S. MOORHEAD, RDR, CRR
19· · · · · · · · · · · Certified Shorthand Reporter
· · · · · · · · · · · · for the State of Utah
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·3
· · · · · · · · · · ·WITNESS CERTIFICATE
·4
· · ·State of Utah· · · ·)
·5· · · · · · · · · · · ·)
· · ·County of Salt Lake )
·6
· · · · · · · ·I, MARY STREET, HEREBY DECLARE UNDER
·7· ·PENALTY OF PERJURY:· That I am the witness referred
· · ·to in the foregoing testimony; that I have read the
·8· ·transcript and know the contents thereof; that with
· · ·these corrections I have noted this transcript
·9· ·truly and accurately reflects my testimony.
10· ·PAGE-LINE· · CHANGE/CORRECTION· · · · · · REASON
11· ·____ ____· ·_______________________________________
12· ·____ ____· ·_______________________________________
13· ·____ ____· ·_______________________________________
14· ·____ ____· ·_______________________________________
15· ·____ ____· ·_______________________________________
16· ·____ ____· ·_______________________________________
17· ·____ ____· ·_______________________________________
18· ·____ ____· ·_______________________________________
19· ·____ ____· ·_______________________________________
20· ·_____· · · No corrections were made.
21
22· ·Executed on this ______day of ________________,
· · ·20____.
23
24· · · · · · · · · · · · · ___________________________
· · · · · · · · · · · · · · MARY STREET
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